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                                OPERATING AGREEMENT
                                          OF
                                RED DICE HOLDINGS, LLC.



       This OPERATING AGREEMENT dated as of the 5th day of April 2012 ("Effective
Date"), by and between Medical Marijuana Inc., an Oregon corporation ("MINA Member")
and Dixie Holdings LLC, a/k/a Dixie Elixirs (collectively herein, the "DIXIE Member").

                                            RECITAL '

WHEREAS, MINA is a company in the business of providing management, investment,
consulting services and capital for legal hemp and camiabiS based products and business; and
WHEREAS, DIXIE is a company that has licensing, trademarks, proprietary materials,
formulations and services for certain legal hemp and cannabis based businesses and the related
facilities and equipment to manufacture and distribute same; and
WHEREAS, MINA Member and DIXIE Member desire to form an entity "Red Dice Holdings,
LLC" ("Company") in which the parties will be the Members for the purposes set forth herein.
                                          ARTICLE 1
                        DEFINITIONS AND INTERPRETATION

1.1      Definitions. Where used in this Agreement, in addition to capitalized terms defined on
first use herein, the following words or phrases shall have the meanings set forth below:

        "Act" means the California Limited Liability Company Act, (Cal. Corp. Code *17050-1
("Act"). By this Agreement, the Members enter into this Agreement in accordance with the laws
of the State of California. The rights and obligations of the Members will be as stated in the
applicable legislation of the Act, except as provided for herein.
       "Affiliate" in relation to any Person means any Person that controls, is controlled by or is .
under common control with that Person. For the purposes of this definition, the term "control"
means (i) beneficial and/or legal ownership of alleast fifty iiercent (50%)) or more of the
outstanding voting securities of a company or other business, organization with voting securities
(or such percentage as required under any particular jurisdiction to confer controlling powers
through ownership of voting securities broadly equivalent to the controlling powers attendant on
ownership of at least fifty percent (50%) or more of outstanding voting securities in a United
States corporation), (ii) a fifty percent (50%) or greater interest in the net assets or profits of a
partnership or other business organization without voting securities.
        "Agreement" means this Operating Agreement, together with the Exhibits attached
hereto, each of which is hereby incorporated by reference herein, and any instrument amending
this Agreement in accordance hereto.
        "Asset Value" with respect to any Company asset means:


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            (a)   The fair market value when contributed of any asset contributed to the
Company by any Member;

             (b)    The fair market value on the date of distribution of any asset distributed by
the Company to any Member as consideration for a capital interest in the Company;

                (c)   The fair market value of all Property at the time of the happening of any of
the following events: (A) the admission of a Member to, or the increase of a capital interest of
an existing Member in, the Company in exchange for a Capital Contribution; or (B) the
liquidation of the Company under Regulation Section 1.704-1(b)(2)(ii)(g); or

                (d)     The Basis of the asset in all other circumstances.

       "Basis" with respect to an asset means the adjusted basis from time to time of such asset
for federal income tax purposes. •
       "Books and Records" means all material communications between any Member or any of
its Affiliates and governmental patent officei, the internal patent file and the invention disclosure
documents of any Member or any of its Affiliates, or any such Affiliate's corporate intellectual
property department, if any. Notwithstanding the foregoing or anything else contained in this
Agreement.
       "Capital Account" means an account to be maintained by the Company for each Member
in accordance with Treasury Regulation Section 1.704-1(b)(2)(iv).
     "Capital Contributions" means, with respect to any Member, the fair market value of the
money and the services, if any, and the initial fair market value of any Property (other than
money or services) contributed to the Company by the Member.
      "Code" shall mean the Internal Revenue Code of 1986 or corresponding provisions of
subsequent superseding federal revenue laws. .
       "Confidential Information" means all information that would reasonably be regarded as of
a confidential or commercially sensitive nature by the Party to which the information relates or
the Party (or its relevant Affiliate) to whom the information belongs, including, without
limitation, any matter relating to or arising in connection with this Agreement, the Transactions
or the business or affairs of the Parties and their Affiliates. •
       "Effective Date" shall have the meaning set forth in the Preamble.
        "Intellectual Property" shall include, but shall not be. limited to all United States and
foreign common law, registered and unregistered trademarks, trade names, trade dress, product
specifications, copyrighted materials, patents, trade secrets, customer lists, and all rights
associate therewith.
  .  "Manage?' initially means Vincent M. Keber, HI, in his capacity as the Manager of the
Company and such other Persons serving as managers of the Company from time to time.
        "Management Committee" shall have the meaning set forth in Section 9.2


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       "Member" means a Person executing this Agreement from time to time during the
existence of the Company as a member of the Company with a Membership Interest on the basis
provided herein. .
        "Membership Interests" "means, subject to the specific rights, benefits, and obligations
granted to Members in this Agreement, the interest of a Member in the Company, including
without limitation rights to distributions (liquidating or otherwise), allocations, information and
to consent to or approve matters pertaining to the Company and such other matters with respect
to the Company as expressly provided herein. ,
      "Party" or "Parties" means DIXIE Member or MJNA Member or, as the context requires
or admits, both DIXIE Member and MJNA Member. -
        "Person" shall mean any individual or entity, and the heirs, executors, administrators,
legal representatives, successors, and assigns of such Person where the context so permits.
      "Proceeds" mean monetary proceeds or any other liquid asset of any kind received by the
Company from any means whatsoever, before payment of any expenses, fees or charges of any
kind.
       "Profits" and "Losses" for any Fiscal Year or other period means an amount equal to the
Company's taxable income or loss for such year or period determined in accordance with Code
Section 703(a) and the Regulations thereunder with the following adjustments:
               (a) All items of income, gain, loss and deduction of the Company required to be
               stated separately shall be included in taxable income or loss;

                  (b) Income of the Company exempt from federal income tax shall be treated as
                  taxable income;

                 (c) expenditures of the Company desbribed in Code Section 705(a)(2)(B) or
                 treated as such expenditures under Regulation Section 1.704-1(b)(2)(iv)(i) shall
                 be subtracted from taxable income;        .
                 (d) The difference between Basis and Asset Value shall be treated as gain or loss
                 upon the happening of any event described • in clauses (i), (ii) or (iii) of the
                 definition of Asset Value;
                 (e) Gain or loss resulting from the disposition of Property on which gain or loss is
                 recognized for federal income tax purposes shall be determined with reference to
                 the Asset Value of such Property;

                 (f) Depreciation shall be determined in accordance with Treasury Regulations
                 §1.704-1(b)(2)(iv)(g)(3) based upon Asset Value instead of as determined for
                 federal income tax purposes; and.

     "Property" means all real and personal property, tangible and intangible, owned by the
Company.



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         "Treasury Regulations" means the Treasury Regulations promulgated under or otherwise
applicable to the Code.
                                          ARTICLE 2
                                       ORGANIZATION

2.1     Formation. The Company has been/will be formed as a limited liability company under
and pursuant to the provisions of the Act by the filing of the Articles of Organization with the
Secretary of State of the State of California. The rights and liabilities of the Members shall be as
provided under the Act, the Articles of Organization and this Agreement. Each Member hereby
acknowledges that it has carefully reviewed the Articles of Organization and that each of the
provisions of the Articles of Organization is acceptable to such Member.

2.2 Name. The name of the Company is Red Dice Holdings, LLC, formation documents
shall be attached as Exhibit A which shall be formed and affixed within thirty (30) days from
Effective date.

2.3    Term. The Company shall exist perpetually unless otherwise specified in the Articles of
Organization, or unless sooner terminated in accordance with this Agreement.
2.4     Purposes/Company Business. The purposes of the Company are to engage in any
activity and/or business for which limited liabilitY•companies rnay be formed under the Act
(including the Company Business as defined in Section 2.1). The Company shall have all the
powers necessary or convenient to affect any purpose for which it is formed, including all
powers granted by the Act.

2.5     No State-Law Partnership. No provision of .this Agreement shall be deemed or
construed to constitute the Company a partnership of the Members (including, without limitation,
a limited partnership) for any purposes other than federal and state tax purposes, if any.
2.6    Assumed Names. The Management Committee may cause the Company to do business
under one or more assumed names.
2.7     Registered Agent; Principal Offices; Other Offices. The statutory registered agent of
the Company in the State of California shall be Mithelle L. Sides, Esq., or such other Person or
Persons as the Management Committee may designate from time to time in the manner provided
by law. The address for the registered agent of the Company shall be 2665 Mane Drive, Suite
207, San Diego, California 92117 until otherwise designated by the Management Committee.
The principal office of the Company in the State of California, and shall initially shall be at 2665
Ariane Drive, Suite 207, San Diego, California 92117 or at such place within the state of
California as the Management Committee may designate from lime to time, and the Company
shall maintain records there as required by the Act. The Company may have such other offices
within the state of California as the Management Committee may designate from time to time.

                                        ARTICLE 3
                                 BUSINESS OF THE COMPANY
3.1     The Company Business. The Company . will provide management and consulting
services as well as acquire fixture projects that will provide value and benefit to the Company and

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each Member shall act in a manner consistent with the Company objectives (collectively the
"Company Business"). More specific terms of business structuring and distributions are as
follows:

3.2      Guarantees. No Member shall be required to provide guarantees from its affiliated
entities and Persons as it pertains to acquiring the Project.

3.3    Unrelated Business(es). Neither Member shall have any ownership in the individual
businesses, subsidiaries and/or affiliates of the other.Member.

                                        ARTICLE 4
                                  CAPITAL CONTRIBUTIONS
4.1   Capital Account Balances. Upon execution of this Agreement the balance in each of
the Members' Capital Accounts shall be as set forth on Exhibit B.

4.2     Membership Interests. Each of the Members shall have the Membership Interests
specified on Exhibit B.

4.3     Capital Contributions. The Capital Contributions to the Company shall be contributed
in cash, performance, property or other approved methods as by the Members as follows: a
separate Capital Account shall be maintained for each Member. Neither Member shall withdraw
any part of its Capital Account. Upon the demand of either Member, the Capital Accounts of the
Members shall be maintained at all times in the proportions in which the Members share in the
Profits and Losses of the Membership Interests.
4.4     Profit and Losses. The net Profits of the Company shall be divided proportionately
between the Members and the net Losses shall be borne equally by them as per the Membership
Interest percentage. A separate income account shall be maintained for each Member. Profits and
Losses shall be charged or credited to the separate income account of each Member. If a Member
has no credit balance in his income account, losses shall be charged to its capital account.
4.5     Additional Capital Contributions. Upon the unanimous consent of the Management
Committee, each Member shall contribute, its pro rata portion of all additional capital necessary
to conduct the Company Business, as • set forth expressly in the preliminary budget and each
subsequent budget or as the Management Committee may otherwise agree is necessary
("Additional Capital Contributions"). Upon thirty (30) days written notice by the Management
Committee of a demand for additional capital, each of the then-Members shall contribute, in
proportion to their respective Membership Intereats, such additional capital contributions to the
Company as determined by the Management Committee.
4.6  Interest Except as may be expressly set forth herein, no interest shall be paid by the
Company on Capital Contributions or on balances in Members' Capital Accounts.
4.7     Loans From Members. Loans by a Member to the Company shall not be considered
capital contributions. Unless otherwise agreed by all of the Members, if any Member shall
advance finds to the Company, the making of such advances shall not result in any increase in
the amount of the Capital Account of such Member. The amounts of any such advances shall be


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a debt of the Company to such Member and shall be payable or collectible only out of the
Company assets in accordance with the terms and conditions upon which such advances are
made. The repayment of loans from a Member to the Company upon liquidation shall be subject
to the order of priority provided in Section 9.4.

4.8       Capital Accounts.

                      (a) A separate Capital Account shall be maintained for each Member. The
      beginning Capital Accounts for the Members shall consist of the Total Value of their
      respective Initial Capital Contributions. In all other instances, the beginning Capital Account
      for a Member shall consist of the Total Value of property or services actually contributed by
      that Member to the capital of the Company; however the Member percentages shall not
      exceed the percentages identified on Exhibit B. without unanimous consent of the Members.
      The Capital Accounts of the Members shall be:

                              (i) increased by:

                                      (A)    the amount of the Member's cash or other contributions
                                             to the Company;
                                                          •       •
                                      (B)    the initial Asset Value of Property contributed by the
                                      •      Member to the Company, net of liabilities secured by
                                       •     the Property that the Company is considered to assume
                                             under or take " subject to in accordance with Code
                                             Section 752; and

                                      (C)    the Member's distributive share of Profits and any
                                             items of income or gain allocated to the Member; and

                              (ii) decreased by:

                                     (A)     cash or other distributions to the Member from the
                                             Company; •

                                     (B)     the Asset Value of Property distributed in kind to the
                                             Member, net of liabilities secured by the Property that
                                             the Member is deemed to assume under or take subject
                                             to in accordance with Code Section 752; and
                                     (C)     the Member's distributive share of Losses and any
                                             items of loss or deduction allocated to the Member.

                       (b) The maintenance of Capital Accounts shall be subject to the following
      special rules:

                            (i) a Member's Capital Account shall not be credited for any Capital
              Contribution which the Member is obligated to make until the contribution is actually
              made or deemed to have been made;


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                         (ii) if a Member transfers all Or any portion of its Membership Interest
           in accordance with the terms of this Agreement, the transferee shall succeed to the
           Capital Account of the transferor to the extent it relates to the transferred Membership
           Interest;

                           (iii)if the Asset Value of Company assets are adjusted as provided in
           the definition of "Asset Value" above, the Capital Accounts of all Members shall be
           adjusted simultaneously to reflect the aggregate net adjustment which would have
           occurred if the Company recognized gain or loss equal to the amount of such
           aggregate net adjustment and such gain or hiss was allocated to the Members in the
           manner required by Section 5 below; '

                  (c) the provisions of this Agreement relating to the maintenance of Capital
    Accounts are intended to comply with Treasury Regulation Section 1.704-1(b), and shall be
    interpreted and applied in a manner consistent with its provisions. To the extent that this
    Agreement is inconsistent with or incomplete with respect to the Treasury Regulations, the
    Capital Accounts of the Members shall be maintained in accordance with the Treasury
    Regulations.

                                            ARTICLE 5
                                            MEMBERS
5.1     Members. The sole Members of the Company on the Effective Date are the MJNA
Member and DIXIE Member. The addresses of each Member are set forth on Exhibit               .
Beginning with the Effective Date, and for a period of one year there are no other Members of
the Company and no other Person has any right to take part in the ownership of the Company
unless approved in writing by all Members.

5.2 Admission of Additional Members. Additional Members of the Company may be
added only if: (a) except as provided in Section 5.5, the addition of any such proposed additional
Member is approved unanimously in writing, prior to such admission, by all the then existing
Members; and (b) such proposed additional Member executes and deliters to the Company and
each of the Members a counterpart of this Agreement and agrees to be bound by all of the terms
and provisions hereof.

5.3     Authority; Liability to Third Parties. Except as otherwise expressly provided herein,
only MINA Member and DIXIE Member has the authority or power to act for or on behalf of the
Company, to do any act that would be binding on the Company, or to incur any expenditures on
behalf of the Company as per approved budget(s). NO Member has the authority or power to
make any representation, warranty or create any liability for any other Member without such
other Member's prior written consent, and the Company has no such authority or power with
respect to any Member. No Member shall be liable for the debts, obligations or liabilities of the
Company, including under a judgment, decree or court order.
5.4    Effect of Bankruptcy, Dissolution, Etc. of a Member. The bankruptcy, dissolution,
liquidation, or termination of a Member shall not cause the termination or dissolution of the
Company and the business of the Company shall continue. Upon any such occurrence, the


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trustee, receiver, executor, administrator, committee, guardian or conservator of such Member
shall have all the rights of such Member for the purpose of settling or managing its estate or
property, subject to satisfying conditions precedent to the admission of such assignee as a
substitute Member. The transfer by such trustee, receiver, executor, administrator, committee,
guardian or conservator of any Member Interest shall be subject to all of the restrictions,
hereunder to which such transfer would have been subject if such transfer had been made by
such bankrupt, dissolved, liquidated, or terminated Member.

5.5   Transfer of Membership Interests. No Member shall, directly or indirectly, transfer
any Membership Interest to any Person except with the written consent of all other Members.

5.6     Voluntary Termination. The Membership may be dissolved at any time by the
unanimous agreement of the Members, in which event the Members shall proceed with
reasonable promptness to liquidate the business of the Membership. The Membership name shall
be sold with the other assets of the business. The assets of the Membership business shall be
used and distributed in the following order: (a) to pay or provide for the payment of all
Membership liabilities and liquidating expenses and obligations; (b) to equalize the income
accounts of the Members; (c) to discharge the balance of the income accounts of the Members;
(d) to equalize the capital accounts of the Members; and (e) to discharge the balance of the
capital accounts of the Members. •

5.7 Matters Subject to Member Approval. MINA Member and DIXLE Member shall be
the only Members with authority to act regarding any day to day decisions made, obligation
incurred or power exercised by or on behalf of the Company as per approved budget(s).
Unanimous Member Consent must be obtained with respect to any of the following:
                 (a) Execute any and all documentation required to close any transaction without
                 written approval or authorization.

                 (b) the lease, license, transfer or encumbrance of all or substantially all of its
                 assets;

                 (c) any reorganization, merger, consolidation or similar transaction or series of
                 related transactions involving the Company;

                 (d) any voluntary liquidation or dissolution, other than as a result of the expiration
                 or termination of this Agreement pursuant to the terms hereof;

                 (e) any (i) admission in writing to its inability generally to pay its debts as they
                 become due; (ii) general assignment, arrangement or composition with or for the
                 benefit of its creditors; (iii) institution of a proceeding seeking a judgment of
                 insolvency or bankruptcy or any other similar relief, or petition for the winding up
                 or liquidation of the Company; or (iv) seeking or appointing of an administrator,
                 receiver, conservator, trustee, custodian or other similar official for the Company
                 or for all or substantially all of its assets;
                                    -
                 (f) any split, combination or reclassification of any Membership Interests; •


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                  (g) the declaration, setting aside or making of any distributions (whether in cash
                  or property) to any Member, except for any payments with respect to debt owed
                  to a Member or payments or distributions specifically required under this
                  Agreement;
                                                           •.
                  (h) except as expressly  set forth in this  Agreement, the issuance of any additional
                  Membership Interest or other equity interests (including any interests convertible
                  into or exercisable for equity interests) of the Company, or the admission of any
                  Person as a Member of the Company; •

                  (i) the expansion into lines of business or the conduct of any business other than
                  the Company Business;

                  (j) entry by the Company or any of its subsidiaries into any joint ventures or
                  partnerships or establishment of any subsidiaries;

                  (k) any action that would cause the Company to become a party to or bound by
                  any agreement that, by its terms (i) directly or indirectly restricts or prevents the
                  Company's performance of the Company Business, such as a non-compete or an
                  exclusivity agreement or (ii) directly obligates any Member or any of its Affiliates
                  to take or not take any action;

                  (1) any action that would cauSe the Company or any of its Subsidiaries to become
                  subject to the registration or reporting requirements of the Securities Act, the
                  Exchange Act or any similar securities laws of any other jurisdiction; the granting
                  of any registration rights to any Person; or the listing of any securities on any
                  securities exchange or over-the-counter trading system; or
                  (m) a change to the Company's name or amendment or modification of the
                  Articles of Organization of the Conipany, this Agreement, including any change
                  in the purposes of the Company. •

5.8     No Resignation of a Member. No Member shall 'resign, withdraw, retire or otherwise
take any action to effect any of the foregoing.    .•
                                                          •
5.9     Transactions with Members and their Affiliates. The Company shall not enter into,
amend, modify or subject to waiver of any provision of any transaction or contract, or series of
related transactions and contracts, with any Member or any Affiliate of any Member, except as
otherwise provided herein or with the approval of the Management Committee.

5.10 Other Business. The DIXIE Member may engage in or possess interests in other
business ventures that are unconnected, unrelated and do not in any way compete with the
Company which is further identified in the NonCompete Agreement(s) attached as Exhibit C.
5.11     Meetings of Members.

                  (a) Meetings of the Members may be called by Members holding among them
    at least 40% of the issued and outstanding Membership Interests by written notice thereof


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      (specifying the place and time of such meeting) that is delivered to each other Member at
      least six days prior to such meeting. Neither the business to be transacted at, nor the purpose
      of, such special meeting need be specified in the written notice (or waiver of notice) thereof.
      Unless otherwise expressly provided in this Agreement, at any meeting of the Members, a
      75% of the outstanding Membership Interests represented either in person or by proxy, shall
      constitute a quorum. At all meetings of the Members at which a quorum of eligible Members
      is present, except as otherwise may be required by this Agreement, the affirmative vote of
      Members holding 75% of the eligible outstanding Membership Interests shall constitute the
      act of the Members. Each Member may with respect to any vote, consent, or approval that it
      is entitled to grant pursuant to this Agreement, grant or withhold such vote, consent or
      approval in its sole discretion.

5.12 Provisions Applicable to All Meetings.

                   (a) Any meeting shall be held at the principal place of business of the
      Company, unless the notice of such meeting specifies a different place.

                     (b) Attendance in person or in the case of a Member which is not a natural
      person, by a principal or agent in person at a meeting shall constitute a waiver of notice of
      such meeting.

                      (c) A Member may vote at such meeting by a written proxy executed by that
      Member and delivered to another Member. A proxy shall be revocable unless it is stated to
      be irrevocable.

                      (d) No action may be taken by Members at a meeting or otherwise unless the
      right to take such action is (i) expressly provided for in this Agreement or (ii) required under
      the Act or other applicable law.

                     (e) Any action required or permitted to be taken at a meeting may be taken
      without a meeting, without prior notice and without a vote if a consent or consents in writing,
      setting forth the action so taken, is signed by the Members having not fewer than the
      minimum number of Membership Interests or votes that would be necessary to take the
      action at a meeting at which all Members entitled to vote on the action were present and
      voted; provided that, in the event the action by written consent is taken by less than all of the
      Members, the Manager shall promptly provide all Members with written notice of such
      action.

                     (f) Members may participate in and hold such meeting by means of
      conference telephone, video conference or similar communications equipment by means of
      which all Persons participating in the meeting can hear each other.

                                         ARTICLE 6
                               ALLOCATIONS AND DISTRIBUTIONS
6.1      Allocation of Income and Loss.




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              (a)      Taxable income shall be allocated each fiscal year to the Members in
accordance with their respective Membership Interests in the Company.

              (b)    Losses shall be allocated to each of the Members in accordance with their
respective Membership Interests in the Company.

                (c)     •To the extent required, allocations shall be made in accordance with
Section 704(c) of the Code, and the amount of depreciation, gain or loss with respect to the
Company's property shall be computed with reference to the Asset Value of the Property rather
than its adjusted basis, but only to the extent required under applicable Treasury Regulations.
6.2     Determination of Income and Loss. At the end of each fiscal year of the Company,
income, gain, loss, deduction and credit (or items thereof) shall be determined for the accounting
period then ending and shall be allocated to the Members as provided herein.

6.3      Cash Distributions. The distributable cash of the Company shall be determined at least
annually by the Management Committee, by the percentage set forth by Exhibit B herein. All
distributions of cash or other assets of the. Company shall be made and paid to the Members pro
rata in accordance with such Members' Interests.

                                        ARTICLE 7.
                             OWNERSHIP OF COMPANY PROPERTY

        All Company Property transferred and/or acquired by the Company shall be owned by
the Company as an entity; no Member or Maniger, individually or collectively, shall have any
ownership interest • in such Company Property, or any portion thereof; and each Member's
Membership Interest shall be personal property for all purposes. At all times after the Closing
Date, the Company shall hold title to all of the Company Property in the name of the Company
and not in the name of any Member or Manager. All Company Property shall be recorded as the
property of the Company or one of its Subsidiaries on the books and records of the Company,
irrespective of the name in which legal title to such Company Property is held.

                                        ARTICLE 8
                            FISCAL MATTERS; BOOKS AND RECORDS
8.1     Bank Accounts; Investments. Capital Contributions, revenues and any other Company
fluids shall be deposited by the Company in a bank account established in the name of the
Company in furtherance of the purposes of the Company. Funds deposited in the Company's
bait accounts may be withdrawn only to be invested in furtherance of the Company's express
and previously authorized purposes, to pay Company debts or obligations or to be distributed to
the Members pursuant to this Agreement.
8.2     Records Required by Act; Right of Inspection.

                (a) Records Required. During the term of the Company, the Management
                Committee, at the expense of the Company, shall maintain in the Company's
                principal office all records required to be kept pursuant to the Act, including a
                current list of the names, addresses and Membership Interests held by each of the

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                 Agreement with Left Bank, LLC and shall be attached as Exhibit E which shall
                 be affixed within thirty (30) days from the Effective Date.

                 (c) DIXIE Member shall provide standard legal indemnifications for all
                 trademarks and/or licensing agreements transferred into the Company pursuant to
                 an assignment agreement;

                 (d) DIXIE Member use its best efforts to acquire new licensing, trademarks
                 and/or patents as determined and approved by the Company to be held in the
                 Company name;

                 (e) Manager shall be responsible for the management of all sales, marketing,
                 promotions and related matters for the Company. All media shall be approved in
                 writing within three business days by both Members prior to any distribution of
                 any kind; provided, however, a Members failure to approve or disapprove such
                 media within three business days shall be deemed the express such Members
                 approval;

                 (0 DIXIE Member. shall execute a NonCompete Agreement with the Company
                 including, but not limited to its products, services, marketing, business plans,
                 financials, investor relations and other Confidential Information as defined within
                 said NonCompete Agreement. The NonCompete Agreement is attached as
                 Exhibit C.
                 (g) DIXIE Member shall cause Vincent M. Keber, III and Charles Smith to both
                 execute mutually agreed upon Employment contracts with the Company.
                 Employment Agreements for Vincent M. Keber, III and Charles Smith are
                 attached as Exhibit F.

                 (h) DIXIE Member shall provide the Company with an Exclusive Licensing
                 Agreement for all products held by and/or to be acquired by the Company and
                 licensed to Left Bank, LLC (or other entities to be identified in the future by the
                 Management Committee) to be the sole manufacturer and distributor of said
                 products. The Exclusive Licensing Agreement is attached as Exhibit E.
                 (i) Manager shall prepare monthly budget reports for the Company to be
                 reviewed, modified and approved by the Members.

                 G) Manager shall run the day to day operations of the Company.
                 (k) MJNA Member shall contribute 24,166,667 unrestricted shares of common
                 stock of ("MJNA Shares") of Medical Marijuana, Inc., an Oregon corporation,
                 valued at a price per share of $0.06 subject. to the Company reaching certain
                 milestones pursuant to that certain Funding Agreement dated as of the Effective
                 Date ("the "Funding Agreement") attached as Exhibit G.         MINA does not
                 guarantee that the cost per share to be $0.06 as valuation is determined upon
                 liquidation. MJNA Member represents and warrants that the MJNA Shares shall
                 be seasoned, free trading shares of common stock and the Company shall be

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                   permitted to sell such MINA Shares in the public market as provided for herein
                   and contingent upon certain stated Milestones being achieved. M.TNA Member
                   further represents and warrants to the Company and DDCIE Member that the
                   MJNA Shares contributed to the Company in exchange for Membership Interests
                   of the Company are not deemed "control stock" as such term is defined under the
                   SEC Regulations. The NONA Shares, issued in the name of Red Dice Holdings,
                   LLC, shall be placed in a mutually acceptable escrow account within fifteen (15)
                   business days from the Effective Date.

                           (1). The MJNA Shares, at the direction of the Management Committee,
                                  shall be sold and the Proceeds allocated as follows:

                                 (A) At Closing, the Company shall sell Two Hundred Fifty
                                 Thousand Dollars ($250,000) (exclusive of broker's fees) in
                                 MINA Shares and the Proceeds to the Company shall be tendered
                                 for payments as follows:
                                        (i) $50,000 to be released for DIXIE Member employee
                                        incentives;
                                        (ii) $150,000 for the payment of DIXIE Member investor
                                        debts;
                                        (iii) $50,000 for the payrrient of DIXIE Member short term
                                        account payables;

                                 (B) At Milestone 1, whiCh is contingent on Left Bank, LLC, on
                                 behalf of Pharmasphere, sourcing and obtaining required location
                                 and lease for the facility, signing a lease agreement for the facility
                                 and maintaining the required licensing, the Company shall sell
                                 Two Hundred Fifty Thousand Dollars ($250,000) (exclusive of
                                 broker's fees) in MJNA Shares' and the Proceeds to the Company
                                 shall be tendered for payments as follows:
                                         (i) $50,000 to Vincent M. Keber,
                                         (ii) $50,000 to Charle's Smith
                                         (iii) $150,000 for the payment of DIXIE Member investor
                                         debts.

                                 (C) At Milestone 2, which is contingent upon the successful
                                 integration of a new product offering (such as medicated chewing
                                 gum) or any other product currently controlled by MINA Member,
                                 into the operations of the Company including defining the
                                 manufacturing, packaging and marketing requirements necessary
                                 for product launch, the Company shall sell One Hundred Thousand
                                 Dollars ($100,000) in MJNA Shares and the Proceeds to the
                                 Company shall be tendered for payments as follows:
                                         (i) $100,000 to DIXIE Member for the purpose of repaying
                                         debt to affiliated companies.




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                               (D) The balance of Eight Hundred Fifty Thousand ($850,000) in
                             • IvIJNA Shares allocated herein, less all brokerage fees incurred
                               from any liquidation of shares and based upon all contingencies
                               stated in sections (n)(i), (n)(ii) and (n)(iii) being fulfilled, shall be
                               used solely as working capital for operations of the Company
                               including but not limited to operations, licensing,
                               research/development and marketing as approved in writing by the
                               Management Committee in the operations budget.

               (I) • Upon the Closing, both Vincent M. Keber, III and Charles Smith shall,
               each receive $100,000 worth.of MJNA common stock warrants priced at $0.06
               per share attached as Exhibit H.

               (m) MJNA Member shall license the 'Company with the TerraSphere grow
               technology and shall provide management of said new equipment pursuant to a
               Licensing Agreement with MJNA which shall be affixed as Exhibit I within
               ninety (90) days from Effective Date. MJNA Member shall provide standard
               legal indemnifications for such license;

               (n) MINA Member shall assist in locating and performing due diligence on any
               new product lines and additional facilities and state licensed businesses within the
               industry that shall be approved by the Company.

               (o) MINA Member shall provide website management for the Company.

               (p) Each approved Company project shall be identified, approved by the
               Management Committee. The Management Committee is required to approve all
               new acquisitions and product lines and all budgeting matters. An approved initial
               operational budget is attached as Exhibit /which shall be afffied within sixty (60)
               days from the Effective Date,
9.2     Management Committee. Except as otherwise expressly provided in this Agreement,
the powers of the Company shall be exercised by or under the authority of, and the business and
affairs of the Company shall be managed under the direction of, a Management Committee (the
"Management Committee") as described herein.
9.3   Management Committee Stale Mate. In the event the Members are unable to be
unanimous in any decision required to be unanimous, the Members shall mutually agree to
designate an independent third partY to be retained, and paid for by the Company, to provide the
decision in the best interest of the Company. Both Members shall abide by the final decision of
the independent third party.
9.4 Composition of the Management Committee. The Management Committee shall consist
of two individuals. DIXIE Member and MJNA Member shall be entitled to appoint one
individual to the Management Committee. Initially, the members of the Management Committee
consist of Vincent M. Keber, III and Michael R. Llamas or Michael Mona II.



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9.5 General Powers of the Management Committee. Except for' those actions expressly
reserved for the Manager and Members (individually or as a group) as provided in this
Agreement, no act shall be taken, sum expended, decision made, obligation incurred or power
exercised by or on behalf of the Company with respect to any of the following without the
written approval of the Management Committee'and as per approved budget(s):

                 (a) the appointment or replacement of any officer of the Company;

                 (b) incur or amend any indebtedness on behalf of the Company;

                 (c) entry into, termination or amendment of any material contract, or any material
                 election of rights or remedies or any other material decision or determination, or
                 the granting of any material waivers or consents, under any material contract; for
                 purposes of this Section 9.3(c) a material contract includes any contract which is
                 reasonably expected to provide for the making of payments by the Company in
                 any calendar year of greater than $50,000 (unless the payment for a particular
                 contract in excess of such $50,000 threshold is expressly provided for in the
                 Company's budget);

                 (d) termination or amendment of any material governmental approval,
                 authorization, license or permit;
                 (e) institution, compromise or settlement of any material litigation or arbitration
                 proceeding, or settlement of any insurance claim for an amount in excess of fifty
                 thousand dollars ($50,000);
                 (f) except as expressly provided in The Company's budget, the creation,
                 incurrence, or assumption of any indebtedness of the Company for borrowed
                 money;

                 (g) distributions other than a distribution in connection with the dissolution and
                 liquidation of the Company;

                 (h) approval of the Company's budgets;

                 (i) selection of the Company's accountants;

                (j) creation or incurrence of any lien or encumbrance on any astet of the
                Company,

                (k) any transfer or license of any of intellectual property rights of the Company;

                (1) establishment of any reserves from Company funds, including reserves with
                respect to Company operations and reserves for the payment of Company
                obligations;

                (m) the purchase or acquisition of any equity securities (or any securities
                convertible into or exercisable for any equitY securities).of any Person;


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                   (n) the purchase or acquisition, directly or indirectly, of any assets in a transaction
                   or series of related transactions for consideration (including assumed liabilities
                   and indebtedness) in excess of one hundred thousand dollars ($100,000); or

                   (o) entry into any contract or agreement to take any of the foregoing actions.

9.6 Place of Meetings. Meetings of the Management Committee shall be held at the principal
office of the Company as provided herein, or at such other place as may be designated by the
Management Committee. The individuals serving on the Management Committee may appoint
from among themselves a chairperson to preside at meetings of the Management Committee.
Any individual shall be permitted to attend any meeting of the Management Committee in person
or by conference call pursuant to Section 9.14.

9.7 Regular Meetings. The Management Committee shall meet at least quarterly. No notice
need be given of regular meetings that the Managenient Committee previously has designated a
time and place for the meeting.

9.8 Special Meetings. Special meetings of the Management Committee may be held at any
time upon the request of at least one (1) of the members of the Management Committee. A
notice of any special meeting shall be sent to the last known address of each member at least
seven (7)) days before the meeting. Notice of the time, place and purpose of such meeting may
be waived in writing before or after such meeting; and shall be equivalent to the giving of notice.
Attendance of a member at such meeting shall also constitute a waiver of notice thereof, except
where such member attends for the express purpose of objecting to the transaction of any
business on the ground that the meeting is not lawfully called or convened. Neither the business
to be transacted at, nor the purpose of, any regular or special meeting of the Management
Committee need be specified in the notice or waiver of notice of such meeting. The members of
the Management Committee shall cooperate and use their reasonable best efforts to schedule
meetings at times and places that will maximize attendance.

9.9 Ouorum of and Action by the Management Committee. The presence, in person or by
conference call, of at least two (2) members of the Management Committee shall constitute a
quorum for the transaction of business at any meeting of the Management Committee
constituting at least one (1) designated by MINA Member and one •(1) designated by DIXIE
Member. Each member shall be entitled to one vote. Except as otherwise expressly provided in
this Agreement, any action to be taken or approved by the Management Committee hereunder
must be taken or approved by majority of the Management Committee and any action so taken or
approved shall constitute the act of the Management Committee.
9.10 No Compensation. The members of the Management Committee shall serve in such
capacity without compensation by the Company. The members of the Management Committee
will be entitled to reimbursement from the Company for their out-of-pocket expenses incurred in
attending any meeting.
9.11 Resignation and Removal. Any member of the .Management Committee may resign at
any time by giving notice to the Company and the Member that designated such individual.
Such resignation shall be made in writing and shall take effect upon the resignation date


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designated in the notice, or if no such
                                   •    date is designated, upon the earlier of the receipt of such
notice of resignation by the remaining members of the Management Committee or the time Such
individual is replaced by the Member that designated such individual. Any individual serving on
the Management Committee by designation of a Member may be removed, either with or
without cause, only upon the written request of such Member. Any such removal shall be
effective upon the removal date designated in the request, or if no such date is designated, upon
the receipt of such request by the Company and by such individual.

9.12 Vacancies. Any vacancy occurri . ng With respect to an individual serving on the
Management Committee by designation of a Member shall be replaced by that Member pursuant
to Section 9.3.

9.13 Action by Written Consent. Any action that may be taken at a meeting of the
Management Committee may be taken without a meeting if a consent in writing, setting forth the
action to be taken, shall be signed by the Members. No notice shall be required in connection
with the use of a written consent pursuant to this Section.

9.14 Standard of Care. Every Person serving on the Management Committee shall discharge
his or her duties as a Manager in good faith, with the care an ordinarily prudent person in a like
position would exercise under similar circumstances.
9.15 Conference Telephone Meetings. Meetings of the Management Committee may be held
by means of conference telephone or similar communications equipment so long as all persons
participating in the meeting can hear each other. Participation in a meeting by means of
conference telephone shall constitute presence in person at such meeting, except where a person
participates in the meeting for the express purpose of objecting to the transaction of any business
at such meeting on the ground that the meeting is 'not lawfully called or convened.
9.16 Employment of Others. The Management Committee shall be authorized to appoint,
employ, or contract with, at the expense of the Company, any Person it may deem necessary or
desirable for the transaction of the business of the Company as per approved budget.
9.17 Indemnification. Notwithstanding the foregoing, the Company shall indemnify, save
harmless and pay all judgments arising against the Management Committee and its members,
directors, officers, employees and agents from any cost; expense, claim, liability or damage
incurred by reason of such Person's relationship to the Company or any act performed or omitted
to be performed by them in connection with this Article 9 or the business of the Company,
including attorney's fees and costs incurred by them in connection with the defense of any action
based on any such act or omission, which attorneys' fees and costs may be paid as incurred,
including all such liabilities under any Federal or state securities act (including the Securities Act
of 1933, as amended) as permitted by law, except that the Company shall have no
indemnification obligation hereunder with respect to any act or omission of any Person that
constitutes willful misconduct, gross negligence, or was outside the scope of such Person's
authority under this Article 9. All judgments against the Company with respect to which any
Person is entitled to indemnification may only be satisfied from the Company's assets. Any
Person entitled to be indemnified hereunder shall also be entitled to recover its attorney's fees
and costs of enforcing this indemnity from the Company's assets. This section shall survive


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termination of the Agreement. Any suit and/or action filed relating to this Agreement against an
action or inaction of MINA Member shall be the sole financial responsibility to defend said
action and/or claim of the MINA Member and shall indemnify DIXIE Member of same. Any
suit and/or action filed relating to this Agreement against an action or inaction of DDCIE Member.
shall be the sole financial responsibility to defend said action and/or claim of the DIXIE Member
and shall indemnify MINA Member of same.

                                     ARTICLE 10
                           INFORMATION AND CONFIDENTIALITY
10.1 Information. In addition to the other rights specifically set forth in this Agreement, each
Member is entitled to all information to which that Member is entitled to have access pursuant to
the Act under the circumstances and subject to the conditions therein stated.

10.2 Confidentiality. Each Member acknowledges that, from time to time, it may receive
information from or regarding the Company or the'other Member that is confidential in nature.
Each Member shall hold in strict "confidence any confidential information it receives regarding
the Company or the other Member and may not disclose it to any Person, except for disclosures
(i) compelled by law (but the Member must notify the Management Committee promptly of any
request for that information, before disclosing it if practicable), (ii) to advisers or representatives
of the Member or Persons to which that Member's Intereit may be transferred as permitted by
this Agreement, but only if the recipients have agreed to be bound by the provisions of this
Article, or (iii) of information that Member haS also received from a source independent of the •
Company that the Member reasonably believes obtained the information without breach of
confidentiality. The Members acknowledge that breach of the provisions of this Article may
cause irreparable injury to the Company for which monetary damages are inadequate, difficult to
compute, or both. Accordingly, the Members agree that the provisions of this Article may be
enforced by specific performance.

                                        ARTICLE 11
                                  TERMINATION; WINDING UP
11.1 Termination. At any time after the date hereof, the Members may unanimously agree in
writing to terminate this Agreement, without cost or penalty. The effective date of termination
under this Section 11.1 shall be the date on which the Members unanimously agree in writing.
111 Mandatory Offer to Sell.

                   (a) Purchase Event. For purposes of this Agreement,, any one of the following
                   events shall constitute a "Purchase Event":

                           (i) The insolvency of a Member or the making of an assignment for the
                           benefit of creditors by the . Member or the filing of a petition in
                           bankruptcy by or against the Member, or the distribution or transfer of
                           the Units, in whole or in part, to a spouse or third party by virtue of a
                           decree of dissolution of the Member's marriage or other order of a
                           court.


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                                 (ii) The commission of any act by a Member, directly or indirectly
                                 including through a third-party, which involves theft, embezzlement,
                                 fraud, or other act of moral turpitude or criminal act (exclusive of
                                 misdemeanors or infractions), committed against the Company, its
                                 clients, employees, shareholders or affiliates, or against any third-party
                                 if the Management Committee reasonably believes said acts will
                                 damage or adversely affect the Company and its operations.
11.3 Purchase Price in Case of Insolvency or Wrongful Conduct. If the Purchase Event is an
event set forth herein, the per price at which the Member Interest shall calculated as (.50)
multiplied by the Company's average earnings before income taxes ("EDIT") over the 3 fiscal
years immediately preceding the date of the Purchase Event (or the average EDIT for those fiscal
years that the Company has been in existence if less than 3 fiscal years). The average EDIT of
the Company shall be computed by the . then outside accountant for the Company based on
generally accepted accounting principles.


11.4 Purchase Price for Voluntary Termination — First Right of Refusal. If the Purchase
Event is an event set forth herein, the per price at which the Member Interest shall calculated as
(.75) multiplied by the Company's average earnings before income taxes ("EDIT") over the 5
fiscal years immediately preceding the date of the Purchase Event (or the average EDIT for those
fiscal years that the Company has been in existence if less than 5 fiscal years). The average
EDIT of the Company shall be computed by the then accountant for the Company based on
generally accepted accounting principles.


11.5 Method and Time of Payment. The purchase price shall be paid to the selling Member
under Section 11.3 and Section 11.4 is as follows: .(i) as the Parties agree, or (ii) if they cannot
agree, then at the option of the purchasing Member(s) or Company, over a period of thirty-six
(36) months following the occurrence of any Purchase Event, with the principal unpaid balance
accruing interest thereon at a rate of 6% per annum or such other interest rate as may be fixed by
the Management Committee. The purchaser shall have.the right to prepay such amounts at any
time without premium or interest penalty.
11.6 Winding Up. If this Agreement is terminated and/or the Company is dissolved by a
unanimous vote of the Members the Company's affairs shall be wound up as soon as reasonably
practicable in the manner set forth below. The Company shall continue to abide by any contracts
or other agreements to which the Company is a party regarding the conduct of the ordinary
business of the Company.

                    (a) Appointment of Liquidator. The winding up of the Company's affairs shall be
                    supervised by a liquidator. The liquidator shall be appointed jointly by mutual
                    agreement of the Members. In the event the Members cannot agree upon the
                    appointment of a liquidator, then the Members shall seek the appointment of a
                    liquidator through a court of competent jurisdiction. The liquidator to be
                    established pursuant. to these provisions shall have expertise in the area of real
                    estate development.


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                 (b) Powers of Liquidator. In winding up the affairs of the Company, the
                 liquidator shall have full right and unlimited discretion, for and on behalf of the
                 Company:

                          (0     to prosecute and defend civil; criMinal or administrative suits;

                          (ii) to collect Company assets, including obligations owed to the
                          Company;

                          (iii) to settle and close the Company's business;

                          (iv) to dispose of and convey all Company Property for cash, and in
                          connection therewith to determine the time, manner and, terms of any sale
                          or sales of Company Property, having due regard for the activity and
                          condition of the relevant market and general financial and economic
                          conditions; •

                          (v) to pay all reasonable selling costs and other expenses incurred in
                          connection with the winding up of the proceeds of the disposition of
                          Company Property;

                          (vi) to discharge the Company's known liabilities and, if necessary, to set
                          up, for a period not to exceed five (5) years after the date of dissolution,
                          such cash reserves as the liquidator may deem reasonably necessary for
                          any contingent or unforeseen liabilities or obligations of the Company;

                          (vii) to distribute any remaining proceeds from the sale of Company
                          Property to the Members;

                          (viii) to prepare, execute, acknowledge and file articles of dissolution
                          under the Act and any other certificates, tax returns or instruments
                          necessary or advisable under any aPplicable law to effect the winding up
                          and termination of the Company; and

                         . (ix) to exercise, without further authorization or consent of any of the
                          parties hereto or their legal representatives or successors in interest, all of
                          the powers conferred upon the Management Committee under the terms of
                          this Agreement- to the extent necessary or desirable in the good faith
                          judgment of the liquidator to perform its duties and functions. The
                          liquidator.(if not a member of the Management Committee), while acting
                          in such capacity on behalf of the Company, be entitled to the
                          indemnification rights set forth herein.
11.7 Compensation of Liquidator. The liquidator 'appointed as provided herein shall be
entitled to receive such reasonable compensation for its services as shall be agreed upon by the
liquidator and all of the Members.

11.8 Distribution of Company Property and Proceeds of Sale Thereof.


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                   (a) Order of Distribution. Upon completion of all desired sales of Company
                   Property, and after payment of all selling costs and expenses, the liquidator shall
                   distribute the proceeds of such sales, arid the Company Property that is to be
                   distributed in kind, to the following groups in the following order of priority:

                           (i) to the extent permitted by law, to satisfy Company liabilities to
                           creditors, including Members who are creditors through loans or otherwise
                           (other than for past due Company distributions) of the Company, whether
                           by payment or establishment of reserves;

                           (ii) to satisfy Company obligations to Members to pay past due Company
                           distributions;

                           (iii) to the Members, in accordance with the positive balances in their
                           respective Capital Accounts; and

                           (iv) to the Members in accordance with their respective Interests.

                   (b) Insufficient Assets. The claims of each priority group specified above shall be
                   satisfied in full before satisfying any claims of a lower priority group. If the
                   assefs available for disposition are insufficient to dispose of all of the claims of a '
                   priority group, the available assets shall be distributed in proportion to the
                   amounts owed to each creditor or the respective Capital Account balances or
                   Interests of each Member in such group. • .
11.9 Final Audit. Within a reasonable time following the completion of the liquidation, the
liquidator shall supply to each of the Members a statement which shall set forth the assets and
the liabilities of the Company as of the date of complete liquidation and each Member's pro rata
portion of distributions.

11.10 Deficit Capital Accounts. Notwithstanding anything to the contrary contained in this
Agreement, and notwithstanding any custom or rule of law to the contrary, to the extent that the
deficit, if any, in the Capital Account of any Member results from or is attributable to deductions
and losses of the Company (including non-cash items such as depreciation), or distributions of
money pursuant to this Agreement to all Members in proportion to their respective Interests,
upon dissolution of the Company such deficit shall not be an asset of the Company and such
Member shall not be obligated to contribute such amount to the Company to bring the balance of
such Member's Capital Account to zero.

                                           ARTICLE 12
                                   INDEMNIFICATION, INSURANCE

12.1 Indemnification and Advance of Expenses. The Company shall indemnify and/or
advance expenses to a Person who was, is, or is threatened to be made a named defendant or
respondent in a proceeding because the person (i) is or was a member of the Management
Committee, a Member, officer, employee or agent of the Company, or (ii) is or was serving at
the request of the Company as a manager, member, director, officer, partner, proprietor, trustee,
employee, agent, or similar functionary of another foreign or domestic limited liability company,

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corporation, partnership, joint venture, sole proprietorship, trust, employee benefit plan, or other
enterprise, to the fullest extent provided by, and in accordance with the procedures set forth in
any applicable laws.

12.2 Insurance. Subject to the Act, the Company may purchase and maintain officer and
director insurance, or other insurance and/or arrangements on behalf of any Person who is or was
a member of the Management Committee, a Member, employee, agent or other Person identified .
above in Section 12.1 against any liability asserted against him or incurred by him in such a-
capacity or arising out of his status as such a Person,. whether or not the Company would
otherwise have the power to indemnify him against that liability.
12.3 Limit on Liability of Members. The indeninificatiori set forth in this Article 15 shall in
no event cause the Members to incur any liability beyond their total Capital Contributions, nor
shall it result in any liability of the Members to any third party.

                                        ARTICLE 13
                                 MICELLANEOUS PROVISIONS

13.1 Entire Agreement. This Agreement contains the entire agreement among the Members
relating to the subject matter hereof, and all prior agreements relative hereto which are not
contained herein are terminated.

13.2 Governing Law. This Agreement shall be governed by and construed in accordance
with the local, internal laws of the State of California. In particular, this Agreement is intended
to comply with the requirements of the Act and the Articles of Organization. In the event of a
direct conflict between the provisions of this Agreement and the mandatory, non-waivable and/or
non-modifiable provisions of the Act, or any provision of the Articles of Organization, then the
Act, and the Articles of Organization, in that order of priority, will control.
13.3 Mediation of Disputes. The Members 'agree that any and all disputes concerning this
agreement will first be subject to mediation prior to any party filing for arbitration or any other
methods if dispute resolution. Should the parties not be able to settle this matter through
mediation, they agree to arbitrate the subject dispute purshant to Section 13.4.
13.4 Arbitration of Disputes. Any dispute or claim in law or equity between Members
arising out of this Agreement shall be decided by neutral, binding arbitration and not by Court
action, except as provided by California law for judicial review of arbitration proceedings. The
arbitration shall be conducted in accordance with the rules of the California Civil Codes and
Code of Civil Procedures.

13.5 Successors and Assigns. • This Agreement shall be binding upon and shall inure to the
benefit of the Members and their respective heirs, legal representatives, successors and assigns.
13.6 Severabilitv. This Agreement is intended to be performed in accordance with, and only
to the extent permitted by, all applicable laws, ordinances, rules and regulations. If any
provision of this Agreement or the application thereof to any Person or circumstance shall, for
any reason and to any extent, be invalid or unenforceable, but the extent of such invalidity or
unenforceability does not destroy the basis of the bargain among the Members as expressed

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herein, the remainder of this Agreement and the application of such provision to other Persons or
circumstances shall not be affected thereby, but rather shall be enforced to the greatest extent
permitted by law.

13.7 Headings. The Article and Article headings appearing in this Agreement are for
convenience of reference only and are not intended, to any extent or for any purpose, to limit or
define the text of any Article.
13.8 Construction. Whenever required by the context, as used in this Agreement, the singular
number shall include the plural, and vice versa, and the gender of all words used shall include the
masculine, feminine and the neuter. Unless expressly stated herein, all references to Articles
refer to articles of this Agreement, and all references to Exhibits are to schedules attached hereto,
each of which is made a part hereof for all purposes.

13.9 Offset. Whenever the Company is to pay any sum to any Member, any amounts that
Member owes the Company may be deducted from that sum before payment.
13.10 Effect of Waiver or Consent. A waiver or consent, express or implied, to or of any
breach or default by any Person in the performance by that Person of its obligations with respect
to the Company is not a consent or waiver to or of any other breach or default in the performance
by that Person of the same or any other obligations of that Person with respect to the Company.
Failure on the part of a Person to complain of any act of any Person or to declare any Person in
default with respect to the Company, irrespective of how long that failure continues, does not
constitute a waiver by that Person of its rights with respect to that default until the applicable
statute-of-limitations period has rim.

13.11 Waiver of Certain Rights. Each Member irrevocably waives any right it may have to
maintain any action for partition of the property of the Conipany.

13.12 Counterparts and Binding Effect. This" Agreement may be executed in one or more
counterparts, each of which shall be an original, but all of which taken together shall constitute a
single document. This Agreement shall be binding upon each Member as evidenced by their
signatures below.
 13.13 Attorney's Fees. If any Member becomes involved in litigation or proceedings arising
 out of or in connection with this Ageement, including, but not limited to, the interpretation or
 performance thereof, the court or tribunal in such litigation or proceeding, or in a separate suit,
 shall award attomey's fees to the prevailing party. Unless judgment goes by default, the attorney
 fee award shall not be computed in accordance with any court schedule, but shall be such as to
 fully reimburse all attorney's fees actually incurred in good faith, regardless of the size of the
judgment, it being the intention of the Members to fully compensate for all the attorney's fees
paid or incurred in good faith by the prevailing party.
13.14 Amendment of Agreement. This Agreement may be amended only in writing, in whole
or in part, at any time only by the execution thereof by all of the Members. No provision of this
Agreement may be waived except by a writing signed by the party to be charged therewith.



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13.15 Notices. Notifications, as defined above, given under this Agreement shall be duly given
to the appropriate addresses set forth below (or to such other addresses as a party may designate
as to itself by notice to the other):

                If to MINA MEMBER:
                        Medical Marijuana, Inc.
                        2665 Ariane Drive, Suite 207, San Diego, CA 9211'
                        Tel: 209-207-9691; Fax: 866-763-6414

                If to DIXIE MEMEIER:
                        Dixie Holdings, LLC
                        Vincent M. Keber, HI
                        6701 East Stapleton Drive North, Denver, CO 80216
                        Tel:                          Fax:

       IN WITNESS WHEREOF, the Majority Interest Members of the Company have
evidenced the adoption of this Agreement in accordance with the Act by their signatures below,
such adoption to be effective as of the Effective Date first above written.

                                             MEMBERS:

                                             Medical Marijuana, Inc.


                                               rut ame:                            kV,
                                             Its:

                                             Dixie Holdings, LL

                                          By:
                                          Print Name:
                                          Its:
Exhibits 'Atte
             ch d             e -
Eihibit A Red Dice Holdings, LLC Formation Documents
           —



Exhibit B — Membership Interest
Exhibit C — Keber and Smith NonDisclosure / NonCompetes
Exhibit D — Dixie Member Inventory to be Transferted
Exhibit E — Exclusive Licensing Agreement with Left Bank, LLC
Exhibit F — Keber Employment Contract; Smith Consulting Agreement
Exhibit G — Licensing Agreement with MYNA for Terresphere Grow Technology
Exhibit H — Operating Budget




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                                           EXHIBIT A

                                NEW ENTITY FORMATION DOCUMENTS




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                                       EXHIBIT B
                                  MEMBERSHIP INTEREST

MEMBER '                                        MEMBERSHIP
                                                INTEREST

Medical Marijuana, Inc.                         6.0%
2665 Ariane Drive, Suite 207
San Diego, CA 92117


Dixie Holdings, LLC                             40% "
6701 East Stapleton Drive North
Denver, CO 80216




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                                 EXHIBIT C
               ICEBER AND SMITH NONDISCLOSURE / NONCOMPETE'S




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                                                             Exhibit 6'

                                     Non-Disclosure, Non-Compete, Confidentiality Agreement

        Confidentiality and Nondisclosure Agreement (the "Agreement"), effective this         day of April 2012, by and among the
undersigned Employee Vincent M. Keber HI (the "Employee"), whose mailing address is 1301 Wazee St. Unit 2E, Denver CO 80204
and, Medical Marijuana, Inc., its affiliates and/or assigns, whose corporate mailing address is 2665 Ariane Drive Suite 207, San
Diego, CA 92117(the "Company/Corporate").

                                                  BACKGROUND INFORMATION

          The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
the Employee in connection with the Company's Business and the Employee has agreed to become or continue to be so employed.
Pursuant to such employment, the Employee has been and/or will be exposed to and has received or will receive confidential and
proprietary information of the Company or relating to the Company's business or affairs as defined in Section 1(a) below. The parties
acknowledge and agree that the Trade Secrets and Other Confidential Information are valuable, special and unique assets of the
Company and that the Trade Secrets and Other Confidential Information which the Employee has received and/or will receive would
allow the Employee or a third Party recipient of such information to unfairly and inequitably compete against the Company and to
otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the mutual agreements contained
herein, the parties agree as follows:

                                                     OPERATIVE PROVISIONS

I.        Confidentiality.

                   a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
Information" shall mean information disclosed to Employee as a consequence of their employment relationship with the Company
(and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
information as to other business relationships of the Company and related matters.

                    Employee shall not disclose, during or after the term of Employee's employment with the Company, all or any part
of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the event
of Employee's breach or threatened breach of this section, the Company shall be entitled to a preliminary restraining order and an
injunction to restrain and enjoin Employee from such disclosure. In addition to or in lieu of such action, the Company may pursue all
other remedies available for such breach or threatened breach, including but not limited torhe recovery of damages from Employee.

                  b.       Unauthorized Disclosure. The Employee agrees that during the course of his/her employment with the
Company and until the date ending four (4) years following termination the Employee will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restdctiori. Upon the termination of employment, the Employee
promptly will supply to the Company all property,. keys and Confidential Information which has been produced by, received by or
otherwise submitted to the Employee in the course of his/her employment with the Company, including the period during and prior to
the Employee's employment with the Company.

                c.          Inventions. The Employee agrees that any and all inventions, discoveries, improvements, processes,
copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Employee relating
thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolutPowner thereof.

        2.       Prohibited and Competitive Activities. The Employee and tbe Company recognize that due tO the nature of the
Employee's engagement by the Company, the Employee has had and will have access to Trade Secrets and Other Confidential
Information. The Employee acknowledges that suCh Trade Secrets and Other Confidential Information has been and will be of central
importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
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limitation, the Employee (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Employee accordingly agrees as follows:

                   a       Prohibited Activities. The Employee will not, at any time during the course of Employee's employment
and for the- four (4) year period following the termination of Employee's employment: (i) directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
solicitation, is employed by the Company or any Affiliate thereof; 00 directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
respective Employees, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
Company shall not publish or make any statement critical of the Employee in any way that would adversely affect or otherwise malign
his/her reputation.

                   b.       For a period of four (4) years after the termination of this Agreement, Employee shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Employee's actual or
threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in order
to restrain Employee from such breach. Nothing in this Agreement shall be construed to prohibit the Company from pursuing any
other available remedies at law or in equity.

          3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Employee.

          4        Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
elements of the Company's engagement of the Employee and that without the Employee's agreement to comply with such covenants;
the Company would not have agreed to engage or to continue to engage the Employee, or to provide Employee with Trade Secrets and
Other Confidential Information. Further, the Employee expressly acknowledges that the restrictions contained in this Agreement are
reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
interests in protecting their business. The Employee thither acknowledges that any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the, for which the Company Company's remedy is binding arbitration as
defined in section 16 of "Employment Agreement The Company shall also be entitled, upon application to a court of competent•
jurisdiction, to obtain injunctive relief, including but not limited to a 'temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement.

         S.      Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Employee's employment.

         6.       Mandatory Disclosure. The Employee shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Employee in the course of his/her dealings with the Company, if he/she may lawfully required to do so.

         7.        Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Employee's employment, the Employee shall promptly deliver to the Company all written data containing, or reflecting any
information about the Company, its shareholders, officers, directors, Employees, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the Employee or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Employee of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

          8.     Miscellaneous Provisions.

         a.       Notices. All notices, requests or other communications under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
Service from within the United States by certified mail, postage prepaid and return receipt requested, or sent by teiecopier, and
addressed to the location set forth in the preamble to this Agreement or to such other address or telecopier number as any party may
have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
Mails, delivered or transmitted via Telecopier.
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        b.        Entire Agreement This Agreement sUpercedes and is in full substitution for any previous confidentiality,
nondisclosure, or noncompete agreement previously signed by the Employee in contemplation of, or during his/her employment with
the Company.

       c.           Assignment. This Agreement shall be assignable by the Company without the prior written consent of the
Employee.

         d.        Acknowledgments The Employee acknowledges that he/she has been provided with a copy of this Agreement for
review prior to signing it, that the Company hereby encourages the Employee to have this Agreement reviewed by his/her own
attorney prior to signing it, that the Employee has signed the Agreement of his/her own free will, and that the Employee understands
the purposes and effects of this Agreement.                       ,

         e.       Headings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision hereof.

    •     •        Application of California Law. This Agreement, and the . application or interpretation thereof, shall be governed
exclusively by its terms and by the laws of the State of California and venue residing in San Joaquin County.

            g.      Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed an
original.

         h.      Arbitration. Any controversies arising out of the terms of this Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the rules of the American Aibitration Association, and the judgment upon award may be
entered in any court having jurisdiction thereof.

          i.        Waiver. The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed as a
waiver of any subsequent breach by the Employee. The refusal or failure of the Company to enforce the restrictive covenants
contained herein or contained in any other similar agreement against any other Employee, agent, or independent contractor of the
Company, for any reason, shall not constitute a defense to the enforcement of this Agreement by the Company against the Employee,
nor shall it give rise to any claim or cause of action by such Employee against the Company.

                  Affiliate: The term "affiliate" when used in this Agreement shall mean any other person or entity that directly or
indirectly controls, or is under common control with, or is controlled by the specified person or entity herein, or if a person, any
member of the immediate family of such individual, or any entity formed on behalf of the Company and/or in which Michael R.
Llamas has ownership of any nature. As used in this definition, "control" shall mean possession, directly or indirectly, of power to
direct or cause the direction of management or policies and "immediate family" shall mean any parent, child, grandchild, spouse, or
sibling.

         k.       Company:. The term "Company" as used herein, shall include the Company and any Affiliate of the Company, its
shareholders, consultants, officers, directors, and subsidiaries.


            In witness whereof, the parties have hereunto executed this Agreement.

                                                                Company

                                                                 Medical Marijuana, Inc,


                                                                     Print Name:               /
                                                                             .     .




                                                                 Vincent M. Kober El



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                                                              Exhibit          -




                                      Non-Disclosure, Non-Compete, Confidentiality Agreement

         Confidentiality and Nondisclosure Agreement (the "Agreement"), effective this        day of April 2012, by and among the
 undersigned Employee Vincent M. Keber III (the "Employee"), whose mailing address is 1301 Wazee St. Unit 2E, Denver CO 80204
 and, Red Dice Holdings, LLC, its affiliates and/or assigns, whose cOrporate mailing address is 2665 Ariane Drive Suite 207, San
 Diego, CA 92117(the "Company/Corporate"). '

                                                  BACKGROUND INFORMATION

          The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
the Employee in connection with the Company's Business and the Employee has agreed to become or continue to be so employed.
Pursuant to such employment, the Employee has been and/or will be exposed to and has received or will receive confidential and
proprietary information of the Company or relating to the Company's business or affairs as defined in Section 1(a) below. The parties
acknowledge and agree that the Trade Secrets and Other Confidential Information are 'valuable, special and unique assets of the
Company and that the Trade Secrets and Other Confidential Information which the Employee has received and/or will receive would
allow the Employee or a third party recipient of such information to unfairly and inequitably compete against the Company and to
otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the mutual agreements contained
herein, the parties agree as follows:

                                                     OPERATIVE PROVISIONS

 1.       Confidentiality.

                   a.        Definition: For purposes of this Agreement, collectively the tams "Trade Secrets and/or Confidential
Information" shall mean information disclosed to Employee as a consequence of their employment relationship with the Company
(and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
information as to other business relationships of the Company and related matters.

                    Employee shall not disclose, timing or after the term of Employee's employment with the Company, all or any part
of the Confidential Information to any person, corporation, other legal entity, or.organization for any reason or purpose. In the event
of Employee's breach or threatened breach of this section, the Company shall be entitled to a preliminary restraining order and an
injunction to restrain and enjoin Employee from such disclosure. In addition to or in lieu of such action, the Company may pursue all
other remedies available for such breach or threatened breach, including but not limited to the recovery of damages from Employee.

                  b.       Unauthorized Disclosure. The Employee agrees that during the course of his/her employment with the
Company and until the date ending four (4) years following termination the Employee will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or finnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restriction. Upon the termination of employment, the Employee
promptly will supply to the Company all property, keys and Confidential Information which has been produced by, received by or
otherwise submitted to the Employee in the course of his/her employment with the Company, including the period during and prior to
the Employee's employment with the Company.

                 c.          Inventions. The Employee agrees that any and all inventions, discoveries, improvements, processes,
 copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Employee relating
 thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereof.

         2.       Prohibited and Competitive Activities. The Employee and the Company recognize that due to the nature of the
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Employee's engagement by the Company, the Employee has had and will have access to Trade Secrets and Other Confidential
Information. The Employee acknowledges that such Trade Secrets and Other Confidential Information has been and will be of central
importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
limitation, the Employee (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Employee accordingly agrees as follows:

                   a        Prohibited Activities. The Employee will not, at any time during the course of Employee's employment
and for the four (4) year period following the termination of Employee's employment: (i) directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
respective Employees, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
Company shall not publish or make any statement critical of the Employee in any way that would adversely affect or otherwise malign
his/her reputation.

                   b.       For a period of four (4) years after the termination Of this Agreement, Employee shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, Manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the lime this Agreement terminates. In the.event of Employee's actual or
threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in order
to restrain Employee from such breach. Nothing hi this Agreement shall be construed to prohibit the Company from pursuing any
other available remedies at law or in equity. •

          3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Employee.

          4        Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
elements of the Company's engagement of the Employee and that without the Employee's agreement to comply with such covenants;
 the Company would not have agreed to engage or to continue to engage the Employee, or to provide Employee with Trade Secrets and
Other Confidential Information. Further, the Employee expressly acknowledges that the restrictions contained in this Agreement are
reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
interests in protecting their business. The Employee further acknowledges that any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the for which the Company Company's remedy is binding arbitration as
defined in section 16 of "Employment Agreement. The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement.

        5.     Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Employee's employment •

         6.       Mandatory Disclosure. The Employee shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Employee in the course of his/her dealings with the Company, if he/she may lawfully required to do so.
         7. .      Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Employee's employment, the Employee shall promptly deliver to the Company all written data containing, or reflecting any
information about the Company, its shareholders, officers, directors, Employees, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the Employee or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Employee of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

         8.      Miscellaneous Provisions.

        a.       Notices. All notices, requests or other communications 'under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
Service from within the United States by certified mail, postage prepaid and return receipt requested, or sent by telecopier, and
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  .
• addressed to the location set forth in the preamble to this Agreement or to such other address or telecopier number as any party may
    have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
    Mails, delivered or transmitted via Teleeopier.

          b.        Entire Aereernent. This Agreement supercedes and is itt MI substitution for any previous confidentiality,
  nondisclosure, or noncompete agreement previously signed by the Employee in contemplation of, or during his/her employment with
  the Company.

         c.           Assignment. This Agreement shall be assignable by the Company without the prior written consent of the
  Employee.

           d.        Acknowledgments. The Employee acknowledges that he/she has been provided with a copy of this Agreement for
  review prior to signing it, that the Company hereby encourages the Employee to have this Agreement reviewed by his/her own
  attorney prior to signing It, that the Employee has signed the Agreement of his/her own free will, and that the Employee understands
  the purposes and effects of this Agreement

           e.       Headings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
  intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision hereof.

           f.        Application of California Law. This Agreement, 'arid the application or interpretation thereof, shall be governed
  exclusively by its terms and by the laws of the State of California and venue residing in San Joaquin County.

              8.      Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed an
  original.

           h.      Arbitration. Any controversies arising out of the terms of this Agreement or its interpretation shall be settled in San
  Francisco, California in accordance with the rules of the American Arbitration Association, and the judgment upon award may be
  entered in any court having jurisdiction thereof.

           i.         Waiver. The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed as a
  waiver of any subsequent breach by the Employee. The refine] or failure of the Company to enforce the restrictive covenants
  contained herein or contained in any other similar agreement against any other Employee, agent, or independent contractor of the
  Company, for any reason, shall not constitute a defense to the enforcement of this Agreement by the Company against the Employee,
  nor shall it give rise to any claim or cause of action by such Employee against the Company.
           j..      Affiliate: The term "affiliate" when used in this Agreement shall mean any other person or entity that directly or
  indirectly controls, or is under common control with, or is controlled by the specified persoh or entity herein, or if a person, any
  member of the immediate family of such individual, or any entity formed on behalf 'of the Company and/or in which Michael R.
  Llamas has ownership of any nature. As used in this definition,."contml" shall mean possession, directly or indirectly, of power to
  direct or cause the direction of management or polieies and "immediate family' shall mean any parent, child, grandchild, spouse, or
  sibling.

          Ic        Company: The term "Company" as used herein, shall include the Company and any Affiliate of the Company, its
  shareholders, consultants, officers, directors, and subsidiaries.


              In witness whereof, the parties have hereunto executed this Agreement

                                                                  Company

                                                                  Red Dice Holdings, LLC.


                                                                      Print Name:




                                                                  Em*Yec    a/bfW
                                                                  Vincent M. Keber III
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                                                           • Exhibit      e,
                                      Non-Disclosure, Non-Compete, Confidentiality Agreement

         Confidentiality and Nondisclosure Agreement (the "Agreement'), effective this           day of April 2012, by and among the
 undersigned Consultant Charles K. Smith (the "Consultant"), whose mailing address is 108 Augusta Court, Fairhope AL 36532 and,
 Medical Marijuana, Inc., its affiliates and/or assigns, *hose corporate mailing address is 2665 Arlene Drive Suite 207, San Diego,
 CA 921 I 7(the "Company/Corporate").

                                                   BACKGROUND INFORMATION

          The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
the Consultant in connection with the Company's Business and the Consultant has agreed to become or continue to be so employed.
Pursuant to such employment, the Consultant has been and/or will be exposed to and has received or will receive confidential and
proprietary information of the Company or relating to the Company's business ,or affairs as defined in Section 1(a) below. The parties
acknowledge and agree that the Trade Secrets and Other Confidential Information are valuable, special and unique assets of the
Company and that the Trade Secrets and Other Confidential Information which the Consultant has received and/or will receive would
allow the Consultant or a third party recipient of such information to unfairly and inequitably compete against the Company and to
otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the-mutual agreements contained
herein, the parties agree as follows:

                                                    • OPERATIVE PROVISIONS

 1.       Confidentiality.

                   a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
Information" shall mean information disclosed to Consultant as a consequence of their employment relationship with the Company
(and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
information as to other business relationships of the Company and related matters.

                   Consultant shall not disclose, during or after the term of Consultant's employment with the Company, all or any
part of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the
event of Consultant's breach or threatened breach of this section, the Company shall be entitled to a preliminary restraining order and
an injunction to restrain and enjoin Consultant from such disclosure. In addition to or in lieu of such action, the Company may pursue
all other remedies available for such breach or threatened breach, including but not limited to the recovery of damages from
Consultant

                  b.       Unauthorized Disclosure. The Consultant agrees that during the course of his/her employment with the
Company and until the date ending four (4). years following termination the Consultant will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose 'or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in treat for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial rentriction. Upon the termination of employment, the
Consultant promptly will supply to the Company all property, keys and Confidential Information which has been produced by,
received by or otherwise submitted to the Consultant in the course - of his/her employment with the Company, including the period
during and prior to the Consultant's employment with the Company. .•

                c.          Inventions. The Consultant agrees that any and all inventions, discoveries, improvements, processes,
copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Consultant relating
thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereof.

        2.       Prohibited and Competitive Activities. The Consultant and the Company recognize that due to the nature of the
Consultant's engagement by the Company, the Consultant has had and will have access to Trade Secrets and Other Confidential
Information, The Consultant acknowledges that such Trade Secrets and Other Confidential Information has been and will be of central
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importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
limitation, the Consultant (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Consultant accordingly agrees as follows:

                   a        Prohibited Activities. The Consultant will not, at any time during the course of Consultant's employment
and for the four (4) year period following the termination of Consultant's employment: (i) directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the lime of such
solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
respective Consultants, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless requited to do so by law.
Company shall not publish or make any statement critical of the Consultant in any way that would adversely affect or otherwise
malign his/her reputation.

                   b.       For a period of four (4) years after the termination of this Agreement, Consultant shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Consultant's actual
or threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in
order to restrain Consultant from such breach. Nothing in this Agreement shall be construed to prohibit the Company from pursuing
any other available remedies at law or in equity.

         3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Consultant.

         4         Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
elements of the Company's engagement of the Consultant and that without the Consultant's agreement to comply with such covenants;
the Company would not have agreed to engage or to continue to engage the Consultant, or to provide Consultant with Trade Secrets
and Other Confidential Information. Further, the Consultant expressly acknowledges that the restrictions contained in this Agreement
are reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
interests in protecting their business. The Consultant further acknowledges that any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the for which the Company Company's remedy is binding arbitration as
defined in section 16 of "Employment Agreement. The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement.

         S.      Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Consultant's employment

         6.       Mandatory Disclosure. The Consultant shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Consultant in the course of his/her dealings with the Company, if he/she may lawfully required to do so.

         7.        Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Consultant's employment, the Consultant shall promptly deliver to the Company all written data containing, or reflecting any
information about the Company, its shareholders, officers, directors,' Consultants, agents or consultants, (whether prepared by the
Company Or otherwise, and whether in the possession of the Consultant or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Consultant of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

          8.      Miscellaneous Provisions.

        a.        Notices. All notices, requests or other communications under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
Service from within the United States by certified mail, postage prepaid and return receipt requested, or sent by telecopier, and
addressed to the location set forth in the preamble to this Agreement or to such other address or telecopier number as any party may
have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
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Mails, delivered or transmitted via Telecopier.

        b.        gntire Agreement This Agreement supercedes and is in fa substitution for any previous confidentiality,
nondisclosure, or noncompete agreement previously signed by the Consultant in contemplation of, or during his/her employment with
the Company.

        c.           Assignment. This Agreement shall be assignable by the Company without the prior written consent of the
Consultant
                                                                                                                                •
         d.        Acknowledgments. The Consultant acknowledges that he/she has been provided with a copy of this Agreement for
review prior to signing it, that the Company hereby encourages the Consultant to have this Agreement reviewed by his/her own
attorney prior to signing it, that the Consultant has signed the Agreement of his/her own free will, and that the Consultant understands
the purposes and effects of this Agreement

         e. •     Headings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision hereof.

        f.        Annlication of California Law. This Agreement; and the application or interpretation thereof, shall be governed
exclusively by its tents and by the laws of the State of California and venue residing in San Joaquin County.

            g.       Counterparts. This Agreement rimy be executed in any number of counterparts, each of which shall be deemed an
original.

         h.      Arbitration. Any controversies arising out of the terms of this Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the rules of the American Arbitration Association, and the judgment upon award may be
entered in any court having jurisdiction thereof.

          i.         Waiver. The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed as a
waiver of any subsequent breach by the Consultant The refusal or failure of the Company to enforce the restrictive covenants
contained herein or contained in any other similar agreement against any other Consultant, agent, or independent contractor of the
Company, for any reason, shall not constitute a defense to the enforcement of this Agreement by the Company against the Consultant,
nor shall it give rise to any claim or cause of action by such Consultant against the Company.

                  Affiliate: The term "affiliate" when used in this Aireement shall mean any other person or entity that directly or
indirectly controls, or is under common control with, or is controlled by the specified person or entity herein, or if a person, any
member of the immediate family of such individual, or any entity formed on behalf of the Company and/or in which Michael R.
Llamas has ownership of any nature. As used in this definition, "control" shall mean possession, directly or indirectly, of power to
direct or cause the direction of management or policies and Immediate family" shall mean any parent, child, grandchild, spouse, or
sibling.

         k.       Company; The term "Company" as used herein, shall include the Company and any Affiliate of the Company, its
shareholders, consultants, officers, directors, and subsidiaries.


            In witness whereof, the parties have hereunto executed this Agreement

                                                                Company • •

                                                                 Medical Marijuana. Inc.

                                                                 By
                                                                      Print Name;


                                                                 Conselja,



                                                            .    Charles IC Smith


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                                                              Exhibit   e___         •



                                     Non-Disclosure, Non-Compete, Confidentiality Agreement

        Confidentiality and Nondisclosure Agreement (the "Agreement"), effective this         day of April 2012, by and among the
undersigned Consultant Charles K. Smith (the "Consultant"), whose mailing address is 108 Augusta Court, Fairhope AL 36532 and,
Red Dice Holdings, LLC, its affiliates and/or assigns, whose corporate mailing address is 2665 Ariane Drive Suite 207, San Diego,
CA 92117(the "Company/Corporate").

                                                  BACKGROUND INFORMATION

          The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
the Consultant in connection with the Company's Business and the Consultant has agreed to become or continue to be so employed.
Pursuant to such employment, the Consultant has been and/or will be exposed to and has received or will receive confidential and
proprietary information of the Company or relating to the Company's business or affairs as defined in Section 1(a) below. The parties
acknowledge and agree that the Trade Secrets and Other Confidential Information are valuable, special and unique assets of the
Company and that the Trade Secrets and Other Confidential Information which the Consultant has received and/or will receive would
allow the Consultant or a third party recipient of such information to unfairly and inequitably compete against the Company and to
otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the mutual agreements contained
herein, the parties agree as follows:

                                                     OPERATIVE PROVISIONS

1.        Confidentiality.

                   a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
Information" shall mean information disclosed to Consultant as a consequence of their employment relationship with the Company
(and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
information as to other business relationships of the Company and related matters.

                   Consultant shall not disclose, during or after the term of Consultant's employment with the Company, all or any
part of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the
event of Consultant's breach or threatened breach of this section, the Company shall be entitled to a preliminary restraining order and
an injunction to restrain and enjoin Consultant from such disclosure. In addition to or in lieu of such action, the Company may pursue
all other remedies available for such breach or threatened breach, including but not limited to the recovery of damages from
Consultant.

                  b.       Unauthorized Disclosure. The Consultant agrees that during the course of his/her employment with the
Company and until the date ending four (4) years following termination the Consultant will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restriction. Upon the termination of employment, the
Consultant promptly will supply to the Company all property, keys and Confidential Information which has been produced by,
received by or otherwise submitted to the Consultant in the course of his/her employment with the Company, including the period
during and prior to the Consultant's employment with the Company.

                c.          Inventions. The Consultant agrees that any and all inventions; discoveries, improvements, processes,
copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Consultant relating
thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereof.

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         2.       Prohibited and Competitive Activities. The Consultant and the Company recognize that due to the nature of the
Consultant's engagement by the Company, the Consultant has had and will have access to Trade Secrets and Other Confidential
Information. The Consultant acknowledges that such Trade Secrets and Other Confidential Information has been and will be of central
importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
limitation, the Consultant (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Consultant accordingly agrees as follows:

                   a       Prohibited Activities. The Consultant will not, at any time during the course of Consultant's employment
and for the four (4) year period following the termination of Consultant's employment: (i) directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
respective Consultants, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
Company shall not publish or make any statement critical of the Consultant in any way that would adversely affect or otherwise
malign his/her reputation.

                   b.       For a period of four (4) years after the termination of this Agreement, Consultant shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Consultant's actual
or threatened breach of this restrictive covenant, the Company shall be enlitled to a preliminary restraining order and injunction in
order to restrain Consultant from such breach. Nothing in this Agreement shall be construed to prohibit the Company from pursuing
any other available remedies at law or in equity.

          3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Consultant.

          4        Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
elements of the Company's engagement of the Consultant and thatwithout the Consultant's agreement to comply with such covenants;
the Company would not have agreed to engage or to continue to engage the Consultant, or to provide Consultant with Trade Secrets
and Other Confidential Information. Further, the Consultant expressly acknowledges that the restrictions contained in this Agreement
are reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
interests in protecting their business. The Consultant further acknowledges that any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the for which the Company Company's remedy is binding arbitration as
defined in section 16 of "Employment Agreement The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement.

         5.      Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Consultant's employment.

         6.       Mandatory Disclosure. The Consultant shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Consultant in the course of his/her dealings with the Conipany, if he/she may lawfully required to do so.

         7.        Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Consultant's employment, the Consultant shall promptly deliver to the Company all written data containing, or reflecting any
inforthation about the Company, its shareholders, officers, directors, Consultants, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the COnsultant or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Consultant of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

         8.       Miscellaneous Provisions.

        a.       Notices. All notices, requests or other communications under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
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SCTViCt from within the United States by certified mail, postage prepaid and return receipt requested, or sent by telecopier, and
addressed to the location set forth in the preamble to this Agreement or 'to such other address or telecopier number as any party may
have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
Mails, delivered or transmitted via Telecopier.

        b.        Entire Agreement. This Agreement supercedes and is • in full substitution for any previous confidentiality,
nondisclosure, or noncompete agreement previously signed by the Consultant in contemplation of, or during his/her employment with
the Company.

          C.       Ant g_Liej
                        nn n . This Agreement shall be assignable by the Company without the prior written consent of the
Consultant
      •
        • d.       Acknowledgments. The Consultant acknowledges that he/she has been provided with a copy of this Agreement for
review prior to signing it, that the Company hereby encourage* the Consultant to have this Agreement reviewed by his/her own
attorney prior to signing it, that the Consultant has signed the Agreement of his/her own free will, and that the Consultant understands
the purposes and effects of this Agreement

        e.        Headings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
intended to describe, interpret, dame or limit the scope, extent or intent of this Agreement or any provision hereof.

         f.        Application of California Law. This Agreement, and the, application or interpretation thereof, shall be governed
exclusively by its terms and by the laws of the State of California and venue residing in San Joaquin County.

            S.      Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed an
original.

         h.      Arbitration. Any controversies arising out of the terms of this Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the rules of the American Arbitration Association, and the judgment upon award may be
entered in any court having jurisdiction thereof.

          i.        Waiver. The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed as a
waiver of any subsequent breach by the Consultant The refusal 'or failure of the CompanY to enforce the restrictive covenants
contained herein or contained in any other similar agreement against any other Consultant, agent, or independent contractor of the
Company, for any reason, shall not constitute a defense to the enforcement of this Agreement by the Company against the Consultant,
nor shall it give rise to any claim or cause of action by such Consultant against the Company.    •

         j..      Affiliate: The term "affiliate" when used in this Agreement shall mean any other person or entity that directly or
indirectly controls, or is under common control with, or is controlled by the specified person or entity herein, or if a person, any
member of the immediate family of such individual, or any entity formed on behalf of the Company and/or in which Michael R.
Llamas has ownership of any nature. As used in this definition, "control" shall mean possession, directly or indirectly, of power to
direct or cause the direction of management or policies and "immediate lentil? shall mean any parent, child, grandchild, spouse, or
sibling.

        k.        Company: The term "Company" as used herein, shall include the Company and any Affiliate of the Company, its
shareholders, consultants, officers, directors, and subsidiaries.
                                                                  •
            In witness whereof, the parties have hereunto executed this Agreement

                                                                Company

                                                                Red Dice Holdings, LLC.


                                                                    Print Name:



                                                                                           Cszi
                                                                Charles K. Smith
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                                  EXHIBIT D
                   DIXIE MEMBER INVENTORY TO BE TRANSFERRED




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                           Capital Invent°
    Az ir    eitibick55       , ,<*iz;VALP:OZ:Z          . , '                :‘.tu       VailaThgclik: 1 /2;
 Appliance                  Anvil food machine                                                   1
 Appliance                  Black & Decker food processor                                        1
 Appliance                  Coffee heater/dispensers                                            2
 Appliance                  Convection heater                                                   2
 Appliance                  Flash freezer                                                       1
 Appliance                  Freezers                                                            3
 Appliance                  Garland oven                                                        1
 Appliance                 GE Double range top burner                                           1
 Appliance                  Ice cream maker                                                     1
 Appliance                 Ice Machine                                                          1
 Appliance                 McCains Carbonator                                                   1
 Appliance                 Microwave                            . .                             2
 Appliance                 Minifrldge                                                           3
 Appliance                 Otis Spunkmeyer oven-                                                1
 Appliance                 Steamers (with trays).             .                              . 3
 Bottles and Caps          1 dram Clear Glass'Vial w/ Blk Cap         -                    0.5 Case
 Bottles and Caps          1/2 oz Doublewall Jar w/ Lid                               '        90
 Bottles and Caps          1/4 oz Doublewall Jar w/ Lid                                       170
 Bottles and Caps          12 oz Bottles                                                   2.3 Pallet
 Bottles and Caps          2 Dram Clear Jar                                                    80
 Bottles and Caps          2 oz Boston Round Green, Blue or Amber                          4.8 Case
 Bottles and Caps          2 oz Plastic Natural w/ Flipto0
Bottles and Caps          4 oz Plastic Natural W/ Fliptop                                 178.0 Pallet
                                                                                                       .
Bottles and Caps          Amber Bottles; 1 oz.                                             4.0 Case
Bottles and Caps          Caps for 2 oz Plastic Boston Rounds                                6000
Bottles and Caps          Clear Bottles, 1 oz.                                                Case
Bottles and Caps          Eye Droppers                                                      0.2 Box
Bottles and Caps          Oxygen Barrier Crown Caps (Gold)                                 1.0 Case
Bottles and Caps          Oxygen Barrier Crown Caps (Silver)              .                3.0 Case
Bottles and Caps          Shrink Wrap Sleeves (1.5 x 1)                                    0.7 Case
Bottles and Caps          Spritzers                                                           250
Boxes                     24 CELL BEER PARTITION                                              200
Boxes                     4-PaCks Boxes                                                    5.0 Case
Boxes                     Cases for 24 Elixir Bottles.                            •           900
Boxes                     Packing Boxes'(10x10x5)       • •.                                   5
Boxes                •    Packing Boxes (10x5x5)                                               5
Boxes                     Packing Boxes (10x8x6) .                                            15
Boxes                     Packing Boxes (12x8x6)                                              15
Boxes                     Packing Boxes (12x9x4)                                              15
Boxes                     Packing Boxes (16x10x6)                                             15
Boxes                     Packing Boxes (8 3/4x6 3/8x3 3/8).          -                       15
Colors                    Orange Color (3946)                                             0.8 Bottle
Colors                    Red Color                                                       0.1 Bottle
Colors                    Yellow color.                                                   0.8 Bottle
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                         Capital Invento
I   t bii-l'COe6W,.     ,,                    "':' _•,c, e   c.t           4   .   el(110Mitiriakfiala;
 Containers              1 dram amber vials                                                250
 Containers              1 dram eye droppers                                               340
Containers               1 dram vials with caps              .                            2000
Containers               1/2 gallon palstic jugs                                           35
Containers               8 oz jars                                                          20
Containers               Edibles packaging boxes                                          1200
Containers               Long eye droppers                                                 40
Cooking Supplies         Baking dishes                                                      2
Cooking Supplies        Baking gloves                                                       2
Cooking Supplies        Baking trays (Large)             .                                 18
Cooking Supplies        Baking trays (Med)                                                  3
Cooking Supplies        Baking trays (Small)                                                1
Cooking Supplies        Brownie trays       .                                              3
Cooking Supplies        Candy molds                                                        15
Cooking Supplies        Cooking pots                                                       5
Cooking Supplies        Cooking thermometers                                               3
Cooking Supplies        Cooling racks                                                      6
Cooking Supplies        Crock pots                                                         5
Cooking Supplies        Cutting board                                                      2
Cooking Supplies        Hot pads                                                            2
Cooking Supplies        Ladels •
Cooking Supplies        Large knives                                                       2
Cooking Supplies      • Measuring cups                                              •      8
Cooking Supplies        Measuring spoons                                                 2 sets
Cooking Supplies        Mixing bowls (plastic)                         '                   2
Cooking Supplies        Mixing bowls (steel)                                               7
Cooking Supplies        Muffin tray.                                                       1
Cooking Supplies        Pans
Cooking Supplies                                                                                     .
                        Pizza cutter                                                       1
Cooking Supplies        Rolling pin                                •
Cooking Supplies       Rubber grabbers                                                     2
Cooking Supplies       Scoops                                                              9
Cooking Supplies       Spatulas                                                            8
Cooking Supplies       Square metal baking trays                                           5
Cooking Supplies       Stockpots              .
Cooking Supplies       Tongs                                                                3
Cooking Supplies       Truffle molds                                                       25
Cooking Supplies       Wax paper-                                                           1
Cooking Supplies       Wisks                                                               10
Electrical             800 watt surge protector                                             1
Elixir                 Non-medicated elixirs                                            7 cases
Extraction             1/2 in dia hose                                                    5.5'
Extraction             1/2 in dia plastic tubing                                          3 ft
Extraction             10 ml syringe                                                       1
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 Extraction                      2 gallon white buckets                                                 5
 Extraction                      2L Erlenmeyer flask                             •                      2
 Extraction                      5 ml syringe                                                           3
 Extraction                      5-gallon exhaust containment vessel (styrofoam)                        1
 Extraction                      6 Qt ice holder pot                                                    1
 Extraction                      Alcatel 2204A Series vacuum pump                                       1
 Extraction                      Beakers (100 to 1000 ml)                                              10
 Extraction                      Beakers (2000 ml)                                                      5
 Extraction                      Bubble bags (20 gallon)                                             1 set
 Extraction                      Bubble bags (5 gallon) •                                            1 set
 Extraction                      Can filter                                .                            1
 Extraction                      Centering rings ,                     .                               2
 Extraction                     Ceramic pore filters                                                   2
 Extraction                                                                   .
                                Charcoal ccintainers .
 Extraction                     Coffee filters                               .                       200
 Extraction                     Counter weights                     •                                 3
 Extraction                     Exhaust container              -                                      1
Extraction                      Extraction cone
Extraction                      Flasks                                                                3
Extraction                      Funnel                                                                1
Extraction                      Lab Stand w/ 3-prong clamp & C-clamp •
Extraction                      Large distillation set-up
Extraction                      Medium ceramic pore filter
Extraction                      Microscope                                                           1
Extraction                      Neoprene gasket                  •                                   1
Extraction                      NWKF25 C-clamps                                                      4
Extraction                      NWKF25 fitting to hose-barb adapter                                  2
Extraction                      Press                                                                1
Extraction                      Pyrex dishes                                                         3
Extraction                      Razor blade handles                                                  2
Extraction                      Recovered solvent container                                          1
Extraction                      Scoopula                                                             1
Extraction                     Scraper                                                    •          4
Extraction                     Silicon scraper          .                                            1
Extraction                     Stainless steel top plate w/ brass needle valve                       1
Extraction                     Stir rods                                                             2
Extraction                     Styrofoam insulating covers
Extraction                     Teflon tape                                                         5 rolls
Extraction                     Vacuum lubricant                                                  1/2 bottle
Extraction                     Vacuum round bottom trap
Extraction                     Vacuum sealer          .                                                  .
Extraction                     Vacuum vessel holder                .
Extraction                     Vacuum vessel top plate C-clamp                                       1
Extraction                     Vacuum vessel w/ hose barb
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   Extraction                Viton 0-ring for top plate
   Extraction                Wash bottles                                                      2
  Flavors                    Dew Drop Flavor (Spearmint)                                  0.6 Bottle
  Flavors                    Dew Drop Flavor (Vanilla)                                    0.4 Bottle
  Flavors                    Dew Drop Flavor (Watermelon)                                 0.3 Bottle
  Flavors                    Flavor - Cherry (380266) '                                   0.9 Bottle
  Flavors                    Flavor - Coffee Extract (341934)                            0,9: Bottle
  Flavors                   Flavor - Lemon Lime (307938)                                 0.9 Bottle
  Flavors                   Flavor - Orange Tangerine (344876)                           0.9 Bottle .
  Flavors                   Flavor - Watermelon (337867)                                 0.9 Bottle
 Flavors                    Lemonade Concentrate                                           1.0 Cate
 Flavors                    Natural Red Hot Cinnamon 345468                              0.5 Bottle
 Flavors                    Sweet Tea Concentrate                                         4.0 Case
 Flavors                    Syrup, Blueberry                                               2.0 Box
 Flavors                    Syrup, Grapefruit                                              3.0 Box
 Flavors                    Syrup, Mandarin •                                              6,0 Box
 Flavors                    Syrup, Peach                                                   6.0 Box
 Flavors                    Syrup, Pomegranate                                             2.0 Box
 Flavors                    Syrup, Red Currant                                             4.0 Box
 Flavors                    Syrup, Sarsparilla                                             5.0 Box
 Flavors                    Vanilla Creme 345469                                         0.9 Bottle
 Flavors                   Vanilla Extract (Rodelle)                                 .   0.2 Bottle
 Furnishings                Baking racks .                                                    4
 Furnishings                Desk organizer                        .•
 Furnishings                File Cabinets                                                    2
 Furnishings                Locking cabinets                                                 4
                                                                .
 Furnishings                Metal rolling table (30x30)
 Furnishings               Metal rolling table (48x30) .
 Furnishings               Metal rolling table (90x30)               •
Furnishings                Plastic table let with four chairs                                  1
Furnishings                Rubber floor mats                                                  15
Furnishings                Waste baskets                                                       5
Furnishings                Water Coolers                                                       2
Furnishings                White boards                                                       3
Ice Cream                  Ice Cream cup-spoon-lid sets                                     2000
Ice Cream                  Ice cream supplies                                                 1
Ingredient - Botanicals    Bees Wax Pastilles.                                            .0.8 Bag
Ingredient - Botanicals    Bentonite (Clay)                                                1.5 Bag
Ingredient - Botanicals    Castor Oil                         .                          0.7 Drum
Ingredient - Botanicals    Cedarwood Himalayan India                                     1.0 Bottle
Ingredient - Botanicals    Cocoa Butter Waffers                            .               1.0 Bag
Ingredient - Botanicals    Epsom Salts (Fine) .                                            3.5 Box
Ingredient - Botanicals    Eucalyptus Oil                                                2.0 Bottle
Ingredient - Botanicals    Frankincense Olibanum Ethiopia                                0.3 Bottle
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     ••    611 tafdgeW-.71,                                                        'let   ..-Wailifitalt-taa...:
   Ingredient - Botanicals    Isopropyl Alcohol                                                 6.0 Bottle
   Ingredient - Botanicals    Lavender Hungary                                                  1.3 Bottle
   Ingredient - Botanicals    Lemon Oil                                                         0.8 Bottle
   Ingredient - Botanicals    Lobelia                                                            0.8 Pack
   Ingredient - Botanicals    Olive Oil Everyday Ex Virgin - #64755 Corto                       2.0 Bottle
   Ingredient - Botanicals    Rosemary Camphor Type                                             1.0 Bottle
   Ingredient - Botanicals    Scotch Pine Bulgaria                                              0.5 Bottle
   Ingredient-Botanicals      Sea Salt                                  '                         3.5 Box
  Ingredient - Edibles        Chocolate - French Vanilla Guittard 5640                           0.5 Case
  Ingredient - Edibles        Chocolate Chips (2000 et) Guittard                                 0.5 Box
  Ingredient - Edibles        Coating Chocolate - A Peels 5790c                                  0.5 Case
  Ingredient - Edibles        Cocoa Powder Gulttard Dutch Chocolate                              0.8 Bag
  Ingredient - Edibles        Confectioners Sugar (powdered)                                     0.9 Bag
  Ingredient - Edibles        Corn Syrup                                                        0.7 Case
  Ingredient - Edibles        Dry Powdered Milk (Organic•Valley)                                2.5 Case
  Ingredient - Edibles        Granulated Extra Fine Sugar -                                      5.0 Bag
  Ingredient - Edibles        Heavy Cream                                                       0.8 Case
 Ingredient - Edibles         Marshmellow (Mini Jet Puffed)                                      2.5 Bag
 Ingredient - Edibles         Rice Krispies                                                     1.0 Case
 Ingredient - Edibles        Silicon Dioxide                                                     0.5 Bag
 Ingredient - Edibles        Tapioca Syrup        '                                              0.8 Pail
 Ingredient - Edibles        Unsalted Butter                                                    0.9 Case •
 Ingredient - Edibles        Vegetable Oil                                                     0.5 Bottle
 Ingredients                 Grape flavoring                    .                               1 gallon
 Ingredients                 Lemon juice                                                        1 bottle
 ingredients                 Misc spices                                                          1 box
 Ingredients                 Mixed berry flavoring                                              1 gallon
 Ingredients                 Peanut butter                                                      1 bucket
 Ingredients - Misc          Agave Nectar                                                      0.4 Bottle
Ingredients - Misc           Caffeine       •                                                   1.0 Bag
Ingredients - Misc           Citric Acid                                                        0.5 Bag
Ingredients - Misc           Glycerin                                                          1.0 Drum
Ingredients - Misc           Hemp Oil (NUV 2100109)                                            2.0 Bottle
Ingredients - Misc           Potassium Glucarate                                               0.6 Drum
Ingredients - Misc         • Sodium Benzoate                                                    0.8 Bag
Ingredients - Misc           Sodium Bicarbonate                                                 1.5 Box
Ingredients - Misc           TIC Gums Beverage 500                                              0.5 Bag
Ingredients - Misc           Water                                                            10.0 Bottle
Ingredients - Scrips         Ashwangandha Root                                 .                1.0 Bag
Ingredients - Scrips         Capsules -'Aqua-Aqua - Size 0                                     04 Bag
Ingredients - Scrips         Capsules - Aqua-White - Size 0                                    1.2 Bag       '
Ingredients - Scrips         Capsules - Orange-White - Size 0                .                 1,2 Bag
Ingredients - Scrips         Conjugated Linoleic Acid                     ••                   0.6 Bag
Ingredients - Scrips         Eleuthero Root                   •                                1.0 Bag
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                          Capital Invent°

  Ingredients - Scrips     Hop Flour                                            1,0 Bag
  Ingredients-Strips       L-Theanine                          '                1.0 Bag
  Ingredients -Scrips      Rice Starch                                          1.0 Bag
  Ingredients - Scrips    Tumeric Powder                                        0.5 Bag
  Ingredients - Scrips    White Willow Bark                                     1.5 Bag
 Labels                    1-in Diameter Labels                                 2.0 Box
 Labels                   Bath Salts Labels (Medium)                             1125
 Labels                   Bath Salts Labels (Sample) ..                           520
 Labels                   Bath Salts Labels (Small)                              1000
 Labels                   Compliance Label -                               •   0.4 Case
 Labels                   Compliance Label (Large)                             0.8 Case
 Labels                   Dew Drop Labels, Watermelon (1 oz.)                    1000
 Labels                   Dew Drop Labels, Natural (1 oz.)                        500
 Labels                   Dew Drop Labels, Spearmint (1 oz.)                     1250
 Labels                   Dew Drop Labels, Vanilla                                500
 Labels                   Dixie Roll Label (Individual)                          3800
 Labels                   Edibles Crispy Treat Labels                             700
 Labels                   Edibles Dixie Roll Labels                               500
 Labels                   Edibles Fruit Lozenge Labels                            800
 Labels                   Edibles Ingredient Labels (3x4)        •             0.7 Case
 Labels       •           Edibles Truffles Labels                                300
Labels                    Elixir Labels - Lemonade '                             1200
Labels                    Elixir Labels - Sweet Tea                .             300
Labels                    Elixir Labels -Water (Mixed Berry)                     100
Labels                   Elixir Labels, Blueberry                                1700
Labels                   Elixir Labels, Grapefruit                               2750
Labels                   Elixir Labels, Mandarin                                 2378
Labels                   Elixir Labels, Peach                .                   2470
Labels                   Elixir Labels, 'Pomegranate                             1600.
Labels                   Elixir Labels, Red Currant                              1400
Labels                   Elixir Labels, Sarsparilla                              2378
Labels                   Label Ribbon (4ipx1345ft Sato 1R4085 Black)           4.0 Roll
Labels                   Massage Oil Labels 1 Pram                             0.4 Roll
Labels                   Massage Oil Labels 2 oz.                              0.4 Roll
Labels                   Massage Oil Labels 4 oz.                              0.7 Roll
Labels                   Pain Salve Labels .25 oz (Side)                       2.1 Roil
Labels                   Pain Salve Labels .25 oz (Top) '                      2.0 Rcill
Labels                   Pain Salve Labels .5 oz (Side)                        1.5 Roll
Labels                   Pain Salve Labels .5 oz (Top)                         0.8 Roll
Labels                   Pain Salve Labels 1.33 oz (Side)              .       1.6 Roll
Labels                   Pain Salve Labels 1.33 oz (Top)                       1.2 Roll
Labels                   Snake Oil Labels 1 oz.                                  400
Labels                   Snake Oil Labels 2 oz. •                               1300
Labels                   Tonic Label                                            2000
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                             Capital Inventory
  ,   - Rein CategOly -.;
 Misc                       1 oz sample cups                                          2000
 Misc                       2 oz. Sample Cups                                       0.8 Case
 Misc                       Air filter machines                                         2
 Misc                       Charcoal                                                 0.2 Box
 Misc                       CO2, Small Canisters                                       0.5
 Misc                       Delicate Garmet Bag (Ex. Large)                             8
 Misc                   .   Ethanol (Everclear)                                     0.4 Case
 Misc                       Ethanol (Pure Deantured                                 0.5 Case
 Misc                       Event banners                                               1
 Misc                       Filter Paper (9cm Fast)                                 1.0 Box
 Misc                       Filter Paper (9cm Slow)                                 1.0 Box
                            GLOVES - BLUE 3.5 MIL POWDER FREE NITRILE
Misc                        GLOBOX .           .                                    1.2 Case
Misc                        Large metal wagon                                           1
Misc                        Mason jars .                                                8
Misc                        Metal pails                      .                          5

 Misc                        New Wave Enviro Dairy Eastar Resin Bottle, 1-Gallon    2.0 Case
 Misc                        Pallet Jack                                                1
 Misc                        Pallets               .                                   10
 Mlsc                        Pan Coating                  .                            1.5'    -
 Misc           .            Party supplies                                         1 bin full
 Misc                        Plastic cups                                             1750
 Misc                        Plastic Wrap - 24 in                                   0.5 Box
Misc                         Propylene glycol                                      55 gallons
Misc                        Safety goggles
Misc                        Syringes, 30 ml                                          1.0 Box
Misc                        Syringes, 60 mi      '                                   2.0 Box
Misc                        Ziplock Bags (Large)                                     3.0 Box
Misc                        Ziplock Bags (Small)                                     4.0 Box
Packaging                   3x5 Heat Sealable Bags                                  30.0 Pack
Packaging                   4" x 6" LOPE-Plain Opened Bags 2 mil                   300.0 Pack
Packaging                   Bath Salts Bag (3 x 1.5 x 5)                            10.0 Pack
Packaging •                 Candy Jar for Dixie Rolls                                    6
Packaging                   Dixie Roll Bags (8"x12")                                    40
Packaging                   Dixie Rolls - Foil Wraps                                2.0 Pack
Packaging                   Edible Boxes                                            1.0 Case
Packaging                   Ice Cream Cups                  '                          Case
Packaging                   Massage Oil Information Cards                            0.3 Box
Packaging                   Pain Salve Information Cards               '             1.0 Box
Packaging                   Pleated Cellophane Bag (2.5 x 1.25 x 5)                 0.8 Case
Packaging                   Point of Sale Display Racks                             0.7 Case
Packaging                   Poly tube on a roll 4 in 2 MIL 2150 ft                   0.1 Roll
Packaging                   Scrips Information Cards                                 01 Box
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 Packaging                    Shrink Wrap for Large Pain Salves                           1.0 Pack
 Packaging                    Shrink Wrap for Small Pain Salves                          1.0 Pack
 Packaging                    Shrinkwraps for Large Massage Oil Bottles                  0.4 Pack
 Packaging                    Shrinkwraps for Small Massage Oil Bottles                  0.3 Pack
 Packaging                    White Fluted Baking Cup 11/4" x 7/8"                       0.5 Case
 Packing                      4-packs (plain)                                               250
 Packing                      6-packs (plain)                                                20
 Packing                      Bubble Wrap (1/2")                                          0.6 Roll
 Packing                      Bubble Wrap (1/4")                                          3.0 Roll
 Packing                      Packaging Tape                                              0.5 Box
 Packing                      Packing Peanuts              "                              1.0 Bag
 Packing                      Paper Bags (4 lb)                                           5.0 Bag
 Packing                      Sleeve bags (blue)                                   .        100
 R&D                          Emulsifying wax                                               5 lb
Safety                        Fire extinguisher                                              1
Scales                       Large digital scale                                             1
Storage                      12x12 Clear plastic carrying cases            •                 6
Storage                      Bins                                                           21
Storage                      Black kitchen storage bins                                      4
Storage                      Large white plastic storage tray          '                     4
Storage                      Metal storage trunk (Rubbermaid)                                1
Storage                      Storage racks                                                   4
Storage                      Tote (blue)
Utilities and Tools          300 capsule pill packers                                       2
Utilities and Tools          3-way extension cord (Heavy dutY)
Utilities and Tools          4-way faucet splitter                                          1
Utilities and Tools          Acasi filler                        .                          1
Utilities and Tools          Air compressor                                                 1
Utilities and Tools         Air compressor hoses                                            2
Utilities and Tools          Beverage tanks                              .                 la
Utilities and Tools          Bottle drying trees                                            3
Utilities and Tools         Bottle sanitizer                 •
Utilities and Tools         Bottling machine (APplied Bottling)                              1
Utilities and Tools         Buckets (5 gal)                                                 12
Utilities and Tools         Cappers                                                         .2
Utilities and Tools        Category 5 cable                    .                          I box
Utilities and Tools        Chiller                                                           1
Utilities and Tools        CO2 regulator
Utilities and Tools        CO2 tanks                                                        3
Utilities and Tools        Coffee grinder -                                                 2
Utilities and Tools        Doilies                                                          2
Utilities and Tools        Drink dispensing buckets                                         6
Utilities and Tools        Drink dispensing hoses                                           5
Utilities and Tools        Glass pill tampers                                               2
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 Utilities and Tools    Hash maker                                                             1
 Utilities and Tools    Heat sealers .         .
 Utilities and Tools    Ice scoop (1/2 cup)                                                  1
 Utilities and Tools   Immersion blender                                                     2
 Utilities and Tools    Ninja blender •                                                      2
 Utilities and Tools   Paper cutter                                                          1
 Utilities and Tools   Pipe cleaner brush                                                    1
'Utilities and Tools   Power drill •                                                         1
Utilities and Tools    Riobi skill saw                                                       1
Utilities and Tools    Rolling carts
Utilities and Tools    Rubber hoses                                       .                  3
Utilities and Tools    Scale (large A/C) ,                       ..
Utilities and Tools    Scales (small battery powered)   .                                    3
Utilities and Tools    Storage tank,
Utilities and Tools    Syrup dispensing hose                                                 1
Utilities and Tools    Tool box full of tools
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                                              Dixie Intellectual Property Exhibit                          .




Item #                        Property                                Category                                      Location of Property
  1       Bath Salts                                                   Botanical                               . Dixie Recipe & COGS Manual
  2       massage Oil                                                  Botanical                                 Dixie Recipe & COGS Manual
  3       Pain Salve                                                   Botanical                                 Dixie Recipe & COGS Manual
  4       Snake Oil                                                    Botanical                       '         Dixie Recipe & COGS Manual
  5       Chocolate Truffles                                            Edible                                   Dixie Recipe & COGS Manual
  6       Crispy Rice Treats                                            Edible                                   Dixie Recipe & COGS Manual
  7       Dixie Rolls                                                   Edible                                   Dixie Recipe & COGS Manual
  8       Lozenges (Café Flavors)                                       Edible                                   Dixie Recipe & COGS Manual
  9       Lozenges (Fruit Flavored)                                     Edible                                   Dixie Recipe & COGS Manual
  10      Blueberry Elixir (40 mg)                                     Elixir 40 •                               Dixie Recipe & COGS Manual
  11      Grapefruit Elixir (40 mg)                                    Elixir 40                                 Dixie Recipe & COGS Manual
  12      Lemonade Elixir                                              Elixir 40                                 Dixie Recipe & COGS Manual
  13      Mandarin Elixir (40 mg)                                    - Elixir 40                                 Dixie Recipe & COGS Manual
  14      Mixed Berry Water                                            Elixir 40                                 Dixie Recipe & COGS Manual
  1S      Peach Elixir (40 mg)                                         Elixir 40                                 Dixie Recipe & COGS Manual
  16      Pomegranite Elixir (40 mg)                                   Elixir 40                                 Dixie Recipe & COGS Manual
  17      Red Currant Elixir (40 mg)      .                            Elixir 40                                 Dixie Recipe & COGS Manual
  18      Sarspadlla Elixir (40 mg)                                    Elixir 40                           ' Dixie Recipe & COGS Manual
  19      Sweet Tea Elixir                                             Elixir 40                                 Dixie Recipe & COGS Manual
  20      Blueberry Elixir (75 mg)                                   • Elixir 75                   .             Dixie Recipe & COGS Manual
 21       Grapefruit Elixir (75 mg)                                    Elixir 75                                Dixie Recipe & COGS Manual
 22       Mandarin Elixir (75 Mg)                                      Elixir 75                                 Dixie Recipe & COGS Manual
 83       Peach Elixir (75 mg)                                         Elixir 75                                Dixre Recipe & COGS Manual
 24       Pomegranite Elixir (75 mg)                                   Elixir 75       •                        Dixie Recipe & COGS Manual
 25       Red Currant Elixir (75 mg)                                   Elixir 75                                Dixie Recipe & COGS Manual
 26       Sarsparilla Elixir (75 mg)                                   Elixir 75           .                    Dixie Recipe & COGS Manual
 27       Cannabis Isopropyl Extract                                  Ingredient                               • Dixie Production Database
 28       Cannabis Olive Oil                                          Ingredient                                  Dixie Production Database
 29       Essential Oil Blend (Massage)                               Ingredient                                  Dixie Production Database
                                                       .
 30       Essential Oil Blend (Salve and Bath Salts)                  Ingredient                                  Dixie Production Database
 31       Essential Oil Blend (Snake Oil)                             Ingredient                                  Dixie Production Database
 32       Lobelia Extract                                             Ingredient .                     •          Dixie Production Database
 33       Lobelia Extract (Reduced)                                   ingredient                                  Dixie Production Database
 34       Lobelia Olive 011                                           Ingredient                       '          Dixie Production Database
 35       Tonic Chemical Mixture                                .     Ingredient                                  Dixie Production Database
 36       Scrips - Focus Formula                                        Scrips                                  Dixie Recipe & COGS Manual
 37       Scdps - Pain Formula                                          Scrips                                  Dixie Recipe & COGS Manual
 38       Scdps - Sleep Formula                                         Scrips     •                            Dixie Recipe & COGS Manual
 39       Hash Extract-Glass                                        Smoking Grade                               Dixie Recipe & COGS Manual
 40       Dew Drops - Natural                                         Tincture                                  Dixie Recipe & COGS Manual
 41       Dew Drops - Spearmint                                      . Tincture                                 Dixie Recipe & COGS Manual
 42       Dew Drops - Vanilla                                          Tincture                                 Dixie Recipe & COGS Manual
 43       Dew Drops - Watermelon                            •         Tincture                                  Dixie Recipe & COGS Manual
 44       Tonic - Mandarin                                              Tonic                  .                Dixie Recipe & COGS Manual
 45       Dixie Proprietary Marks & Logos                             Marketing                                     Marketing Database
 46       Website: www.dixieelkirs.com                                Marketing                            • Marketing Database/Hosting
 47       Dixie related web domains                                   Marketing                                 Marketing Database/Hosting
 48         - dixtetinctures.com
 49         - dixiebotanicals.com
 SO         - dixtescripts.com .
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                                  EXHIBIT E
             EXCLUSIVE LICENSING AGREEMENT WITH LEFT BANK, LLC




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                                   EXHIBIT F
       ICEBER EMPLOYMENT CONTRACT; SMITH CONSULTING AGREEMENT




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                                             EMPLOYMENT AGREEME

THIS EMPLOYMENT AGREEMENT (the "Agreement") is made this 5 day of April 2012 (the "Effective
Date"), by RED DICE HOLDINGS, LLC, (the "Company"), and VINtENT M. ICEBER, III, a Colorado
resident ("Executive") (the foregoing collectively, the "Parties" and each a "Party").

                                                    RECITALS

        WHEREAS, On or about April            2012, the Company retained Executive to serve on a full time basis
as a senior officer in the capacity of President; and

       WHEREAS, The Parties wish to memorialize formally the material terms and conditions applicable to
Executive's employment position with the Company.

        WHEREFORE, In furtherance of the foregoing events and objectives, and with full acknowledgement of
and intent to be bound by the terms hereof, the Parties agree as follows:

                                                  WITNESSETH

1.      Integration. The Parties expressly incorporate the foregoing Recitals as material terms of this
Agreement, reflecting not only their intent and objectives but also the consideration to be exchanged by the
Parties hereunder.

2.      Employment; Nature of Relationship; Term. The Company hereby affirms its employment of
Executive, and Executive hereby affirms his acceptance of employment from and for the Company, upon the
terms and conditions of this Agreement. The Parties expressly acknowledge that the relationship between them
is and shall be that of employer-Executive for a period of one (1) year from the Effective Date (the "Initial
Term"), provided, however, that the period of the Executive's employment pursuant to this Agreement shall be
automatically extended for successive one-year periods thereafter (each, a "Renewal Term"), in each case
Unless either Party hereto provides the other Party hereto with written notice that such period shall not be so
extended at least 90 days in advance of the expiration of the Initial Term or the then-current Renewal Term, as
applicable (the Initial Term and any Renewal Term, collectively, the "Term").

3.      Scope and Extent of Employment Duties. Executive shall serve as the Company's President.
Executive shall devote his time and attention to the Company's business on a full time basis. Executive may
engage in any directorship, consulting project, or other active business engagements during the term of this
Agreement, regardless of whether such activity is pursued for gain, profit or nonprofit; provided, however, such
activities do not materially interfere with Executive's duties as President. Executive may invest his assets,
however, in other companies or ventures, provided that same does not require Executive's services in the
operation of their affairs, and provided further that such companies or ventures (except for Left Bank, LLC) do
not compete either directly or indirectly with the Company, its affiliates and/or assigns.

     3.1         Roles and Responsibilities: Some of the Executive responsibilities include, but is not limited to,
                 the following:

                 OVERVIEW: To insure the profitable growth and mission of the Company is obtained to the best
                 of Executive's ability. The Executive must conduct himself in a professional manner at all times.
                 Executive will also be appointed as the manager of the Company and will assume the
                 responsibilities set forth in the Company's operating agreement. To oversee all existing and future
                 product development.

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                Operations: Oversee the day to day operations of the Company. Ensure that the goals of the
                Company are implemented as directed by the Management Committee (as defined in the
                Company's operating agreement). Continually keep abreast of the industry and potential new
                product acquisitions for the Company. Present all potential new products to the Management
                Committee along with requisite financials showing potential impact on the Company.

                Marketing: Manage all of the marketing activities of the Company and ensure that said activities
                are within the Company approved budgets and as approved by the Company.

                Communication with facility and Management Committee: Will be responsible for keeping the
                Management Committee informed of impoi-tant issues in Company. Prepare budgets and/or reports
                for the Management Committee as to each existing and new approved product.

                Recruiting/Staffing: Work with management and other employees to source, screen and hire
                personnel. To recruit, select, train and monitor experienced qualified employees as needed.
                Executive shall consult with officers and managers on matters of employee retaliations, salary
                administration, terminations and employee grievances.

                Employee Relations: Responsible for maintaining a positive, productive and safe workplace.
                Ability to connect with employees at all levels to create and maintain an open door environment
                that identifies issues early and allows management to address them. Will partner with the
                Management Committee to handle all performance management issues and for ensuring effective
                communication and adherence to corporate policies. Maintains a high degree of integrity and
                honesty in all business and personal affairs.

                Safety Programs: Develop, monitor , and review company safety programs. Ensure timely
                meetings addressing safety concerns and training.

                Objectives: Participate in the development and enhancement of corporate objectives, rewards
                philosophies, and strategic planning in relation to staffing and trends in human resource
                management. Participate in and promote a team environment by working with management to
                accomplish corporate responsibilities and objectives. Continually monitor all aspects to improve
                workflow and production. Ensure that proper constructing and operations reports are prepared and
                communicated between departments and the Management Committee in a timely-manner. Develops
                long range as well as short range overall plans for the company with regard to volume and type of
                work desired, quality of work desired; future growth, etc. Responsible for the integration of all the
                above into an organized controlled Smooth flowing system.

                Additional Responsibilities: May be assigned by the Management Committee at any time, set forth
                in writing and provided to Executive.

4.     Compensation. The Company shall pay Executive the following compensation for all services rendered
hereunder:

         (A) Base Compensation. The Company shall pay Executive One Hundred Seventy Thousand US
               Dollars ($170,000.00) per year which shall commence upon the Company's receipt of funding,
               and will be payable according to the Company's customary payroll practices.



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          (B)    Bonus. There are no bonus' provided to Executive unless agreed to in writing by the
                 Management Committee.

          (C)    Equity Grants. There are no Grants provided to Executive unless agreed to in writing by the
                 Management Committee.

          (D)    Participation in Employee Benefit Plans. Except as expressly modified by this Agreement, the
                 Executive shall be entitled to participate in all employee benefit plans or programs, and to
                 receive all benefits, perquisites and emoluments, which are approved by the Management
                 Committee and are generally made available by the Company to executive-level employees of
                 the Company, to the extent permissible under the general terms and provisions of such plans or
                 programs and in accordance with the provisions thereof.

          (E)    Employment Taxes. All payments to Executive shall constitute wages and, as such, shall be
                 subject to the withholding and remission of federal employment taxes, California unemployment
                 compensation taxes, and all other applicable taxes.

5.     Expenses. The Company shall reimburse Executive for all reasonable out-of-pocket expenses
Executive incurred during the Term in connection with the performance of Executive's duties and obligations
under this Agreement, according to the Company's reimbursement policies in effect from time to time and
provided that Executive shall submit documentation which. the COmpany deems reasonable with respect to such
expenses.

6.        Non-Disclosure of Information and Restrictive Covenant. [See Exhibit          l

7.      Assignment. The Executive acknowledges that his services are unique and personal. Accordingly, the
Executive may not assign his rights or delegate his duties or obligations under this Agreement. The Company's
rights and obligations under this Agreement shall inure to the benefit of, and shall be binding upon, the
Company's successors and assigns.

8.      Notices. All notices, elections, offers, acceptances, and other communications hereunder shall be in
writing and shall be delivered in person with written, acknowledgment by the recipient of such delivery; by
facsimile/telecopy with confirmation; by overnight delivery service with receipt and tracking number; or by
United States Mail by way of certified or registered mail, return receipt requested, to the address provided by
each Member to the Company or to the Company at its principal business address. A notice, election, offer,
acceptance, or other communication shall be deemed to be received: (A) if by personal delivery, on the date
delivered with written acknowledgment by the recipient of such delivery; (B) if by facsimile/telecopy, on the
date confirmed by receipt / statement of the transmitting machine; (C) if by overnight delivery service, on the
date delivered; and (D) if by United States Mail, on the date delivered with written acknowledgment on the
return receipt.

9.      Entire Agreement; Amendment; Severabilitv; Headings; Gender References. This Agreement,
constitutes the entire understanding of the Parties hereto, explicitly superseding the confirmatory letter
previously signed by the Parties and referenced in the Recitals above. No modifications, amendments, or other
statements to this Agreement shall be binding on the Parties unless executed in writing and signed by the Party
to be bound by such instrument.

    If any provision of this Agreement is held invalid or unenforceable, such invalidity or unenforceability shall
not affect the other provisions of this Agreement and, to. that extent, the provisions of this Agreement are
intended to be and shall be deemed to be severable.

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   Headings in this contract are for convenience and reference only and shall not be used to interpret or
construe provisions hereunder. All references in this Agreement shall be gender neutral, such that the
masculine shall include the feminine and vice versa, and neutral references shall encompass both. Where
applicable, the singular shall include the plural and vice versa.

10.    Non-Waiver. No delay or failure by either Party to exercise any right hereunder, and no partial or
single exercise of such right, shall constitute a waiver of that or any other right, unless otherwise expressly
provided herein.

11.     Binding Agreement This Agreement shall bind the executors, administrators, representatives, estates,
heirs, beneficiaries, and other successors of the Parties.

12.    Governing Law; Legal Fees. California law shall govern this Agreement and all questions arising
hereunder. Each Party hereto expressly and irrevocably waives trial by jury in any suit, action, or proceeding in
relation to this Agreement. In any suit, action, or proceeding to enforce, interpret, or challenge the
enforceability of this Agreement, the prevailing Party in such suit, action, or proceeding shall be entitled to its
reasonable attorneys' fees'and all other costs of arbitration or other action, through all authorized appeals.

13.    Execution. This Agreement may be executed in counterparts, and faxed signatures of this Agreement
shall constitute an original instrument qualified for admission into evidence in any court or administrative
proceeding, through all authorized appeals.

 14.    Indenmification. If the Executive is made a party, or is threatened to be made a party, to any suit or
proceeding, whether civil, criminal, administrative, investigative, appellate or other by reason of the fact that he
is or was a director, officer, employee, agent, manager, consultant or representative of the Company or any of
its subsidiaries or is or was serving at the request of the Company or any of its subsidiaries, or in connection
with her service hereunder, as a director, officer, member, employee, agent, manager, consultant or
representative of any other entity; or if any claim is made, or is.threatened to be made, that arises out of or
relates to the Executive's service in any of the foregoing capacities, then the Executive shall promptly be
indemnified and held harmless, and shall be entitled to prompt advancement of expenses, including without
limitation attorneys' fees and other charges of counsel, in each case, to the fullest extent provided under
applicable law, the Company's Operating Agreement, and the Company's officers' and directors' liability
insurance policies. The Company may obtain a directors and officers liability insurance policy covering
Executive and to continue and maintain such policy. The amount of coverage shall be reasonable in relation to
Executive's position and responsibilitieS during the Term provided that the cost and availability of such
insurance is reasonable within the marketplace.
15.     Termination.

       (a)     Events of Termination. This Agreement and Executive's employment hereunder shall terminate
upon the occurrence of any one or more of the following events:

                        i. Death. In the event of Executive's death, this Agreement and Executive's
                           employment hereunder shall automatically terminate effective as of the date and time
                           of death.

                       ii. Disability. To the extent permitted by law, in the event of Executive's medically
                           determined physical or mental disability that renders Executive substantially unable
                           to perform Executive's material duties under this Agreement for a period of at least
                           90 consecutive days in any 12-month period or 120 non-consecutive days in any 12-
                           month period, and which cannot be reasonably accommodated by the Company
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                          without undue hardship ("Disability"), the Company may terminate this Agreement
                          and Executive's employment hereunder upon at least 30 days' prior written notice to
                          Executive. Any question as to the existence of the Disability of Executive as to
                          which Executive and Company cannot agree shall be determined in writing by a
                          qualified independent physician as appointed by Company and Executive (or
                          Executive's representative). The determination of Disability made in writing to
                          Company and Executive shall be final and conclusive for all purposes of this
                          Agreement.

                           Termination by the Company for Cause.

                              1. The Company may, at its option, terminate this Agreement and Executive's
                                 employment hereunder for Cause (as defined herein) upon giving notice of
                                 termination to Executive (following the expiration of the applicable cure
                                 period, if any) which notice specifies that the Company deems such
                                 termination to be for "Cause" hereunder and specifies in reasonable detail the
                                 grounds or circumstances for such "Cause". Executive's employment shall
                                 terminate on the date on which such notice shall be given, unless Executive
                                 cures such deficiency resulting in the Company terminating Executive for
                                 Cause as provided herein.       •

                              2. For purposes hereof, "Cause" shall mean ExeCutive's (a) conviction of, guilty
                                 or nob o contendere plea to,' or confession of guilt to, .a felony or act involving
                                 moral turpitude, (b) willful misconduct or gross negligence which is
                                 materially injurious (monetarily or otherwise) and would reasonably be
                                 expected to cause actual harm to the Company in the reasonable discretion of
                                 the Management Committee after a written notice and a 14 day opportunity to
                                 cure, (c) material violation of the Company's policies or procedures in effect
                                 from time to lime which would reasonably be expected to cause actual harm
                                 to the Company after a written notice and a 14 day opportunity to cure, or (d)
                                 failure in any material respect to perform Executive's duties as reasonably
                                 assigned to Executive by the Management Committee from time to time and
                                 consistent with Executive's title and position after a written notice and a 30
                                 day opportunity to cure. Notwithstanding the foregoing, Executive shall be
                                 given a reasonable opportunity during any applicable cure period, for
                                 Executive together with counsel, to be heard before the Management
                                 Committee and if such hearing occurs, a second written notice from the
                                 Company stating that, in the good faith judgment of the Management
                                 Committee, Executive was guilty of the conduct giving rise to termination for
                                 Cause.

                      iv. Without Cause by the Company. The Company may, at its option, at any time
                          terminate Executive's employment for no reason or for any reason whatsoever (other
                          than for Cause or due to death or Disability). Executive shall be entitled to Severance
                          only in the event of termination without cause and shall consist of eighteen months of
                          the Executive's then-current Base Salary. All Severance Payments shall be payable
                          in accordance with the Company's customary payroll practices.

                      v. Termination By Executive. Executive may terminate this Agreement and Executive's
                         employment hereunder at any time with or without Good Reason upon at least 30

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                         days written notice to the Company. For purposes of this Agreement, "Good Reason"
                         shall mean, in the absence of a written consent of the Executive:

                            1. a reduction in the Executive's Base Salary by 10% or more and such reduction
                               is neither company-wide nor applicable to all senior executives of the
                               Company;
                            2. any action by the Company which results in a material diminution in
                               Executive's title, position, authority or duties from those set forth in this
                               Agreement;
                            3. any failure by the Company to comply with any provision of this Agreement
                               (other than an isolated, insubstantial or inadvertent failure which is promptly
                               remedied after notice to the Company) including, but not limited to, the failure
                               of the Company to pay any portion of Executive's current compensation;
                            4. material breach by the Company of Company's Operating Agreement if such
                               breach would materially prejudice Executive;
                            5. a Change of Control (as defined below) that occurs without Executive's
                               written consent;
                            6. the relocation of the Company's headquarters to a location greater than 50
                               miles from the Company's current location without Executive's written
                               consent; or
                            7. company fails to obtain a written agreement from any successor of Company
                               to assume and perform this Agreement; and within 90 days of learning of the
                               occurrence of any such event and in the absence of any circumstance that
                               constitutes Cause, Executive terminates employment with Company by a
                               written notice specifying in reasonable detail the facts constituting Good
                               Reason.

                     "Change of Control" shall be deemed to have occurred upon the earliest to occur of any
                     of the following events, each of which shall be determined independently of the others:

                     (1) a natural person, partnership (whether general or limited), limited liability company,
                         joint venture, trust, estate, association, corporation, government or any department or
                         agency thereof, custodian, nominee or any other individual or entity in its own or any
                         representative capacity (collectively referred to herein as "Person") (together with any
                         affiliates of such Person) is or becomes the beneficial owner, directly or indirectly, of
                         voting interests of Company . entitling such Person to exercise fifty percent (50%) or
                         more of the total voting power of such voting interests;

                     (2) shareholders of Company adopt a plan of complete or substantial liquidation or an
                         agreement providing for the distribution of all or substantially all of its assets; or

                     (3) there has occurred a "Change of Control," as such term (or any term of like import) is
                         defined in any of the following documents which is in effect with respect to Company
                         at the time in question: any note, evidence of indebtedness or agreement to lend
                         funds to Company, any option, incentive or employee benefit plan of Company or
                         any employment, severance, termination or similar agreement with any person who is
                         then an employee of Company.

                     vi. Mutual Agreement. This Agreement and Executive's employment hereunder may be
                         terminated at any time, with or without notice, by the mutual agreement of the
                         Company and Executive.
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                      vii. Morality Clause. Executive may be terminated immediately upon any serious act of
                           misconduct by Executive, including, but not limited to, an act of dishonesty, theft or
                           misappropriation of Company Property, moral turpitude, insubordination, or any act
                            injuring abusing or endangering others or negatively impacting the image and
                            reputation of the Company. In the event of termination under the Morality Clause,
                            the Executive shall not be entitled to any Severance and shall be paid up to the date of
                            termination with no further obligations being owed by the Company.

          (b)    The Company's Obligations Upon Termination.

                        i. For Cause; Termination by Executive Other Than For Good Reason. If the Company
                           shall terminate this Agreement and Executive's employment hereunder for Cause or
                           if the Executive shall terminate this Agreement and Executive's employment
                           hereunder other than for Good Reason, the Company's sole obligation to Executive
                           under this Agreement or otherwise shall be for the Company to (i) pay to Executive
                           the amount of any Base Salary earned, but not yet paid to Executive, prior to the
                           effective date of such termination (the "Termination Date"); (fi) to the extent not
                           previously reimbursed, reimburse Executive for any expenses incurred by Executive
                           through the Termination Date in accordance with Section 4.7; and (iii) pay and/or
                           provide any other amounts or benefits that are vested amounts or vested benefits or
                           that Executive is otherwise entitled to receive under any plan, program, policy or
                           practice (with. the exception of those, if  relating to severance) on the Termination
                           Date in accordance With such plan, program, policy or practice; (clauses (i) through
                           (iii) above, the "Accrued Obligations!).

                       ii. Without Cause; for Good Reason. g during the Term, the Company shall terminate
                           this Agreement and Executive's employment hereunder without Cause and other than
                           due to death or Disability or Executive terminates this Agreement and Executive's
                           employment hereunder for Good Reason, the Company shall (i) pay and/or provide to
                           Executive the Accrued Obligations in accordance with Section 15(b)(i) above, (ii) pay
                           to Executive the Severance Payments, (iii) pay to the Executive all Bonus earned but
                           not yet paid and (iv) the Company shall release the Executive from the covenants
                           contained in the Non-Disclosure of Information and Restrictive Covenant.

                       iii. Mutual Agreement. Upon any termination of this Agreement and the Executive's               •



                            employment hereunder by mutual agreement of the Company and Executive, unless
                            otherwise mutually agreed to, the Company's sole obligation to Executive under this
                            Agreement or otherwise shall be for the Company to (i) pay and/or provide to
                            Executive the Accrued Obligations in accordance with Section 15(b)(i) above; and
                            (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                            recognized during the current fiscal year and including such Termination Date.

                       iv. Death. If this Agreement and Executive's employment hereunder shall terminate as a
                           result of Executive's death, the Company's sole obligation to Executive under this
                           Agreement or otherwise shall be for the Company to (i) pay and/or provide to
                           Executive the Accrued Obligations in accordance with Section 15(b)(i) above; and
                           (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                           recognized during the current fiscal year and including such Termination Date.

                       v. Disability. If this Agreement and Executive's employrfient hereunder shall terminate
                          as a result of the Executive's Disability, the Company's sole obligation to Executive
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                         under this Agreement or othenOise shall.be for the Company to (i) pay and/or provide
                         to Executive the Accrued Obligations in accordance with Section 15(b)(i) above; and
                         (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                         recognized during the current fiscal year and including such Termination Date.

                    vi. Vested Benefits. In addition to•the payments and benefits set forth in this Section,
                        amounts which are vested benefits or which are subject to acceleration or which
                        Executive is otherwise entitled to receive under any plan, program, policy or practice
                        (with the exception of those relating to severance) on the date of termination, shall he
                        payable in accordance with such plan, policy, practice or agreement.


      IN WITNESS WHEREOF, the Parties acknowledge and agree to the terms of this Employment
Agreement and have hereunto set their hands and seals as of the date first written above.

COMPANY:
Red Dice Holdings, LLC



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As Its: 1114,_




EXECUTIVE:


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                                             CONSULTING AGREEMENT

THIS CONSULTING AGREEMENT (the "Agreement') is made this C day of April 2012 (the "Effective
Date"), by RED DICE HOLDINGS, LLC, (the "Company"), and CHARLES K. SMITH, an Alabama resident
("Consultant") (the foregoing collectively, the "Parties" and each a "Party").

                                                  RECITALS '

        WHEREAS, On or about April          2012, the Company retained Executive to serve as a senior officer
in the capacity of Chief Operating Officer; and

       WHEREAS, The Parties wish to memorialize formally the material terms and conditions applicable to
Consultant's consulting position with the Company.

        WHEREFORE, In furtherance of the foregoing events and objectives, and with full acknowledgement of
and intent to be bound by the terms hereof, the Parties agree as follows:

                                               WITNESSETH

1.      Intearation. The Parties expressly incorporate the foregoing Recitals as material terms of this
Agreement, reflecting not only their intent and objectives but also the consideration to be exchanged by the
Parties hereunder.

2.      Employment; Nature of Relationship; Term. Upon written approval of the Management Committee,
the Company may retain the employment of Consultant's consulting services based upon the terms and
conditions stated herein.

3.       Scope and Extent of Employment Duties. 'Consultant shall serve as the Company's Chief Operating
Officer. Consultant shall devote his time and attention to the Company's business as directed by the President
of the Company. Consultant may engage in any directorship, consulting project, or other active business
engagements, including employment in another business owned by .Consultant, during the term of this
Agreement, regardless of whether such activity is pursued for gain, profit or nonprofit; provided, however, such
activities do not materially interfere with Consultant's duties as Chief Operating Officer. Consultant may invest
his assets, however, in other non-affiliated companies Or ventures, provided that same does not require
Consultant's services in the operation of their affairs, and provided further that such companies or ventures
(except for Left Bank, LLC) do not compete either directly or indirectly with the Company, its affiliates and/or
assigns.

    3.1        Roles and Responsibilities:    Some of the Consultant responsibilities shall include, but is not
               limited to, the following:

               OVERVIEW: To insure the profitable growth and mission of the Company is obtained to the best
               of Consultant's ability. The Consultant must conduct himself in a professional manner at all times.
               Consultant will report to the President and provide operational and administrative guidance and
               oversight to the Company, as well as work on specific projects such as acquisitions and strategic
               planning.

               Finance/Accounting/Legal Oversight: Develop and monitor Company budgets and ensure
               monthly monitoring for variances and compliance. Maintains good current understanding of
               accounting and other business practices. Assess the current financial structure of the corporations
               and develop ideas for improvement. Oversees cost control of the new product implementation. To
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                 conduct monthly corporate performance meetings for each facility to include a review of financial
                 statements, business plans and related matters. Generate action plans as needed. Responsible for
                 working with the appropriate Consultants. and departments to ensure timely and accurate
                 accounting, budgeting and financial reporting. This will include monthly operating reports as well
                 as quarterly and yearly financial reports. Will also work closely with Company legal staff and
                 outside counsel on contract negotiations, compliance issues, filings and other pertinent legal
                 matters.

                 Acquisitions: Work with the President and Management Committee to identify and analyze
                 potential investment and acquisition candidates for the Company. Develop pro forma models, cost
                 justification analysis and pricing models to determine cost of acquisition and purchase parameters.
                 Will take the lead with other Consultants in negotiating the acquisition. Will oversee the
                 contractual/legal negotiations, working closely with the Company legal counsel.

                 Integration: Will develop post acquisition integration plans to successfully bring the newly
                 acquired company or investment into Company operations, ensuring a smooth integration of
                 personnel, marketing, product manufacturing, accounting and operations within agreed upon budget
                 and timing parameters.

                 Objectives: Assist President in the development and enhancement of corporate objectives, rewards
                 philosophies, and strategic planning in relation to staffing and trends in human resource
                 management. Participate in and promote a team environment by working with management to
                 accomplish corporate responsibilities and objectives. Continually monitor all aspects to improve
                 workflow and production. Ensure that proper constructing and operations reports are prepared and
                 communicated between departments and the Management Committee in a timely-manner. Develops
                 long range as well as short range overall plans for the company with regard to volume and type of
                 work desired, quality of work desired, future growth, etc. Responsible, with the President, for the
                 integration of all the above into an organized controlled smooth flowing system.

                 Additional Responsibilities: May be assigned by the Management Committee at any time, set
                 forth in writing and provided to Consultant.

4.     Compensation. The Company shall pay Consultant the following compensation for all services
rendered hereunder:

          (A) Base Compensation. Shall be determined upon Management Committee written approval,
                which shall be agreed upon with Consultant no later than six (6) months from the date of the
                Execution of this Agreement




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          (B)        Employment Taxes and Benefits.            Consultant agrees as an independent contractor that
                     Consultant is not entitled to unemployment insurance benefits OR workers' compensation
                     benefits, and that Consultant is obligated to pay federal and state income tax on any money paid
                     pursuant to the contract relationship. Consultant understands that Company shall not provide
                     any employment benefits to Consultant, including vacation pay, sick leave, rettement benefits,
                     health or disability benefits AND social security AND Consultant benefits of any kind.

5.     Expenses. The Company shall reimburse Consultant for all reasonable out-of-pocket expenses
Consultant incurred during the Term in connection with the performance of Consultant's duties and obligations
under this Agreement, according to the Company's reimbursement policies in effect from time to time and
provided that Consultant shall submit documentation which the Company deems reasonable with respect to
such expenses.

6.        Non-Disclosure of Information and Restrictive Covenant [See Exhibit               1

7.      Assignment. The Consultant acknowledges that his services are unique and personal. Accordingly, the
Consultant may not assign his rights or delegate his duties or obligations under this Agreement. The Company's
rights and obligations under this Agreement shall inure to the benefit of, and shall be binding upon, the
Company's successors and assigns.

8.      Notices. All notices, elections, offers, acceptances, and other communications hereunder shall be in
writing and shall be delivered in person with written acknowledgment by the recipient of such delivery; by
facsimile/telecopy with confirmation; by overnight delivery service with receipt and tracking number; or by
United States Mail by way of certified or registered mail, return receipt requested, to the address provided by
each Member to the Company or to the Company at its principal business address. A notice, election, offer,
acceptance, or other communication shall be deemed to be received: (A) if by personal delivery, on the date
delivered with written acknowledgment by the recipient of such delivery; (B) if by facsimile/telecopy, on the
date confirmed by receipt / statement of the transmitting Machine; (C) if by overnight delivery service, on the
date delivered; and (D) if by United States Mail, on the date delivered with written acknowledgment on the
return receipt.

9.      Entire Agreement; Amendment; Severabilitv; Headings; Gender References. This Agreement,
constitutes the entire understanding of the Parties hereto, explicitly superseding the confirmatory letter
previously signed by the Parties and referenced in the Recitals above. No modifications, amendments, or other
statements to this Agreement shall be binding on the Parties unless executed in writing and signed by the Party
to be bound by such instrument.

    If any provision of this Agreement is held invalid or unenforceable, such invalidity or unenforceability shall
not affect the other provisions of this Agreement and, to that extent, the provisions of this Agreement are
intended to be and shall be deemed to be severable.

   Headings in this contract are for convenience and reference only and shall not be used to interpret or
construe provisions hereunder. All references in this Agreement shall be gender neutral, such that the
masculine shall include the feminine and vice versa, and neutral references shall encompass both. Where
applicable, the singular shall include the plural and vice versa.

10.    Non Waiver. No delay or failure by either Party to exercise any right hereunder, and no partial or
                 -



single exercise of such right, shall constitute a waiver of that or any other right, unless otherwise expressly
provided herein.

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11.     Binding Agreement. This Agreement shall bind the executors, administrators, representatives, estates,
heirs, beneficiaries, and other successors of the Parties.

12.    Governing Law; Legal Fees. California law shall govern this Agreement and all questions arising
hereunder. Each Party hereto expressly and irrevocably waives trial by jury in any suit, action, or proceeding in
relation to this Agreement. In any suit, action, or proceeding to enforce, interpret, or challenge the
enforceability of this Agreement, the prevailing Party in such suit, action, or proceeding shall be entitled to its
reasonable attorneys' fees and all other costs of arbitration or other action, through all authorized appeals.

13.    Execution. This Agreement may be executed in counterparts, and faxed signatures of this Agreement
shall constitute an original instrument qualified for admission into evidence in any court or administrative
proceeding, through all authorized appeals.

14.     Indemnification. Providing the Consultant was not negligent in the performance of Consultant's duties
provided for herein, if the Consultant is made a party, or Is threatened to be made a party, to any suit or
proceeding, whether civil, criminal, administrative, investigative, appellate or other by reason of the fact that he
is or was a director, officer, Consultant, agent, manager, consultant or representative of the Company or any of
its subsidiaries or is or was serving at the request of the Company or any of its subsidiaries, or in connection
with her service hereunder, as a director, officer," member, Consultant, agent, manager, consultant or
representative of any other entity, or if any claim is made, or is threatened to be made, that arises out of or
relates to the Consultant's service in any of the foregoing capacities, then the Consultant shall promptly be
indemnified and held harmless, and shall be entitled to prompt advancement of expenses, including without
limitation attorneys' fees and other charges of counsel, in each case, to the fullest extent provided under
applicable law, the Company's Operating Agreement, and the Company's officers' and directors' liability
insurance policies.

15.      Termination.

        (a)    Events of Termination. This Agreement and Consultant's consulting employment hereunder
shall terminate upon the occurrence of any one or more of the following events and payment for services
rendered up to the date of termination shall be paid according to Company's standard payment practices:

                        i. Termination By the Company. The Company may, at its option and with written
                           approval by the Management Committee, at any lime terminate Consultant's
                           consulting employment for no reason or for any reason whatsoever by providing 5
                           days written notice of intent to terminate.

                        ii. Termination By Consultant. Consultant may terminate this Agreement and
                            Consultant's consulting employment for no reason or for any reason whatsoever by
                            providing 5 days written notice of intent to terminate. Upon receiving said notice,
                            Company may elect to forego notice and terminate Consultants contact immediately.




                                               [Signature Page to Follow]




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      IN WITNESS WHEREOF, the Parties acknowledge and agree to the terms of this Consulting
Employment Agreement and have hereunto set their hands and seals as of the date first written above.

COMPANY:
Red Dice Holdings, LLC

By:


As Its: "deem Lv




                                               )



                                               )



                                               )




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                                • EXHIBIT G
         FUNDING AGREEMENT BETWEEN RED DICE HOLDING LLC AND
                     EQUITYTREND LLC/JT TRADING




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                                         ESCROW AGREEMENT


            THIS ESCROW AGREEMENT, (the "Agreement") made this day of April                2012,
     by and. among, Red Dice Holdings, LLC, 2665 Ariane Drive, Suite 207, San Diego, CA 92117
     ("RDH") and Equity Trend Advisors LLC, in care of TT Trading ("ETJT" or "Escrow
     Agent")) and, with offices at Carmel Valley Center II, 11995 El Camino Real, Suite 301, San
     Diego, CA 92130

            WHEREAS, in consideration and incompliance of the Operating Agreement dated the
     5th day of April 2012, the parties hereby agree as follows:

             WHEREAS, Escrow Agent is holding Twenty Four Million One Hundred Sixty-Six
     Thousand Six Hundred Sixty-Seven (24,166,667) shares of common stock of Medical Marijuana
     Inc., a Oregon corporation ("MJNA shares") on behalf of RDH, in accordance with the
     Operating Agreement (the "Operating Agreement") by and between Dixie Holdings, LLC, a
     Colorado limited liability company and Medical Marijuana, Inc., a Oregon corporation; and

             WHEREAS, ETJT, acting in its capacity as a registered broker-dealer, shall cause the
     MJNA shares to be sold at the then current fair market value price, for the benefit of RDH, and
     to disburse the proceeds form such sale or sales of the MINA shares ("Funds") in accordance
     with the terms and conditions of the Operating Agreement (a "Funding Request").

             WHEREAS, Escrow Agent is agreeable to act as escrow agent without compensation
     under this Agreement and to disburse the Funds in accordance with the terms and conditions
     hereinafter set forth.

             NOW, THEREFORE, in consideration of the mutual covenants and promises set for the
     below, the parties agree:

                1. Establishment of Escrow Account.

                    1.1. An escrow account shall be established under this Agreement by with Escrow
     Agent at who shall hold the MJNA shares, liquidate the MJNA shares and distribute the Funds
     from time to time as hereinafter set forth (the "Escrow Account"). Escrow Agent shall not
     commingle the Funds.

                   1.2. ETJT acknowledges and agrees that the MJNA shares and Funds in the
     Escrow Account are to be used exclusively for the purpose of funding operations and
     development of RDH.

               2. Disbursements.

                    2.1. The Escrow Agent shall disburse all or a portion of the Funds in accordance
     with the following:.



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               (a) Upon receipt of a Funding Request by RDH which shall acknowledge that
certain milestones have been achieved set forth below, Funds shall be allocated for that particular
milestone and shall direct the party to which funding is to be received, attached as Exhibit A.

               (b) •ETJT shall commence liquidation of shares within three (3) business day
from receipt of the Funding Request. Funds shall be disbursed to RDH within three (3) business
days from date shares are sold.   '

              2.2. Upon the sale of the MINA shares and the termination or proper
disbursement of all the Funds, the Escrow Agreement shall terminate.

          3. Escrow Agent's Responsibility.

       3.1. Upon disbursement of all or any portion of the Funds in accordance with this
Agreement, Escrow Agent shall have no further 'responsibility with respect to the amounts so
disbursed. In this regard, it is expressly agreed and understood that in no event shall the
aggregate amount of disbursements from the Escrow Account by Escrow Agent exceed the
amounts deposited by in the Escrow Account plus accrued interest and increased fair market
value of the MJNA shares, as provided herein. •

        3.2. RDH understands and agrees that the duties of Escrow Agent are purely ministerial
in nature and RDH further agrees that Escrow Agent shall not be liable for any action taken or
omitted hereunder or under this Agreement except in the case of its bad faith, negligence or
willful misconduct.

       3.3 Escrow Agent shall furnish to RDH an accounting of the receipts in, and
disbursements from, the Escrow Accounts, as requested.

        3.4. RDH agrees to indemnify Escrow Agent and its partners, and agents (herein the
"Indemnities") against, and to hold them harmless of and from, any and all loss, liability, cost,
damage and expense, any and all loss, limitation, reasonable attorneys' fees, except in the case of
Escrow Agent's bad faith, negligence, or willful misconduct, which the Indemnities may suffer
or incur by reason of any action, claim or proceeding brought by any third party against the
Indemnities, arising out of or relating in any way to this Agreement, or the performance of its
duties hereunder.

         4. Miscellaneous.

               4.1. This Agreement encompasses the entire Agreement of the parties and shall
not be modified except by an instrument in writing signed by the parties.

                4.2. This Agreement shall be governed by and construed in accordance with the
laws of the State of California and the proper venue and jurisdiction for any action or claim with
respect to this Agreement or any document delivered pursuant hereto shall be in the appropriate
court in San Diego, CA except as for provided in section 4.3.



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               4.3. In the event of the receipt of conflicting instructions prior to discharge of the
Escrow Agent, Escrow Agent shall commence an arbitration before a single arbitrator acceptable
to Escrow Agent under the rules of the American Arbitration Association, whose decision shall
be final that shall be located in San Diego, CA. Upon 'receipt of a final decision from the
arbitrator, the Escrow Agent shall comply therewith and upon such compliance shall be
discharged from all further liability. The decision of the arbitrator shall be final, and may be
reduced to judgment by any party hereto or the Escrow Agent. The arbitration must be resolved
within 15 days of a request for arbitration. RDH shall pay their own attorney fees and legal costs.
The aforementioned parties shall equally split the Escrow Agent's and arbitrator's reasonable fees
and costs.

                 4.4. All notice required to be given in connection with this Agreement shall be
sent via certified mail or overnight express with receipt and addressed as follows:

               If to: RDH 2665 Mane Dr, Suite 207, San Diego, CA 92117 with a copy to
               Dixie Holdings, LLC: 777 E. Speer Blvd., Denver, Colorado 80203

               If to ETJT: 11995 El Camino Real, Suiti 301, San Diego, CA 92130



IN WITNESS WHEREOF, this Agreement has been executed this day of 5 April 2012.


Red Dice Holdings, LLC


Print Name:
Its:


Equity Trend Advisors LLC


Print Name:
Its:


IT Trading


Print Name:
Its:




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                                                                             •
                                        EXHIBIT A                    .




                               REQUEST FOR FUNDING

Equity Trend Advisors LLC, in care of if Trading of Cannel Valley Center II, 11995 El Camino
                     Real, Suite 301 San Diego, CA 92130(the "ETJT")

                                                   AND

  Red Dice Holdings, LLC of 2665 Ariane Drive, Suite 207, San Diego, CA 92117(the "RDH")

DATE OF REQUEST:

TRANSACTION DESCRIPTION:
** Attach a copy of the Agreement to which the disbursement applies.                                 .
AMOUNT OF FUNDS REQUESTED: ($)                                                               .


TERMS FOR DISBURSEMENT:



FUNDS TO BE DISBURSED TO:                  •


Attn:                                    • Contact No.: (                            )           -

                                               •
ADDITIONAL DIRECTION:
                                                         .               •               .

                                                                 •               •

FEES: Fee Earned by EDT $       •                            '


REQUESTED BY:                                                            •
Red Dice Holding


Michael R. Llamas, Member                                    Vincent 1. Keber III, Managing Member


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                                 DISBURSEMENT INSTRUCTIONS

  Upon written confirmation from RDH of the Closing and each of the relevant milestones being
  reached and in compliance with the Request for Funding, the disbursement will be as follows:


(A) At Closing, the Company shall sell Two Hundred Fifty Thousand Dollars ($250,000) (exclusive of
broker's fees) in MJNA Shares and the Proceeds to the Company shall be tendered for payments as
follows:
         $50,000 to be released for DIXIE Member employee incentives;
         $150,000 for the payment of DIXIE Member investor debts;
         $50,000 for the payment of DIXIE Member short term account payables;

(B) At Milestone 1, which is contingent on Left Bank, LLC, on behalf of Pharmasphere, sourcing and
obtaining required location and lease for the facility, signing a lease agreement for the facility and
maintaining the required licensing, the Company shall sell Two Hundred Fifty Thousand Dollars
($250,000) (exclusive of broker's fees) in MJNA Shares and the Proceeds to the Company shall be
tendered for payments as follows:
        $50,000 to Vincent M. Keber, III
        $50,000 to Charles Smith •
        $150,000 for the payment of DIXIE Member investor debts;(will discuss flow of funds...since
        debt is held in Tripp's name with Left Bank and then between Tripp personally with investor to
        satisfy CO law. Will provide proof of payment if needed)

(C) At Milestone 2, which is contingent upon the successful integration of a new product offering (such
as medicated chewing gum) or any other product currently controlled by MJNA Member, into the
operations of the Company including defining the manufacturing, packaging and marketing
requirements necessary for product launch, the Company shall sell One Hundred Thousand Dollars
($100,000) in MJNA Shares and the Proceeds to the Company shall be tendered for payments as
follows: (i) $100,000 to DIXIE Member for the plupoSe of repaying debt to affiliated companies.

(D) Balance. The balance of Eight Hundred Fifty Thousand ($850,000) in MINA Shares allocated herein,
less all brokerage fees incurred from any liquidation of shares and based upon all contingencies stated in
Sections 9.1 (n)(i), (n)(ii) and (n)(iii)of the Operating Agreement being fulfilled, shall be used solely as
working capital for operations of the Company including. but not limited to operations, licensing,
research/development and marketing as approved in writing by the Management Committee in the
operations budget.

(E) Additional Milestones. Additional milestones may be set by RDH at any time and same shall be
provided to Escrow Agent and incorporated herein.




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                                    EXHIBIT H
                             KEBER AND SMITH WARRANTS




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                                    STOCK OPTION WARRANT AGREEMENT
      Medical Marijuana, Inc.., a Oregon corporation (the "Company"), pursuant to the agreement by and between
Cannabank, Inc., a Delaware company and Vincent M. Keber III, a individual dated the 5' day of April 2012, (the
"Agreement"), hereby grants to the individual listed below (the "Optionee"), an option to purchase the number of shares
of the common stock of the Company ("Common Stock"), set forth below (the "Option").

Optionee:                           Vincent M. Keber III, an individual
Grant Date:                         April 5, 2012
Exercise Price per Share:          $[.06 ] /Share
Total Exercise Price:              $ 100,000
Total Number of Shares             One Million, Six Hundred Sixty-Six Thousand Six Hundred Sixty-Six
Subject to the Option:             (1,666,666) shares
Expiration Date:                   April 4, 2014

Type of Option:             Restricted Shares

Termination:                The Option shall terminate on the Expiration Date set forth above or, if earlier, in accordance
                            with the terms of the Stock Option Agreement.
By his or her signature, the Optionee agrees to be bound by the terms and conditions herein. The Optionee fully
understands all provisions of this Option Agreement.

Medical Marijuana, Inc.                                            Vincent M. Keber

By: are
Print Name: Michael R. Llamas

Title:          President

Address:       2665 Arlene Drive, Suite 201, San Diego             Address:
               CA 92117                                                          7907 C./42e, *1-e_ezeZi-
                                                                                 /.701ev-K4YY fp2or

                                                             1
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                                    STOCK OPTION WARRANT AGREEMENT
      Medical Marijuana, Inc.., a Oregon corporation (the "Company"), pursuant to the agreement by and between
Cannabank, Inc., a Delaware company and Charles Smith, a individual dated the 5 th day of April 2012, (the "Agreement"),
hereby grants to the individual listed below (the "Op:knee"), an option to purchase the number of shares of the common
stock of the Company ("Common Stock"), set forth below (the "Option").

Opdonee:                            Charles Smith, an individual
Grant Date:                         April 5, 2012
Exercise Price per Share:          $[.06] /Share
Total Exercise Price:              $ 100,000
Total Number of Shares             One Million, Six Hundred Sixty-Six Thousand Six Hundred Sixty-Six
Subject to the Option:             (1,666,666) shares
Expiration Date:                   April 4, 2014

Type of Option:             Restricted Shares

Termination:                The Option shall terminate on the Expiration Date set forth above or, if earlier, in accordance
                            with the terms of the Stock Option Agreement.
By his or her signature, the Optionee agrees to be bound by the terms and conditions herein. The Optionee fully
understands all provisions of this Option Agreement.

Medical Marijuana, Inc.                                            Charles Smith

By:                                                                By:

Print Name: Michael R. Llamas

Title:          President

Address:       2665 Mane Drive, Suite 201, San Diego               Address:
               CA 92117                                                                 6 44- et        C-A
                                                                                            _
                                                                                                A-C._ 1.ca1__
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                                  EXHIBIT I
         LICENSING AGREEMENT WITH MJNA FOR TERRASPHERE GROW
                            TECHNOLOGY




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                                  EXHIBIT J
                             OPERATING BUDGET




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                                MESSNER & REEVES, LLC
                                            ATTORNEYS AT LAW

                                            1430 WYNROOP STREET
                                                   SUITE 300
                                          DENVER COLORADO 30202
                                TELEPHONE: 303-623-1900 FACSLMILL: 303-623-0552
ROBERT HINCKLEY                                                                          DIRECT DIAL:
rhinckley@messner.com                                                                  (303) 405-4182
                                              June 11, 2013



VIA FEDERAL EXPRESS: 7999 7195 3607
VIA EMAIL: MICHELLESIDESES(WYAHOO.COM
           BART@MACKAYVENTURES.COM

Michelle Sides, Chairman and Chief Operating Officer
Medical Marijuana, Inc.
2665 Ariane Drive, Suite 207
San Diego, CA 92117

Dear Ms. Sides:

        As you are aware, this law firm represents Dixie Holdings, LLC ("Dixie"). I am a partner in
the firm's Litigation Department. As previous attempts to resolve the ongoing disputes between
Dixie and Medical Marijuana, Inc. ("MJNA") have been unsuccessful, I have been asked to step in
and proceed with litigation. This letter serves as a final attempt to resolve all issues before
proceeding in this regard.

        Dixie hereby demands that MINA comply with all obligations under the Operating
Agreement of Red Dice Holdings, LLC (the "Agreement"). A copy of the signed Agreement is
enclosed and marked as EXHIBIT A. Further, Dixie demands MJNA resolve and cure its
mismanagement of MINA as well as the direct damages Red Dice Holdings, LLC ("Red Dice") has
suffered as a result. Dixie also demands that MJNA fully comply with the allocation of payments
via the MJNA Shares (defined below) as required under the Agreement

       Should MINA comply in all respects with the demand in this letter, Dixie is willing to
continue in its business relationship with MINA (subject to additional stipulations of MJNA
provided hereto).

        In the event MJNA refuses to take these steps, Dixie intends to aggressively enforce its
rights under the Agreement. This includes pursuit of an arbitration hearing, as discussed in the
Agreement.

MJNA has materially breached the Agreement in several respects.

1.     MJNA has failed to contribute its initial capital contribution to Red Dice as set forth in the
Agreement. Pursuant to Section 9 of the Agreement, MJNA agreed to contribute an aggregate total
of 24,166,667 unrestricted shares of common stock of MJNA ("MINA Shares") valued at a price
per share of $0.06. MJNA represented and warranted that the MINA Shares would be seasoned,


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                                MESSNER & REEVES, LLC
                                          ATTORNEYS AT LAW


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         „
free trading shares of MJNA common stock. MJNA further represented and warranted to Dixie that
the MJNA Shares contributed in exchange for membership interests of Red Dice were not deemed
"control stock" as such term is defined under SEC rules and regulations.

        As you are well aware, MINA has failed for over a year to contribute all of the MJNA
Shares to Red Dice in exchange for its membership interests in Red Dice. MINA has stated its
delays in contributing the MJNA Shares have resulted from an inability to obtain a proper legal
opinion and other related issues. MJNA has also disclosed to Dixie that the MINA Shares would
not be free trading, rather the MJNA Shares will be restricted shares, which is a material breach of
the Agreement. Simply put, these are unacceptable excuses and the MJNA Shares must be
contributed immediately as required under the Agreement.

2.      Mandatory Purchase Right. Pursuant to Section 11 of the Agreement, upon information and
belief, MJNA has directly and indirectly, through its executive management, committed acts of
fraud and acts of moral turpitude against Red Dice, its clients, employees, shareholders, affiliates
and third-parties (the "Fraudulent Acts"). Pursuant to the Agreement, if the Management
Dommittee reasonably agrees that such Fraudulent Acts damage or adversely affect Red Dice and
its operations, Dixie may purchase MJNA's interest for the purchase price set forth in the
Agreement. Based on the facts as currently known, we are confident that the Management
Committee will determine that MJNA has committed one or more Fraudulent Acts resulting in a
Purchase Event (as defined in the Agreement). Should the Management Committee not reach
agreement as to this issue, the required third party option will result in a determination that
Fraudulent Acts have been committed that damaged Red Dice.

Other issues of concern regarding MJNA.

1.      Financial Accounting. Dixie is deeply concerned that the financial records of MYNA are
inaccurate and/or misleading, even though they have been certified by you as being true and correct.
It is Dixie's view that MJNA (a) lacks proper accounting and reporting procedures, and (b) upon
information and belief, has materially misstated its financial reporting in publicly filed documents
certified as being true and correct by you. For example, the financial information provided by Red
Dice to MJNA for the fourth quarter of 2012 and for the first quarter of 2013 appears to be
inaccurately reported by MJNA in its quarterly filings made with OTC Markets. Red Dice has
repeatedly requested copies of MJNA's auditor work papers and consolidation schedule to verify
the method of financial reporting implemented by MINA. These requests are continuously ignored.
We hereby demand MINA provide Red Dice the auditor work papers and consolidation schedules
used by MJNA's auditor to prepare the financial statements for the fourth quarter of 2012 and the
first quarter of 2013 by 5:00pm MT on June 13, 2013. Failure to do so will force the management
of Red Dice to publicly disclose its belief that MJNA's financial statements are incorrect and
materially misleading.



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                                 MESSNER & REEVES, LLC
                                           ATTORNEYS AT LAW


Medical Marijuana, Inc.
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2.      Corporate Governance. As you are well aware, Vincent M. Keber, III is a principal of
Dixie as well as a former director of MINA. Mr. Keber resigned from the board because of the lack
of information provided by the officers and chairman of MJNA, the lack of formal board meetings,
and, upon information and belief', various other improper actions by MJNA's officers and chairman.
Due to the multiple instances of fraud and moral turpitude committed by MJNA, Mr. Keber, along
with his affiliated entities and partners, are understandably concerned about any potential liability
he might face from an MINA shareholder lawsuit. As a result, we hereby demand MJNA, HDDC,
Michelle Sides, and Michael Llamas shall indertmify the parties as set forth below.

3.    Articles of Incorporation. For several years, the officers of MJNA have fraudulently filed
amendments to the articles of incorporation either increasing or decreasing the authorized capital of
MJNA without shareholder approval. Dixie was told that proper corrective actions would be taken
by May 2013. As of the date of this letter, we are unaware of any actions taken by MINA to
remedy this material problem. We hereby demand MJNA calls a shareholder meeting by 5:00pm
MT on June 18, 2013 to take appropriate corrective actions to amend the articles of incorporation.

4.      Issuance of MINA Shares. Pursuant to review of a publicly filed MJNA disclosure and the
fact that Mr. Keber was never consulted about any stock issuances while he was a board member
(see above), upon information and belief, MJNA has improperly issued shares of common stock
without proper board or shareholder approval. We hereby demand MJNA provides proper notice
for a special shareholder meeting by 5:00pm MT on June 18, 2013 to take appropriate corrective
actions to properly issue stock to its affiliates.

Proposed solution and additional stipulations required of MJNA.

       In summary, notwithstanding MJNA's multiple breaches of the Agreement and
mismanagement of MJNA by certain affiliated individuals, Dixie believes that these issues can be
resolved so long as MJNA agrees to the following:

        1. The MJNA Shares shall be allotted to Red Dice as provided by the Agreement and no
           later than 5:00pm MT on June 27, 2013.

        2. The Agreement shall be amended and restated by MINA and Dixie, no later than 5:00pm
           MT on June 27, 2013, to provide as follows:

               a. Dixie shall have a 60% membership interest and MJNA shall have a 40%
                  membership interest.

               b. Certain provisions in the Agreement that provide for an automatic return of Dixie
                  IP in the event MJNA is subject to any of the following: (i) an SEC investigation,
                  (ii) failed audit, (iii) failed 15C-211, (iv) any lawsuit against MINA regarding


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                                  MESSNER & REEVES, LLC
                                            ATTORNEYS AT Lin,/


Medical Marijuana, Inc.
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                    fraud or other issues directly related to actions by management/shareholders, and
                    (v) additional triggers to be discussed by the parties.

         3. Pursuant to an Indemnity Agreement, MJNA, HDDC, Michelle Sides, and Michael
            Llamas shall indemnify Dixie Holdings, LLC, Red Dice, Left Bank, LLC, Vincent M.
            Keber, III and Charles K. Smith from any and all third-party claims no later than 5:00pm
            MT on June 27, 2013.

         4. D8c0 insurance shall be obtained for the officers of Red Dice and MJNA no later than
            5:00pm MT on June 27, 2013.

         5. MJNA shall provide Red Dice the auditor work papers and consolidation schedule used
            by MJNA's auditor to prepare the financial statements for the fourth quarter of 2012 and
            the first quarter of 2013 by 5:00pm MT on June 13, 2013.

         6. MJNA shall call a shareholder meeting by 5:00pm MT on June 18, 2013 to take
            appropriate corrective actions to amend the articles of incorporation and to properly
            issue stock to its affiliates.

         7. Any other additional items to be discussed between Dixie and MJNA.

       As discussed above, should MJNA fail to agree to these steps, Dixie will proceed in the
manner described under the terms of the Agreement. Claims will include, but not be limited to,
breach of fiduciary duty, breach of contract and fraud.

         We demand that you provide written confirmation: (a) that acknowledges your receipt of
this letter and desire to comply with the timeframes set forth above; (b) of your agreement to
comply with the terms and conditions of the Agreement; and (c) that you will work with Dixie in
good faith to reach a mutually agreed upon solution no later than 5:00pm MT on June 27, 2013.
Failure to comply with any of Dixie's demands by the respective dates provided herein will trigger
The arbitration process provided by the Agreement.

         We look forward to an expeditious resolution to these disputes.

                                               Sincerely,

                                               MESSNER c REEVES, LLC



                                               Robert B. Hincldey, Esq.
Enclosure

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                                 OPERATING AGREEMENT
                               •   •       OF
                                 RED DICE HOLDINGS, LLC.



       This OPERATING AGREEMENT dated as of the 5th day of April 2012 ("Effective
Date"), by and between Medical Marijuana tic., an Oregon corporation ("MINA Member")
and Nide Holdings LLC, a/k/a Dixie Elixirs (collectively herein, the "DIXIE Member'

                                            REcrna., • .
WHEREAS, MINA is a company in the business of providing management, investment,
consulting services and capital for legal hemp and cannabis based products and business; and
WHEREAS, DIXIE is a company that has 'licensing, trademarks, proprietary materials,
formulations and services for certain legal hemp and cannabis based businesses and the related
facilities and equipment to manufacture and distribute same; and
WHEREAS, MINA Member and DDCIE Member desire to form an entity "Red thee Holdings,
LLC" ("Company") in which the parties will be the Members for the purposes set forth herein.
                                          ARTICLE 1
                        DEFLNITIONS AND INTERPRETATION

1.1      Definitions. Where used in this Agreement, in addition to capitalized terms defined on
first use herein, the following words or phrases shall have the meanings set forth below:

        "Act" means•the California Limited Liability Company Act, (Cal. Corp. Code §17050-1
("Act"). By this Agreement, the Members enter into thisAgreement in accordance with the laws
of the State of California. The rights and obligations of the Members will be as stated in the
applicable legislation of the Act, except as provided for herein.
       "Affiliate" in relation to any Person means any Person that controls, is controlled by or is.
under common control with that Person. For the purposes of this definition, the term "control"
means (i) beneficial and/or legal ownership of al-least . fifty percent (50%) or more of the
outstanding voting securities of a company or other business, organization with voting securities
(or such percentage as required under any particular jurisdiction' to confer controlling powers
through ownership of voting securities broadly equivalent to the controlling powers attendant on.
ownership of at least fifty percent (50%) or more of outstanding voting securities in a United
States corporation), (ii) a fifty percent (50%) or greater interest in the net assets or profits of a
partnership or other business organization without voting securities.
        "Agreement" means this Operating Agreement, together with the Exhibits attached
hereto, each of which is hereby incorporated by reference herein, and any instrument amending
this Agreement in accordance hereto.
        "Asset Value" with respect to any Company asset means:


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             (a)  The fair market value when contributed of any asset contributed to the
Company by any Member;

             (b)    The fair market value on the date of distribution of any asset distributed by
the Company to any Member as consideration for a capital interest in the Company;

                (c)   The fair market value of all Property at the time of the happening of any of
the following events: (A) the admission of a Member to, or the increase of a capital interest of
an existing Member in, the Company in exchange for a Capital Contribution; or (B) the
liquidation of the Company under Regulation Section 1.704-1(b)(2)(ii)(g); or

                    (d)    The Basis of the asset in all other circumstances.

       "Basis" with respect to an asset means the adjusted basis from time to time of such asset
for federal income tax purposes. •
       "Books and Records" means all material communications between any Member or any of
its Affiliates and governmental patent officei, the internal patent file and the invention disclosure
documents of any Member or any of its Affiliates,, or any such Affiliate's corporate intellectual
property department, if any. Notwithstanding the foregoing or anything else contained in this
Agreement
                                            •
       "Capital Account" means an account to be maintained. by the Company for each Member
in accordance with Treasury Regulation Section 1.704-1(b)(2)(iv).
     "Capital Contributions" means, with respect to any Member, the fair market value of the
money and the services, if any, and the initial fair market value of any Property (other than
money or services) contributed to the Company by the Member.
      "Code" shall mean the Internal Revenue Code of 1986 or corresponding provisions of
subsequent superseding federal revenue laws. .
       "Confidential Information" means all information that would reasonably be regarded as of
a confidential or commercially sensitive nature by the Party to which the information relates or
the Party (or its relevant Affiliate) to whom the information belongs, including, without
limitation, any matter relating to or arising in connection with this Agreement, the Transactions
or the business or affairs of the Parties and their Affiliates. •
        "Effective Date" shall have the Meaning set forth in the Preamble.
        "Intellectual Property" shall include, but shall not be. limited to all United States and
foreign common law, registered and unregistered trademarks, trade names, trade dress, product
specifications, copyrighted materials, patents, trade secrets, customer lists, and all rights
associate therewith.
     "Manage?' initially means Vincent M. Reber, Ell, in his capacity as the Manager of the
Company and such other Persons serving as managers of the Company front time to time.
         "Management Committee shall have the meaning set forth in Section 9.2


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       "Member" means a Person executing this Agreement from time to time during the
existence of the Company as a member of the Company with a Membership Interest on the basis
provided herein. .
  "     "Membership Interests" "means, subject to the specific rights, benefits, and obligations
granted to Members in this Agreement, the interest of a Member in the Company, including
without limitation rights to distributions (liquidating or otherwise), allocations, information and
to consent to or approve matters pertaining to the Company and such other matters with respect
to the Company as expressly provided herein.
             "Egmet or "Parties" means DIXIE Member or MINA Member or, as the context requires
or admits, both DIXIE Member and MINA Member. -
        "Person" shall mean any individual or entity, and the heirs, executors, administrators,
legal representatives, successors, and assigns of such Person where the context so permits.
      "Proceeds" mean monetary proceeds or any other liquid asset of any kind received by the
Company from any means whatsoever, before payment of any expenses, fees or charges of any
kind.
       "Profits" and "Losses" for any Fiscal Year or other period means an amount equal to the
Company's taxable income or loss for such year or period determined in accordance with Code
Section 703(a) and the Regulations thereunder with the following adjustments:
               (a) All items of income; gain, loss and deduction of the Company required to be
               stated separately shall be included in taxable income or loss;

                   (b) Income of the Company exempt from federal income tax shall be treated as
                   taxable income;

                   (c) expenditures of the Company destribed in Code Section 705(a)(2)(13) or
                   treated as such expenditures under Regulation Section 1.704-1(b)(2)(iv)(i) shall
                   be subtracted from taxable income;

                   (d) The difference betWeen Basis and Asset Value shall be treated as gain or loss
                   upon the happening of any eVent described • in clauses (i), (ii) or (iii) of the
                   definition of Asset Value;
                   (e) Gain or lossresulting from the dispoiition of Property on which gain or loss is
                   recognized for federal income tax purposes shall be determined with reference to
                   the Asset Value of such Property; •

                   (f) Depreciation shall be determined in accordance with Treasury Regulations
                   §1.704-1(b)(2)(iv)(g)(3) based upon Asset Value instead of as determined for
                   federal income tax purposes; and

     "Property" means all real and personal property, tangible Mid intangible, owned by the
Company.



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         "Treasury Regulations" means the Treasury Regulations promulgated under or otherwise
applicable to the Code.
                                          ARTICLE 2
                                       ORGANIZATION

2.1     Formation. The Company has been/will be formed as a limited liability company under
and pursuant to the provisions of the Act by the filing of the Articles of Organization with the
Secretary of State of the State of California. The rights and liabilities of the Members shall be as
provided under the Act, the Articles of Organization and this Agreement. Each Member hereby
acknowledges that it has carefully reviewed the Articles of Organization and that each of the
provisions of the Articles of Organization is acceptable to such Member.

2.2 Name. The name of the Company is Red Dice Holdings, LLC, formation documents
shall be attached as Exhibit A which shall be formed and affixed within thirty (30) days from
Effective date.

2.3    Term. The Company shall exist perpetually unless otherwise specified in the Articles of
Organization, or unless sooner terminated in accordance with this Agreement.
2.4     Purposes/Company Business. The purposes of the Company are to engage in any
activity and/or business for which limited liabilitY-companies May be formed under the Act
(including the Company Business as defined in Section 2.1). The Company shall have all the
powers necessary or convenient to affect any purpose for which it is formed, including all
powers granted by the Act

2.5     No State-Law Partnership. No provision of this Agreement shall be deemed or
construed to constitute the Company a partnership of the Members (including, without limitation,
a limited partnership) for any purposes other than.federal and state tax purposes, if any.
2.6    Assumed Names. The Management Committee may cause the Company to do business
under one or more assumed names.
2.7     Re2istered Agent; Principal Offices; Other Offices. The statutory registered agent of
the Company in the State of California shall be Miehelle L. Sides, Esq., or such other Person or
Persons as the Management Committee may designate from time to time in the manner provided
by law. The address for the registered agent of the Company Shill be 2665 Mane Drive, Suite
207, San Diego, California 92117 until otherwise designated by the Management Committee.
The principal office of the Company in the State of California, and shall initially shall be at 2665
Ariane Drive, Suite 207, San Diego, California 92117 or at such place within the state of
California as the Management Committee may designate from time to time, and the Company
shall maintain records there as required by the Act. The Company may have such other offices
within the state of California as the Management Committee may designate from time to time.

                                        ARTICLE 3
                                 BUSINESS OF THE .COMPANY
3.1     The Company Business. The Company will provide management and consulting
services as well as acquire future projects that will provide.value and benefit to the Company and

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each Member shall act in a manner consistent with the Company objectives (collectively the
"Company Busineds'). More specific terms of business structuring and distributions are as
follows:

3.2      Guarantees. No Member shall be required to provide guarantees from its affiliated
entities and Persons as it pertains to acquiring the Project.

3.3    Unrelated Business (es). Neither Member shall Save any ownership in the individual
businesses, subsidiaries and/or affiliates of the other Member.

                                        ARTICLE 4.
                                  CAPITAL CONTRIBUTIONS
4.1   Capital Account Balances. Upon execution of this Agreement the balance in each of
the Members' Capital Accounts shall be as set forth on Exhibit B.

4.2     Membership Interests. Each of the Members shall have the Membership Interests
specified on Exhibit B.

43       Capital Contributions. The Capital Contributions to the Company shall be contributed
in cash, performance, property or other approved methods as by the Members as follows: a
separate Capital Account shall be maintained for each Member. Neither Member shall withdraw
any part of its Capital Account. Upon the demand of either Member, the Capital Accounts of the
Members shall be maintained at all times in the proportions in which the Members share in the
Profits and Losses of the Membership Interests.

4.4      Profit and Losses. The net Profits of the Company shall lie divided proportionately
between the Members and the net tosses shall be borne equally by them as per the Membership
Interest percentage: A separate income account shall bimaintained for each Member. Profits and
Losses shall be charged or credited to the separate income account of each Member. If a Member
has no credit balance in his income account, losses shall be charged to its capital account
4.5     Additional Capital Contributions. Upon the unanimous consent of the Management
Committee, each Member shall contribute. its pro rata portion of all additional capital necessary
to conduct the Company Business,. as -set forth expressly in the preliminary budget and each
subsequent budget or as the Management Committee may otherwise agree is necessary
("Additional Capital Contributions'). Upon thirty (30) days written notice by the Management
Committee of a demand for additional capital, each of the then-Members shall contribute, in
proportion to their respective Membership Intereits, such. additional capital contributions to the
Company as determined by the Management Committee.

4.6  Interest Except as may be expressly set forth herein, no interest shall be paid by the
Company on Capital Contributions or on balances in Members' Capital Accounts.

4.7 Loans From Members. Loan& by a Member to the Conqiany shall not be considered
capital contributions. Unless otherwise agreed by all of the Members, if any Member shall
advance funds to the Company, the making of such advances shall not result in any increase in
the amount of the Capital Account of such Member. The amounts of any such advances shall be


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a debt of the Company to such Member and shs11 be payable or collectible only out of the
Company assets in accordance with the terms and conditions upon which such advances are
made. The repayment of loans from a Member to the Company upon liquidation shall be subject
to the order of priority provided in Section 9.4. .

4.8      Capital Accounts.

                      (a) A separate Capital Account shall be maintained for each Member. The
      beginning Capital Accounts for the Members shall consist of the Total Value of their
      respective Initial Capital Contributions. In all other instances, the beginning Capital Account .
      for a Member shall consist of the Total Value of property or services actually contributed by
      that Member to the capital of the Company; however the Member percentages shall not
      exceed the percentages identified on Exhibit B. without unanimous consent of the Members.
      The Capital Accounts of the Members shall be:

                             (i) increased by:

                                    (A)      the amount of the Member's cash or other contributions
                                             to the Company;
                                                          •       •  •
                                    (B)    • the initial Asset Value of Property contributed by the
                                             Member to the Company, net of liabilities secured by
                                             the Property that the Company is considered to assume
                                             under or take ' subject to in accordance with Code
                                             Section 752; and

                                    (C)      the Member's distributive share of Profits and any
                                            items of income or gain allocated to the Member; and

                             (ii) decreased by:

                                    (A)     cash or other distributions to the Member from the
                                            Company; •
                                             •
                                    (B)     the Asset Value of Property distributed in kind to the
                                            Member, net of liabilities secured by the Property that
                                            the Member is deemed to assume under or take subject
                                            to in accordance with Code Section 752; and
                                    ()      the Member's distributive ihare of Losses and any
                                            items of loss or deduction allocated to the Member.

          .          (b) The maintenance of Capital Accounts shall be subject to the following
      special rules:

                           (i) a Member's Capital Account shall not be credited for any Capital
             Contribution which the Member is obligated to make until the contribution is actually
             made or deemed to have been made;


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                             (ii) if a Member transfers all Or any portion of its Membership Interest
             • in accordance with the terms of this Agreement, the transferee shall succeed to the
               Capital Account of the transferor to the extent it relates to the transferred Membership
               Interest;      •

                               (iii)if the Asset Value of Company assets are adjusted as provided in
               the definition of "Asset Value" above, the Capital Accounts of all Members shall be
               adjusted simultaneously to reflect the aggregate net adjustment which would have
               occurred if the Company recognized gain or loss equal to the amount of such
               aggregate net adjustment and such gain or kiss was allocated to the Members in the
               manner required by Section 5 below; •

                   (c) the provisions of this Agreement relating to the maintenance of Capital
    Accounts are intended to comply with Treasury Regulation Section 1.704-1(b), and shall be
    interpreted and applied in a manner consistent with its provisions. To the extent that this
    Agreement is inconsistent with or incomplete with respect to the Treasury Regulations, the •
    Capital Accounts of the Members shall be maintained in aceordance with the Treasury
    Regulations.

                                                ARTICLE 5
                                                MEMBERS

5.1     Members. The sole Members of the Company on the Effective Data are the MINA
Member and DME Member. The addresses of each Member are set forth on Exhibit .
Beginning with the Effective Date, and for a period of one year there. are no other Members of
the Company and no other Person has any right to take part in the ownership of the Company
unless approved in writing by all Members.

5.2    Admission of Additional Members. Additional Members of the Company may be
added only if: (a) except as provided in Section 5.5, the addition of any such proposed additional
Member is approved unanimously in writing, prior to such admission, by all the then existing
Members; and (b) such proposed additional Member executes and deliters to the Company and
each of the Members a counterpart of this Agreement and agrees to be bound by all of the terms
and provisions hereof. •
53      Authority; Liability to Third Parties. Except as otherwise expressly provided herein,
only MINA Member and DDUE Member has the authority or power to act for or on behalf of the
Company, to do any act that would be binding on the Company, or to incur any expenditures on
behalf of the Company as per approved budget(s). NO Member has the authority or power to
make any representation, warranty or create any liability for any other Member without such
other Member's prior written consent, and the Company has no such authority or power with
respect to any Member. No Member shall be liable for the debts, obligations or liabilities of the
Company, including under a judgment, decree or court order.

5.4    Effect of Bankruptcy, Dissolution, Etc. of a Member. The bankruptcy, dissolution,
liquidation, or termination of a Member shall not cause the termination or dissolution of the
Company and the business of the Comiiany shall continue. Upon any such occurrence, the


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trustee, receiver, executor, administrator, conunittee, guardian or conservator of such Member
shall have all the rights of such Member for the purpose of settling or managing its estate or
property, subject to satisfying conditions precedent to the admission of such assignee as a
substitute Member. The transfer by such trustee, receiver, executor, administrator, committee,
guardian or conservator of any Member Interest shall be subject to all of the restrictions,
hereunder to which such transfer would have been subject if such transfer had been made by
such bankrupt, dissolved, liquidated, or terminated Member.

5.5   Transfer of Membership Interests. No Member shall, directly or indirectly, transfer
any Membership Interest to any Person except with the written consent of all other Members.

5.6     Voluntary Termination. The Membership may be dissolved at any time by the
unanimous agreement of the Members; in which event the Members shall proceed with
reasonable promptness to liquidate the business of the Membership. The Membership name shall
be sold with the other assets of the business. The assets of the Membership business shall be
used and distributed in the following order: (a) to pay or provide for the payment of all
Membership liabilities and liquidating expenses and obligations; (b) to equalize the income
accounts of the Members; (c) to discharge the balance of the income accounts of the Members;
(d) to equalize the capital accouMs of the Members; and (e) to discharge the balance of the
capital accounts of the Members.        '       •

5.7 Matters Subject to Member Approval. MINA Member and DIXIE Member shall be
the only Members with authority to act regarding any day to day decisions made, obligation
incurred or power exercised by or on behalf of the Company as per approved budget(s).
Unanimous Member Consent must be obtained with respect to any of the following:

               (a) Execute any and all documentation required to close any transaction without
               written approval or authorization.
                                                                                                        1
               (b) the lease, license, tiansfer or encumbrance of all or substantially all of its       1
               assets;                                                                                  i
                                                                                                        1
               (c) any reorganization, merger, consolidation or similar transaction or series of        I
               related transactions involving the Company;

               (d) any voluntary liquidation or dissolution, other than as a result of the expiration
               or termination of this Agreement pursuant to the terms hereof;

               (e) any (i) admission in writing to its inability generally to pay its debts as they
               become due; (ii) general aisignment, arrangement or composition with or for the
               benefit of its creditors; (iii) institution of a proceeding seeking a judgment of
               insolvency or bankruptcy or any other similar relief; or petition for the winding up
               or liquidation of the Company; or (iv) seeking or appointing of an administrator,
               receiver, conservator, trustee, custodian or other snifilar official for the Company
               or for all or substantially all of its assets;

               (1) any split, combination or reclassificaticn of any Membership Interests; -
                                                             •




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                       (g) the declaration, setting aside or making of any distributions (whether in cash
                       or property) to any Member, except for any payments with respect to debt owed
                       to a Member or payments or distributions specifically required under this
                       Agreement
                                                               •           -
                       (h) except as expressly set forth in this Agreement, the issuance of any additional
                       Membership Interests or other equityinterests (including any interests convertible
                       into or exercisable for equity interests) of the Company, or the admission of any
                       Person as a Member of the Company; •

                       (i) the expansion into lines of business or the conduct of any business other than
                       the Company Business;

                       (j) entry by the Company or any of its subsidiaries into any joint ventures or
                       partnerships or establishment of any subsidiaries;
                                                                              -
                       (k) any action that would cause the Company to become a party to or bound by
                       any agreement that, by its terms (i) directly or indirectly restricts or prevents the
                       Company's performance of the Company Business, such as a non-compete or an
                       exclusivity agreement or (ii) directly obligates any Member or any of its Affiliates
                       to take or not take any action;

                       (1) any action that would cause the Company or any of its Subsidiaries to become
                       subject to the registration or reporting requirements of the Securities Act, the
                       Exchange Act or any similar securities laws of any other jurisdiction; the granting
                       of any registration rights to any Person; or the listing of any securities on any
                       securities exchange or over-the-counter trading system; or •

                       (m) a change to the Company's name or amendment or modification of the
                       Articles of Organization of the Conipany, this Agreement, including any change
                       in the purposes of the Company.

    5.8 No Resignation of a Member.. No Member shall resign, withdraw, retire or otherwise
    take any action to effect any of the foregoing. .

    5.9     Transactions with Members and their Affiliates. The Company shall not enter into,
    amend, modify or subject to waiver of any provision of any transaction or contract, or series of
    related transactions and contracts, with any Member or- any Affiliate of any Member, except as
    otherwise provided herein or with the approval of the Management Committee.

    5.10 Other Business. The DIXIE Member may engage in or possess interests in other
    business ventures that are unconnected, unrelated and do not in any way compete with the
    Company which is further identified in the NonCompete Agreement(s) attached as Exhibit C

    5.11        Meetings of Members.

                       (a) Meetings of the Members may be called by Members holding among them
        at least 40% of the issued and outstanding Membership Interests by written notice thereof


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      (specifying the place and time of such meeting) that is delivered to each other Member at
      least six days prior to such meeting.. Neither the business to be transacted at, nor the purpose
      of, such special meeting need be specified in the written notice (or waiver of notice) thereof.
      Unless otherwise expressly provided in this Agreement, at any meeting of the Members, a
      75% of the outstanding Membership Interests represented either in person or by proxy, shall
      constitute a quorum. At all meetings of the Members at which a quorum of eligible Members
      is present, except as otherwise may be required by this Agreement, the affirmative vote of
      Members holding 75% of the eligible outstanding Membership Interests shall constitute the
      act of the Members. Each Member may; with respect to any vote, consent, or approval that it
      is entitled to grant pursuant to this Agreement, grant or withhold such vote, consent or
      approval in its sole discretion.
 5.12     Provisions Applicable to All Meetings.

                     (a) Any meeting shall be held at. the principal place of business of the
      Company, unless the notice of such meeting specifies a different place.
                                                     •
                     (b) Attendance in person or in the case of a Member which is not a natural
      person, by a principal or agent in person at a meeting Shall constitute a waiver of notice of
      such meeting.

                      (c) A Member may vote at such meeting by a written proxy executed by that
      Member and delivered to another Member. A proxy shall be revocable unless it is stated to
      be irrevocable.

                      (d) No action may be taken by Members at a meeting or otherwise unless the
      right to take such action is (i) expressly provided for in this Agreement or (ii) required under
      the Act or other applicable law.

                      (e) Any action required or permitted to be taken at a meeting may be taken
      without a meeting, without prior notice and without a vote if a consent or consents in writing,
      setting forth the action so taken, is • signed by the Members having not fewer than the
      minimum number of Membership Interests or votes that' would be necessary to take the
      action at a meeting at which all Members entitled to vote on the action were present and
      voted; provided that, in the event the action by written consent is taken by less than all of the
      Members, the Manager shall promptly provide all Members with written notice of such
      action.

                     (f) Members may participate in and hold such meeting by means of
      conference telephone, video conference or similar communications equipment by means of
      which all Persons participating in the meeting can hear each other.

                                          ARTICLE 6
                            ALLOCATIONS AND •DISTRIBUTIONS
                                        •
6.1      Allocation of Income and Loss.




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               (a)      Taxable income shall be allocated each fiscal year to the Members in
 accordance with their respective Membership Interests in the Company.
               (b)   Losses shall be allocated to each of the Members in accordance with their
 respective Membership Interestain the Company.

                 (c)      To the extent required, allocations shall be made in accordance with
 Section 704(c) of the Code, and the amount of depreciation, gain or loss with respect to the
 Company's property shall be computed with reference to the Asset Value of the Property rather
 than its adjusted basis, but only to the extent required under applicable Treasury Regulations.
 6.2     Determination of Income and Loss. At the end of each fiscal year of the Company,
 income, gain, loss, deduction and credit (or items thereof) shall be determined for the accounting
 period then ending and shall be allocated to the Members as provided herein.
 63       Cash Distributions. The distributable cash of the Company shall be determined at least
 annually by the Management Committee, by the percentage set forth by Exhibit B herein. All
 distributions of cash or other assets of the. Company shall be made and paid to the Members pro
 rata in accordance with such Members' Interests.

                                         ARTICLE 7.
                              OWNERS UP OF COMPANY PROPERTY

        All Company Property transferred and/or acquired by the CornpanKshall be owned by
the Company as an entity; no Member or Manager, individually or collectively, shall have any
ownership interest in such Company Property, or any portion thereof; and each Member's
Membership Interest 'shall be personal property for all purposes. At all times after the Closing
Date, the Company shall hold title 1 -o all of the Company Property in the name of the Company
and not in the name of any Member or Manager. All Company Property shall be recorded as the
property of the Company or one of its Subsidiaries on the books and records of the Company,
irrespective of the name in whichlegal title to such Company Property is held. .

                                         ARTICLE 8       -
                             FISCAL MATTERS; BOOKS AND RECORDS
8.1    Bank Accounts; Investments. Capital Contributions, revenues and any other Company
funds shall be deposited by the Company in a bank account established in the name of the
Company in furtherance of the purposes of the Company. Funds deposited in the Company's
bank accounts may be withdrawn only to be invested in furtherance of the Company's express
and previously authorized purposes, to pay Company debts or obligations or to be distributed to
the Members pursuant to this Agreement.
8.2     Records Required by Act; Right of Inspection.

                (a) Records Required. During the term of the Company, the Management
                Committee, at the expense of the Company, Shall maintain in the Company's
                principal office all records required to be kept pursuant to the Act, including a
                current list of the names, addresses and Membership Interests held by each of the

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                 Agreement with Left Bank, LLC arid shall be attached as Exhibit E which shall
                 be affixed within thirty (30) days from the Effective Date.
                (c) DIXIE Member shall provide standard legal indemnifications for all
                trademarks and/or licensing agreements transferred into the Company pursuant to
                an assignment agreement;        •
                (d) DIXIE Member use its best efforts to acquire new licensing, trademarks
                and/or patents as determined and approved by the Company to be held in the
                Company name; •
                (e) Manager shall be responsible for the management of all sales, marketing,
               promotions and related matters for the Company. All media shall be approved in
               writing within three business days by both Members prior to any distribution of
               any kind; provided, hoWever, a Membeis failure to approve or disapprove such
               media within three business days shall be deemed the express such Members
               approval;
                                      •
               (f) DDCTE Member shall execute a NonCompete Agreement with the Company
               including, but not limited to its products, services, marketing, business plans,
               financials, investor relations and other Confidential Information as defined within
               said NonCompete Agreement The •NoilCompete Agreement is attached as
               Exhibit C
               (g) DIXIE Member shall cause Vincent M. Keber, III and Charles Smith to both
               execute mutually agreed upon Employment contracts with the Company.
               Employment Agreements for Vincent M. Keber, •Ill and Chat Smith are
               attached as Exhibit F.

               (h) DDCIE Member shall provide the Company with an Exclusive Licensing
               Agreement for all products held by and/or to be acquired by the Company and
               licensed to Left Bank, LLC (or other entities to be identified in the future by the
               Management Committee) to be the sole manufacturer and distributor of said
               products. The Exclusive Licensing Agreement is attached as Exhibit E.
               (i) Manager shall prepare monthly budget reports Tor the Company to be
               reviewed, modified and approved by the Members.
               (j) Manager shall run the day to day operations of the Company.

              (k) MJNA Member shall contribute 24,166,667 unrestricted shares of common
              stock of ("1VIJNA Shares") of Medical Marijuana, Inc., an Oregon corporation,
              valued at a price per share of $0.04 subject to the Company reaching certain
              milestones pursuant to that certain Funding Agreement dated is of the Effective
              Date ("the "Funding Agreement") attached as Exhibit G.          M.TNA does not
              guarantee that the .cost per share to be $0.06 as valuation is determined upon
              liquidation. MINA Member represents and warrants that the MJNA Shares shall
              be seasoned, free trading shares of common stock and the Company shall be

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                 permitted to sell such MJNA Shares in the public market as provided for herein
                 and contingent upon certain stated Milestones being achieved. MINA Member
                 further represents and warrants .to the Company and DIXIE Member that the
                 MINA Shares contributed to the Company in exchange for Membership Laterests
                 of the Company are not deemed "control stock" as such term is defined under the
                 SEC Regulations. The MINA Shares, issued in the name of Red Dice Holdings, •
                 LLC, shall be placed in a mutually acceptable escrow account within fifteen (15)
                 business days from the Effective Date. •

                         (1). The MINA Shares, at the direction of the Management Committee,
                                shall be sold and the Proceeds allocated as follows:

                               (A) At Closing, the Company shall sell Two Hundred Fifty
                               Thousand Dollars ($250,000) (exclusive of broker's fees) in
                               M.TNA Shares and the Proceeds to the Company shall be tendered
                               for payments as follows:
                                      (i) $50,000 to be released for DIXIE Member employee
                                      incentives;
                                      (ii) $150,000 for the payment of DIXIE Member investor
                                      debts; •
                                      (iii) $50,000 for the paynient of DIXIE Member short terra
                                      account payables;

                               (B) At Milestone 1, whiCh is contingent on Left Bank, LLC, on
                               behalf of Pharmasphere, sourcing and obtaining required location
                               and lease for the facility, signing a lease agreement for the facility
                               and maintaining the • required licensing, the Company shall sell
                              •Two Hundred Fifty Thousand Dollars ($250,000) (exclusive of
                               broker's fees) in MINA Shares' and the Proceeds to the Company
                               shall be tendered for payments as follows:
                                  • (i) $50,000 to Vincent M. Keber, ffl•
                                    '       $50,000 to Charle:s Smith
                                       (iii) $150,000 for the payment of DIXIE Member investor
                                       debts.

                               (C) At Milestone '2, which is contingent upon the successful
                               integration of a new product offering (such as medicated chewing
                               gum) or any other product currently controlled by MINA Member,
                               into the . operations of the Company including defining the
                               manufacturing, packaging and marketing requirements necessary
                               for product launch, the Company shall sell One Hundred Thousand
                               Dollars ($100,000) in MINA Shares and the Proceeds to the
                               Company shall be tendered for payments as follows:
                                       (i) $100,000 to DIXIE Member for the purpose of repaying
                                      debt to affiliated companies.




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                              (D) The balance of Eight Hundred Fifty Thousand ($850,000) in
                             •MINA Shares allocated herein, less all brokerage fees incurred
                              from any liquidation of shares and, based upon all contingencies
                              stated in sections (n)(i), (n)(ii) and (n)(iii) being fulfilled, shall be
                              used solely as working capital for operations of the Company
                              including but not limited to operations,                       licensing,.
                              research/development and marketing as approved in writing by the
                              Management Committee in the operations budget.

               (I) • Upon the Closing, both Vincent M. Keber, III and Charles Smith shall,
               each receive $100,000 worth. of MINA common stock Warrants priced at $0.06
               per share attached as Exhibit If..

               (m) MINA Member shall license the 'Company with the TerraSphere grow
               technology and shall provide management of. said new equipment pursuant to a
               Licensing Agreethent with MINA which Shall be affixed as Exhibit I within
               ninety (90) days from Effective Date. MINA Member shall provide standard
               legal indemnifications for such license; • •

               (n) MINA Member shall assist in locating and performing due diligence on any
               new product lines and additional facilities and state licensed businesses within the
               industry that shall be approved by the Company.
                                     •

               (o) MINA Member shall provide website management for the Company.

               (p) Each approved Company project shall be identified, approved by the
               Management Committee. The Management Committee is required to approve all
               new acquisitions and product lines and all budgeting matters. An approved initial
               operational budget is attached as Exhibit Jwhich shall be afffied within sixty (60)
               days from the Effective Date.
9.2     Management Committee. Except as otherwise expressly provided in this Agreement,
the powers of the Company shall be exercised by or under the authority o and the business and
affairs of the Company shall be managed under the direction Of a Management Committee (the
"Management Committee") as described herein. •

93 Management Committee Stale Mate. In the event the Members are unable to be
unanimous in any decision required to be .unanimous, the Members shall mutually agree to
deSignate an independent third partSr to be retained, and paid for by the Company, to provide the
decision in the best interest of the Company. Both Members shall•abide by the final decision of
the independent third party.
9.4 Composition of the Management Committee. The Management Committee shall consist
of two individuals. DIM Member and MINA. Member shall be entitled to appoint one
individual to the Management Committee. Initially, the members of the Management Committee
consist of Vincent M. Keber, El and Michael R. Llamas or Michael Mona



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9.5 General Powers of the Management Committee. Except foil those actions expressly
reserved for the Manager and Members (individtially or as a group) as • provided in this
Agreement, no act shall be taken, sum expended, decision made, obligation incurred or power
exercised by or on behalf of the Company with fespect to any of the following without the
written approval of the Management Committee'and as per approved budget(s):

               (a) the appointment or replacement of any officer of the Company;

               (b) incur or amend any indebtedness on behalf of the Company;

               (c) entry into, termination or amendment of any material contract, or any material
               election of rights or remedies or any other material decision or determination, or
               the granting of any material waivers or consents, under any material contract; for
               purposes of this Section 9,3(c) a material contract includes any contract which is
               reasonably expected to provide for the making of payments by the Company in
               any calendar year of greater than $50,000 (unless the payment for a particular
               contract in excess of such $50,000 threshold is expressly provided for in the
               Company's budget);

               (d) termination or amendment of any material governmental approval,
               authorization, license or permit

               (e) institution, compromise or settlement of any material litigation or arbitration
               proceeding, or settlement of any insurance claim for an amount in excess of fifty
               thousand dollars ($50,000);
                                                      • •
               (f) except as expressly provided in the Company's budget, the creation,
               incurrence, or assumption of any indebtedness of the Company for borrowed
               money;

               (g) distributions other than a distribution in connection with the dissolution and
               liquidation of the Company;

               (h) approval of the Company's budgets;

               (i) selection of the Company's accountants;

               G) creation or incurrence of any lien or encumbrance on any asset of the
               Company,

               (k) any transfer or license of any of intellectual property rights of the Company,

              (1) establishment of any reserves from Company funds, including reserves with
              respect to Company operations and reservei for the payment of Company
              obligations;

              (m) the purchase or acquisition of any equity securities (or any securities
              convertible into or exercisable for any equitY secufities),of any Person;


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                (n) the purchase or acquisition, directly or indirectly, of any assets in a transaction
                or series of related transactions for consideration (including assumed liabilities
                and indebtedness) in excess of one hundred thousand dollars ($100,000); or

                (o) entry into any contract or agreement to take any of the foregoing actions.

 9.6 Place of Meetings. Meetings of the Management Committee shall be held at the principal
 office of the Company as provided herein, or at such other place as may be designated by the
 Management Committee. The individuals serving on the Management Committee may appoint .
 from among themselves a chairperson to preside at meetings of the Management Committee.
 Any individual shall be permitted to attend any meeting of the Management Committee in person
 or by conference call pursuant to Section 9.14.

 9.7 Regular Meetings. The Management Committee shall . meet at least quarterly. No notice
 need be given of regular meetings that the Managenient Committee previously has designated a
 time and place for the meeting. .
 9.8 Special Meetings. Special ineetings of the ManageMent Committee may be held at any
 time upon the request of at least one (1) of the members of the Management Committee. A
 notice of any special meeting shall be sent to the last known address of each member at least
 seven (7)) days before the meeting. Notice of the time, place and purpose of such meeting may
 be waived in writing before or after such meeting; and shall be equivalent to the giving of notice.
 Attendance of a member at such meeting shall also constitute a waiver of notice thereof, except
 where such member attends for the express 'purpose of objecting to the transaction of any
 business on the ground that the meeting is not lawfully called or convened. Neither the business
 to be transacted at, nor the purpose of; any regular or special meeting of the Management
" Committee need be specified in the notice or waiver of notice of such meeting. The members of
 the Management Committee shall cooperate and use their reasonable best efforts to schedule
 meetings at times and places that will maximize attendance. • .
9.9 Quorum of and Action by the Management Committee. The presence, in person or by
conference call, of at least two (2) members of the Management Committee shall constitute a
quorum for the transaction of business at any meeting of the Management Committee
constituting at least one (1) designated by MINA Member and one -(1) designated by DIXIE
Member. Each member shall be entitled to one vote. Except as otherwise expressly provided in
this Agreement, any action to be taken or approved by the Management Committee hereunder
must be taken or apprbved by majority of the Management Committee and any action so taken or
approved shall constitute the act of the Management Committee.
9.10 No Compensation. The members of the Management Committee shall serve in such
capacity without compensation by the Company. The members of the Management Committee
will be entitled to reimbursemerit from the Company for their out-of-pocket expenses incurred in
attending any meeting.
                                                           •
9.11 - Resignation and Removal. Any member of the-Management Committee may resign at
any time by giving notice to the Company and -the Member that designated such individual.
Such resignation shall be made in writing and shall take effect upon the resignation date


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designated in the notice, or if no 'such date is designs.
                                                       . ted, upon the earlier of the receipt of such
notice of resignation by the remaining members of the Management Committee cir the time such
individual is replaced by the Member that designated such individual. Any individual serving on
the Management Committee by 'designation of a Member may be removed, either with or
without cause, only upon the written request of such Member. Any such removal shall be
effective upon the removal date designated in the request ; or if no such date is designated, upon.
the receipt of such request by the Company and by such individual.

9.12 Vacancies. Any vacancy occurrin. g With respect to an individual serving on the
Management Committee by designation of a Member shall be replaced by that Member pursuant
to Section 9.3.

9.13 Action by Written Consent. Any action that may be taken at a meeting of the
Management Committee may be taken without a meeting if a consent in writing, setting forth the
action to be taken, shall be signed by the Members.. No notice shall be required in connection
with the use of a written consent pursuant to this Section.

9.14 Standard of Care. Every Person serving on the Management Committee shall discharge
his or her duties as a Manager in good faith, with the care an ordinarily prudent person in a like
position would exercise under similar circumstances.

9.15 Conference Telephone Meetings. Meetings of the Management Committee may be held
by means of conference telephone or similar communications equipment so long as all persons
participating in the meeting can hear each other. Participation in a meeting by means of
conference telephone shall . constitute presence in person at such meeting, except where a person
participates in the meeting for the express purpose of objecting to the transaction of any business
at such meeting on the ground that the meeting is not lawfully called or convened.

9.16 Employment of Others. The Management Committee shall be authorized to appoint,
employ, or contract with, at the expense of the Company, .any Person it may deem necessary or
desirable for the transaction of the business of the Company as per approved budget.
9.17 Indemnification. Notwithstanding the foregoing, the Company shall indemnify, save
harmless and pay all judgments arising against the Management Committee and its members,
directors, officers, employees and agents from 'any cost, expense, claim, liability or damage
incurred by reason of such Person's relationship to the Company or any act performed or omitted
to be performed by them in connection with this Article 9 or the business of the Company,
including attorney's fees and costs incurred by them in connection with the defense of any action
based on any such act or omission, which attorneys' fees and costs may be paid as incurred,
including all such liabilities under any Federal or state securities act (including the Securities Act
of 1933, as amended) as permitted by law, except that the Company shall have no
indemnification obligation hereunder with respect to any act or omission of any Person that
constitutes willful misconduct, gross negligence, or was outside the scope of such Person's
authority under this Article 9. All judgments against the Company with respect to which any
Person is entitled to indemnification may only be satisfied from the Company's assets. Any
Person entitled to be indemnified hereunder shall also be 'entitled to recover its attorney's fees
and costs of enforcing this inderimity from the Company's assets. This section shall survive


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 termination of the Agreement. Any suit and/or action filed relating to this Agreement against an
 action or inaction of MJNA Member shall be the sole financial responsibility to defend said
 action and/or claim of the MJNA Meniber and shall indemnify DIXIE Member of same. Any
 suit and/or action filed relating to this Agreement againslan action or inaction of DIXIE Member .
 shall be the sole financial responsibility to defend said action and/or claim of the DIXIE Member
 and shall indemnify MINA Member of same.

                                      ARTICLE 10
                            INFORMATION AND CONFIDENTIALITY
10.1 Information. In addition to the other rights specifically set forth in this Agreement, each
Member is entified to all information to which that Member is entitled to have access pursuant to
the Act under the circumstances and subject to the conditions therein stated.
10.2 Confidentiality. Each Member acknowledges that, .from time to time, it may receive
information from or regarding thb Company or the 'other Member that is confidential in nature.
Each Member shall hold in strict 'confidence any confidential information it receives regarding
the Company or the other Member and may not disclose it to any Person, except for disclosures
(i) compelled by law (but the Member must notify the Management Committee promptly of any
request for that information, before disclosing it if practicable), (ii) to advisers or representatives
of the Member or Persons to which that Member's Intereit may be transferred as permitted by
this Agreement, but only if the recipients have agreed to be bound by the provisions of this
Article, or (iii) of information that Member haS also received from a source independent of the •
Company that the Member reasonably believes obtained the information without breach of
confidentiality. The Members aclmowledge that breach of the provisions of this Article may
cause irreparable injury to the Company for which monetary damages are inadequate, difficult to
compute, or both. Accordingly, the Members agree that the provisions of this Article may be
enforced by specific performance.

                                        ARTICLE 11
                                  TERMINATION; WINDING UP
11.1 Termination. At any time after the date hereof, the Members may unanimously agree in
writing to terminate this Agreement, without cost or penalty. The effective date of termination
under this Section 11.1 shall be the date on which the Members unanimously agree in writing.
11:2 Mandatory Offer to Sell. •

                   (a) Purchase Event. For purposes of this Agreement.any one of the following
                   events shall constitute a "PurchaseEvent":

                           (i) The Solvency oh Member or the making of an assignment for the
                           benefit" of creditors by the 'Member or the filing of a petition in
                           bankruptcy by or against the Member, or The distribution or transfer of
                           the Units, in whole or in part, to a spouse or third party by virtue of a
                           decree of dissolution of the Member's marriage or other order of a
                           couit


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                             (ii) The commission of any act by a Member, directly or indirectly
                             including through a thirthparty, which involves theft, embezzlement,
                             fraud, or other act of moral turpitude or criminal act (exclusive of
                             misdemeanors or infractions), committed against the Company, its
                             clients, employees, shareholders or affiliates, or against any third-party
                             if the Management Committee reasonably believes said acts will
                             damage or adversely affect the Company and its operations.
113 Purchase Price in Case of Insolvency or Wrongful Conduct. If the Purchase Event is an
event set forth herein, the per price at which the Member Interest shall calculated as (.50)
multiplied by the Company's average earnings before income taxes ("EBIT") over the 3 fiscal
years immediately preceding the date of the Purchase Event (or the average EBIT for those fiscal
years that the Company has been in existence if less than 3 fiscal years). The average EBIT of
the Company shall be computed by the' then outside accountant for the Company based on
generally accepted accounting principles.


11.4 Purchase Price' for Voluntary Termination — First Right of Refusal. If the Purchase
Event is an event set forth herein, the per price at which the Member Interest shall calculated as
(.75) multiplied by the Comomy's average earnings before income taxes ("EBIT") over the 5
fiscal years immediately preceding the date of the Purchase Event (or the average EBIT for those
fiscal years that the Company has been in existence if less than 5 fiscal years). The average
EBIT of the Company shall be computed by the then accountant for the Company based on
generally accepted accounting principles.


115 Method and Time of Payment. The purchase price.shall be paid to the selling Member
under Section 11.3 and Section 11.4 is as folloWs: .(i) as the Parties agree, or (ii) if they cannot
agree, then at the option of the purchasing Member(s) or Company, over a period of thirty-six
(36) months following the occurrence of any Purchase Event, with the principal unpaid balance
accruing interest thereon at a rate of 6% per annum or such other interest rate as may be fixed by
the Management Committee. The purchaser shall have, the right to prepay such amounts at any
time without premium or interest penalty.
11.6 Winding Up. If this Agreement is terminated and/or the Company is dissolved by a
unanimous vote of the Members the Company's affairs shall be wound up as soon as reasonably
practicable in the manner set forth below. The Company shall continue to abide by any contracts
or other agreements to which the Company is a party regarding the conduct of the ordinary
business of the Company.

                (a) Appointment of Liquidator. The winding up of the Company's affairs shall be
                supervised by a liquidator. The liquidator shall be appointed jointly by mutual
                agreement of the Members. In the event the Members cannot agree upon the
                appointment of a liquidator, 'then the Members shall seek the appointment of a
                liquidator through a court of competent jurisdiction. The liquidator to be
                established pursuant to these provisions shall have expertise in the area of real
                estate development


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               (b) Powers of Liquidator. In winding up the 'affairs of the Company, the
               liquidator shall have full right and unlimited discretion, for and on behalf of the
               Company:

                       (i)    to prosecute and defend civil; criminal or. administrative suits;

                       (ii) to collect Company assets; including obligations owed to the
                       Company;

                       (iii) to settle and close the Company's business;

                       (iv) to dispose of and convey all Company Property for cash, and in
                       connection. therewith to determine the time; manner and. terms of any sale
                       or sales of Company Property, having due regard for the activity and
                       condition of the relevant market and general financial and economic
                       conditions; •

                       (v) to pay all reasonable selling costs and other expenses incurred in
                       connection with the winding up of the proceeds of the disposition of
                       Company Property;

                       (vi) to discharge the Company's known liabilities and, if necessary, to set
                       up, for a period not to exceed five (5) years after the date of dissolution,
                       such cash reserves as the liquidator may deem reasonably necessary for
                       any contingent or unforeseen liabilities or obligations of the Company;

                       (vii) to distribute any remaining proceeds from the sale of Company
                       Property to the Members;

                      (viii) to prepare, execute, acknowledge and file articles of dissolution
                      under the Act and any other certificates, tax returns or instruments
                      necessary or advisable under any applicable law to effect the winding up
                      and termination of the Company; and

                       (ix) to exercise, without further authorization or consent of any of the
                      parties hereto or their legal representatives or successors in interest, all of
                      the powers conferred upon the Management Committee under the terms of
                      this Agreement. to the extent necessary or desirable in the good faith
                      judgment of the liquidator to perform its duties and functions. The
                      liquidator.(if not a member of the Mmiagement Committee), while acting
                       in such capacity on behalf of the Company, be entitled to the
                      indemnification rights set fprth herein.

11.7 Compensation of Liquidator. The liquidator 'appointed as provided herein shall be
entitled to receive such reasonable compensation for its services as shall be agreed upon by the
liquidator and all of the Members.

11.8 Distribution of Company Property and Proceeds of Sale Thereof.


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                   (a) Order of Distribution. Upon completion of all desired sales of Company
                   Property, and after payment of all selling costs and expenses, the liquidator shall
                   distribute the proceeds of such sales, and the Company Property that is to be
                   distributed in kind, to the following groups in the following order of priority:

                            (i) to the extent permitted by law, to satisfy Company liabilities to
                            creditors, including Members who are creditors through loans or otherwise
                            (other than for past due Company distributions) of the Company, whether
                            by payment or establishment of reserves;

                            (ii) to satisfy Company obligations to Members to pay past due Company
                            distributions;

                            (ifi) to the Members, in accordance with • the positive balances in their
                            respective Capital Accounts; and

                            (iv) to the Members in accordance with their respective Interests.

                   (b) Insufficient Assets. The claim's of each priority group specified above shall be
                   satisfied in full before satisfying any claims of a lower priority group. If the
                   assets available for disposition are insufficient to dispose of all of the claims of a •
                   priority group, the . available assets shall be distributed in proportion to the
                   amounts owed to each creditor or the respective Capital Account balances or
                   Interests of each Member in such group..
11.9 Final Audit. Within a reasonable time folldwing the* conviction of the liquidation, the
liquidator shall supply to each of the Members a statement which shall set forth the assets and
the liabilities of the Company as of the date of complete liquidation and each Member's pro rata
portion of distributions.

11.10 Deficit Capital Accounts. Notwithstanding anything to the contrary contained in this
Agreement, and notwithstanding any custom or rule of law to the contrary, to the extent that the
deficit, if any, in the Capital Account of any Member results from or is attributable to deductions
and losses of the Company (including non-cash items such as depreciation), or distributions of
money pursuant to this Agreement to all Members in proportion to their respective Interests,
upon dissolution of the Company such deficit shall not be an asset of the Company and such
Member shall not be obligated to contribute such amount to the Company to bring the balance of
such Member's Capital Account to zero.

                                          ' ARTICLE 12
                                   INDEMNIFICATION, INSURANCE
12.1 Indemnification and Advance of Expenses. The Company shall indemnify and/or
advance expenses to a Person who was, is, or is threatened to be made a named defendant or
respondent in a proceeding because the person (i) is or was a member of the Management
Committee, a Member, officer, employee or agent of the Company, or (ii) is or was serving at
the request of the Company as a manager, member, director, officer, partner, proprietor, trustee,
employee, agent, or similar functionary of another foreign or domestic limited liability company,
                                                             .   .
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corporation, partnership, joint venture, sole proprietorship, trust, employee benefit plan, or other
enterprise, to the fullest extent provided by, and in accordance with the procedures set forth in
any applicable laws.

12.2 Insurance. Subject to the .Act, the Company may purchase and maintain officer and
director insurance, or other insurance and/or arrangements on behalf of any Person who is or was
a member of the Management Committee, a Member, employee, agent or other Person identified
above in Section 12.1 against any. liability asserted against him or incurred by him in such a:
capacity or arising out of his status as such a Person, .whether or not the Company would .
otherwise have the power to indemnify him against that liability.
12.3 Limit on Liability of Members. The indeninificatioft set forth in this Article 15 shall in
no event cause the Members to incur any liability beyond their total Capital Contributions, nor
shall it result in any liability of the Members to any third party.

                                        ARTICLE 13
                                 MICELLANEOUS PROVISIONS
13.1 Entire Agreement. This Agreement contains the entire agreement among the Members
relating to the subject matter hereof, and all prior agreements relative hereto which are not
contained herein are terminated.

13.2 Governing Law. This Agreethent shall be governed by and construed in accordance
with the local, internal laws of the State of California. In particular, this Agreement is intended
to comply with the requirements of the Act and the Articles of Organization. In the event of a
direct conflict between the provisions of this Agreement and the mandatory, non-waivable and/or
non-modifiable provisions of the Act, or any provision of the Articles of Organization, then the
Act, and the Articles of Organization, in that order of priority, will control.
13.3 Mediation of Disputes. The Members agree that any and all disputes Concerning this
agreement will first be subject to mediation prior to any party filing for arbitration or any other
methods if dispute resolutions Should the parties not be able to settle this matter through
mediation, they agree to arbitrate the subject dispute pursuant to Section 13.4.
13,4 Arbitration of Disputes. .Any dispute or claim in law or equity between Members
arising out of this Agreement shall be decided by neutral, binding arbitration and not by Court
action, except as providedhy California law for judicial review of arbitration proceedings. The
arbitration shall be conducted in accordance with the rules of the California Civil Codes and
Code of Civil Procedures. .

133 Successors and Assigns: This Agreement shall be binding upon i and shall inure to the
benefit of the Members and their respective heirs, legal representatives, successors and assigns.
13.6 Severabilitv. This Agreement is intended: to be performed in accordance with, and only
to the extent permitted by, all applicable laws, ordinances, rules and regulations. If any
provision of this Agreement or the application thereof to 'any Person or circumstance shall, for
any reason and to any extent, be invalid or unenforceable, but the extent of such invalidity or
unenforceability does not destroy the basis of the bargain among the Members as : expressed


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 herein, the remainder of this Agreement and the application of such provision to other Persons or
 circumstances shall not be affected thereby, but rather shall be enforced to the greatest extent
 permitted by law.

 13.7 Headings. The Article and Article headings appearing in this Agreement are for
 convenience of reference only and are not intended, to any extent or for any purpose, to limit or
 define the text of any Article.

 13.8 Construction. Whenever required by the context, as used in this Agreement, the singular
 number shall include the plural, and vice versa, and the gender of all words used shall include the
 masculine, feminine and the neuter. Unless expressly stated herein, all references to Articles
 refer to articles of this Agreement, and all references to Exhibits are to schedules attached hereto,
 each of which is made a part hereof for all purpoSes.

 13.9 Offset Whenever the Company is to pay any sum to any Member, any amounts that
 Member owes the Company may be deducted from that sum before payment.

13.10 Effect of Waiver or Consent A waiver or consent, express or implied, to or of any
breach or default by any Person in the performance by that Person of its obligations with respect
to the Company is not a consent or waiver to or of any other breach or default in the performance
by that Person of the same or any other obligations of that Person with respect to the Company.
Failure on the part of a Person to complain of any act of any Person or to declare any Person in
delimit with respect to the Company, irrespective of how long that failure continues, does not
constitute a waiver by that Person of its rights with respect to
                                                               . that
                                                                   . default until the applicable
statute-of-limitations period has run.

13.11 Waiver of Certain Rights. Each Member irrevocably waives any right it may have to
maintain any action for partition of the property of the Couipany,

13.12 Counterparts and Binding Effect Thig Agreement may be executed in one or more
counterparts, each of which shall be an original, but all of which taken together shall constitute a
single document. This Agreement shall be binding upon each Member as evidenced by their
signatures below.

 13.13 Attorney's Fees. If any Member becomes involved in litigation or proceedings arising
 out of or in connection with this Agreement, including, but not limited to, the interpretation or
performance thereof; the court or tribunal in such litigation or proceeding, or in a separate suit,
 shall award attorney's fees to the prevailing party. Unless judgment goes by default, the attorney
 fee award shall not be computed in accordance with any court schedule, but shall be such as to
fully reimburse all attorney's fees actually incurred in good faith, regardless of the size of the
judgment, it being the intention of the Members to fully compensate for all the attonaey's fees
paid or incurred in good faith by the prevailing party. •

13.14 Amendment of Agreement This Agreement may be amended only in writing, in whole
or in part, at any time only by the execution thereof by all of the Members. No provision of this
Agreement may be waived except by a writing signed by the party to be charged therewith.



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 13.15 Notices. Notifications, as defined above, given under this Agreement shall be duly given
 to the appropriate addresses set forth below (or to such other addresses as a party may designate
 as to itself by notice to the other):

                If to MINA MEMBER: •
                     ' Medical Marijuana, Inc.
                        2665 Arlene Drive, Suite 207, San Diego, CA 9211'
                        Tel: 209-207-9691; Fax: 866,763-6414

               If to DIXIE MEMBER:
                      Dixie Holdings, LLC
                       Vincent a Keber, ifi.
                       6701 East Stapleton Drive North, Denver, CO 80216
                       Tel:                          Fax:

       IN WITNESS WHEREOF, the Majority Interest Members of the Company have
evidenced the adoption of this Agreement in accordance with The Act by their signatures below,
such adoption to be effective as of the Effective Date first above written.

                                             MEMBERS:

                                             Medical Marijuana, Inc.




                                            - Dixie Holdings, LLC

                                             By:
                                             Print Name:          A IPII
                                                                    icIIrafria..
                                             Its:                        lirsa
Exhibits Attached
Eihibit A — Red Dice Holdings, Lie• Formation Documents
Exhibit 8— Membership Interest .
Exhibit C — Keber and Smith Nonaiselosurth NonCompetes
Exhibit D — De Member Inventory to be Transferred •
Exhibit E — Exclusive Licensing Agreement with Left Bank, LLC
Exhibit F — ICeber Employment Contract Smith Consulting Agreement
Exhibit G— Licensing Agreement-with MINA for Terrespliere Grow Technology
Exhibit H — Operating Budget




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                                        EXHIBIT A

                             NEW ENTITY FORMATION DOCUMENTS




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                                         EXHIBIT B
                                   MEMBERSHIP INTEREST
                                                                         1
  MEMBER '                                      . MEMBERSHIP             1
                                                 INTEREST    .           i
                                                                         I
  Medical Marijuana, Inc.     -                   %
  2665 Ariane Drive, Suite 207 .                                         I
  San Diego, CA 92117


 Dixie Holdings, LLC                            40% •
 6701 East Stapleton Drive North
 Denver, CO 80216




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                                   EXHIBIT C
                 REBER AND SMITH NONDISCLOSURE / NONCOMPETE'S




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                                                               Exhibit e."

                                      Non-Disclosure, Noe-Compete, Confidentiality Agreement

          Confidentiality and Nondisclosure Agreement (the "Agreement'), effective this         day of April 2012, by and among the
  undersigned Employee Vincent M. Keber Ill (the "Employee"), whose mailing address is 1301 Wane St. Unit 2E, Denver CO 80204
  and, Medical Marijuana, Inc., its affiliates and/or assigns, whose Corporate mailing address is 2665 Ariane Drive Suite 207, San
  Diego, CA 92117(the "Company/Corpora(e").

                                                   BACKGROUND INFORMATION

           The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
 products, manufacturing, research/development and related businesses (collectively the "Business's). The Company wishes to employ
 the Employee in connection with the Company's Business and the Employee has agreed to become or continue to be so employed.
 Pursuant to such employment, the Employee has been and/or will be exposed to and has received or will receive confidential and
 proprietary information of the Company or relating to the Company's business or affairs as defined in Section 1(a) below. The parties
 acktiotviedge and agree that the Trade Secrets and Other Confidential Information am valuable, special and unique assets of the
 Company and that the Trade Secrets and Other Confidential Information which the Employee has received and/or will receive would
 allow the Employee.or a third Party recipient of such information to unfairly and inequitably compete against the Company and to
 otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of The mutual agreements contained
 herein, the parties agree as follows:

                                                      OPERATIVE PROVISIONS
 1.         Confidentiality.

                    a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
 Information" shall mean information disclosed to. Employee as a consequence of their employment relationship with the Company
 (and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written Of
 oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
 processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
 practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
 information as to other business relationships of the Company and related matters.

                    Employee shall not disclose, during or after the term of Employee's employment with the Company, all or any part
of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the event
of Employee's breach or threatened breach of this section, the Company shall be entitled to a preliminary restraining order and an
injunction to restrain and enjoin Employee from such disclosure. In addition to or in lieu of such action, the Company may pursue all
other remedies available for such breach or threatened breach, including but not limited to.the recovery of damages from Employee.
                  b.       Unauthorized Disclosure. The. Employee agrees that during the course of his/her employment with the
 Company and until the date ending four (4) years following termination the Employee will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or fermi'to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he qball retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restrictimi Upon the termination of employment, the Employee
promptly will supply to the Company all property,. keys and Confidential Information which has been produced by, received by or
otherwise submitted to the Employee in the course of his/her employment with the Company, including the period during and prior to
the Employee's employment with the Company,

                c.          Inventions, The Employee agrees that any and all inventions, discoveries, improvements, processes,
 copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Employee relating
thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolutt owner thereof
          2.     Prohibited and Competitive Activities. The Employee and the Company recognize that due td the nature of the
Employee's engagement by the Company, the Employee has had and will have access to Trade Secrets and Other Confidential
Information. The Employee aclmowledges that sea Trade Secrets and Other Confidential Information has been and will be of central
importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
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• limitation, the Employee (other than with respect to. the Company's business and affairs) could cause substantial loss to the Company,
   The Employee accordingly agrees as follows:

                     a        Prohibited Activities. The Employee will not, at any time during the course of Employee's employment
  and for the' four (4) year period following the termination of Employee's employment: (i) directly or through one or more
  intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
  solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
  account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
  activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
  otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
  Company or any Affiliate thereof; or (iit) publish Or make any statement critical of the Company, or its Affiliates, or any of their
  respective Employees, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
  reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
  Company shall not publish or make any statement critical of the Employee in any way that would adversely affect or otherwise malign
  his/her reputation.

                     b.       For a period of four (4) years after the termination of this Agreement, Employee shall not, within a radius
  of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
  operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
  similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Employee's actual or
  threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in order
  to restrain Employee from such breach. Nothing in this Agreement shall be construed to prohibit the Company from pursuing any
  other available remedies at law or in equity.

          3         Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
 unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
 effective and be specifically enforceable against the Employee.

           4         Enforcement The parties understand and agree that the covenants set forth in this Agreement are essential
  elements of the Company's engagement of the Employee and that without the Employee's agreement to comply with such covenants;
  the Company would not have agreed to engage or to continue to engage the Employee, or to provide Employee with Trade Secrets and
  Other Confidential Information. Further, the Employee expressly acknowledges that the restrictions contained in this Agreement are
 reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
  interests in protecting their business. The Employee further acknowledges that any violation of the restrictions contained in this
 Agreement will cause significant and irreparable harm to tbe, for which the Company Company's remedy is binding arbitration as
 defined in section 16 of "Employment Agreement The Company shall also be entitled, upon application to a court of competent -
 jurisdiction, to obtain injunctive relief, including but not limited to a 'temporary restraining order, a temporary or preliminary
 injunbtion or a permanent injunction, to enforce the provisions of this Agreement.

         5.      Intent of Parties. The covenants and agreements herein shall be congtraed as agreements independent of any other
 provision of Employee's employment

          6.       Mandatory Disclosure. The Employee shall, in the event that he/she is requested or required (by oral question,
 interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
 supplied to the Employee in the course of his/her dealings with the Company, if he/she may lawfully required to do so.

          7.        Redelivery of Confidential IVfaterfaL Upon the Company's request, and in any case upon the termination of
 Employee's employment, the Employee shall promptly deliver to the Company all written data containing, or reflecting any
 information about the Company, its shareholders, officers, directors, Employees, agents or consultants, (whether prepared by the
 Company or otherwise, and whether in the possession of the Employee or his/her representatives) and will not retain any copies,
 extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Employee of
 his/her obligation of confidentiality or of the other obligations imposed hereunder.

          8.       Miscellaneous Provisions.

          a.       Notices. All notices, requests or other communications under this Agreement shall be in writing and shall be
 considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
 Service from within the United States by certified mail, postage prepaid aiad return receipt requested, or sent by telecopier, and
 addressed to the location set forth in the preamble to this Agreement or to such other address or teleeopier number as any party may
 have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
 Mails, delivered or transmitted via Telecopier.
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           b.          nre Aareement This Agreement sepercales and is in MI substitution for any previous confidentiality,
   nondisclosure, or noncoropete agreement previously signed by the Employee in contemplation of, or during his/her employment with
   the Company.

                c.      Assignment
   Employee.                         This Agreement shall be assignable by the Company without the prior written consent of the

            d.        Acknowledgments. The Employee acknowledges that he/she tuts been provided with a copy of this Agreement for
   review prior to signing it, that the Company hereby encourages the Employes to have this Agreement reviewed by his/her own
   attorney prior to signing it, that the Employee has
   the purposes and effects of this Agreement          signed the Agreement of his/her own free will, and that the Employee understands

           e,         Headings. The headings of this Agreement are inserted for -convenience and identification only, and are in no way
  intended to describe, interpret, define or limit the scope, extent or intent of this
                                                                                       Agreement or any provision hereof
           C         Application of California Lent This Agreement, and the -
                                                                                      application or interpretation thereof, shall be governed
  exclusively by its terms and by the laws of the State of California and Venue residing in San Joaquin County.

                        faggergath. This Agreement may be executed in any number of counterparts, each of Which shall be deemed an
  aright

           IL        Arbitration. Any controversies arising out of the talus of this Agreement or Rs interpretation shall be settled in San
 Francisco, California in accordance with the ruhrs of the American Arbitration Association, and the judgment upon award may be
 entered in any court having jurisdiction thereof.
                                                                                                      •
                      Waiver. The waiver by the Company of a breach or thitatoried.breach of this Agreement    shall not be construed as a
 waiver of any subsequent breach by the Employee. The refusal or failure of the Company to enforce the restrictive covenants
 contained herein or contained in any other similar
                                                         agreement against any other Employee, agent, or independent connector of the
 Company, for anyreason, shall not constitute a defense to the enforeentent of this Agreement by the Company against the Employee,
 nor shall it give rise to any claim or cause of action by such Employee against the Company.
          j..      Affiliate The term "affiliate when -
 indirectly Controls, or is under common control with, used   in this Agreement shall mean any other person or entity that directly or
                                                        or is controlled by the specified person or entity herein, or if a pence.
 member of the immediate family of such individual, or any entity framed on                                                        any
                                                                                  behalf of the Company and/or IA which Michael K
 Llamas has ownership- of any nature ; As used in this definition, "control'
 direct or came the direction of management or policies and                  shall mean possession, directly or indirectly, of power to
                                                              "immediate farruly" shall mean any parent, child, grandchild, spouse,
                                                                                                                                     or
          k.       Conmanyt The term "Company' as used herein, shall include the Company and any Affdiate Of
 shareholders, consultants, office's, directors, and subsidiarick.                                           the ComPany, its
                                                                                   •

          ha witness whereat the parties have hereunto 'recanted this Agreement

                                                                 Company

                                                                 Medical Mariivana, Inc.

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                                                                                           .




                                                                 Vincent M. Reber 133



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                                                               Exhibit

                                   Non-Disclosure, Non-Compete, Confidentiality Agreement
                                                                                 •
         Confidentiality and Nondisclosure Agreement (the '"Agreement"), effective this       day of April 2012, by and among the
 undersigned Employee Vincent M. Kober III (the "Employee"), whose mailing address is 1301 Wane St. Unit 2E, Denver CO 80204
 and, Red Dice Holdings, LLC, its affiliates and/or assigns, whose ccirporate mailing address is 2665 Mane Drive Suite 207, San
 Diego, CA 921I7(the "Company/Corporate"). '

                                                   BACKGROUND INFORMATION

           The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
 products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
 the Employee in connection with the Company's Business and the Employee has agreed to become or continue to be so employed.
 Pursuant to such employment, the Employee has been and/or will be exposed to and has received or will receive confidential and
 proprietary information of the Company or relating to the Company's business or sffrirs as defined in Section 1(a) below. The parties
 acknowledge and agree that the Trade Secrets and Other Confidential Information are 'valuable, special and unique assets of the
 Company and that the Trade Secrets and Other Confidential Information which the Employee has received and/or will receive would
 allow the Employee or a third party recipient of such information to unfairly and inequitably compete against the Company and to
 otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the mutual agreements contained
 herein, the parties agree as follows:

                                                      OPERATIVE PROVISIONS
 1.        Confidentiality.

                    a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
 Information" shall mean information disclosed to Employee as a consequence of their employment relatiOnship with the Company
 (and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
 oral, including but not limited to technical information, computer software, how-how, product information, concepts, operational
 processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
 practices, customer, investor and/or vendor lists, inantlfarturing processes, designs, trade processes or secrets, industry research and
 information as to other business relationships of the Company and related matters.

                    Employee shall not disclose, during or after the term of Employee's employment with the Company, all or any part
of the Confidential Information to any person, corporation, other legal entity, ororganization for any reason or purpose. In the event
of Employee's breach or threatened breach of this section, the Company shall be entitled to a preliminanr restraining order and an
injunction to restrain and enjoin Employee from such disclosure. In addition to or in lieu of such 'action, the Company may pursue all
other remedies available for such breach or threatened breach, including but not limited to the recovery of damage,s finm Employee.

                  b.        Unauthorized Disclosure. The Employee agrees that during the course of his/her employment with the
 Company and until the date ending four (4) years following termination the Employee will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restriction. Upon the termination of employment, the Employee
promptly will supply to the Company all property, keys and Confidential Information which has been produced by, received by or
otherwise submitted to the Employee in the course of his/her employMent with the Company, including the period during and prior to
the Employee's employment with the Company.                              .      -
 •              c.          Inventions. The Employee agrees that any and all inventions, discoveries, improvements, processes,
 copyrights and trademarks made, developed, discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all lmowledge possessed by the Employee relating
thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereoL

          2.      Prohibited and Competitive Activities. The Employee and the Company recognize that due to the nature of the
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 Employee's engagement by the Company, the Employee has had and will have access to Trade Secrets and Other Confidential
 Information. The Employee acknowledges that such Trade Secrets and Other Confidential Information has been and will be of central
 importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
 limitation, the Employee (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
 The Employee accordingly agrees as follows:

                    a        Prohibited Activities. The Employee will not, at any time during the course of Employee's employment
 and for the four (4) year period following the termination of Employee's employment (i) directly or through one or more
 intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
 solicitation, is employed by the Company or any Affiliate thereof; (li) directly or indirectly, whether for his/her own account or for the
 account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
 activity intended to terminate, disrupt or interfthe with, the Company's or any of its Affiliate's relationships with, customers, or
 otherwise adversely affect the Company's or any of its Affiliate's relationship :with•Customers or other business relationships of the
 Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
 respective Employees, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
 reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
 Company shall not publish or make any statement critical of the Employee in any way that would adversely affect or otherwise malign
 his/her reputation. •

                    b.       For a period of four (4) years after the termination Of this Agreement, Employee shall not, within a radius
 of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, Manage,
 operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
 similar to the type of business conducted by the.Company at. the time this Agreement terminates. In the.event of Employee's actual or
 threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in order
 to restrain Employee from such breach. Nothing id this Agreement shall be construed to prohibit the Company from pursuing any
 other available remedies at law or in equity,

           3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
 unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
 effective and be specifically enforceable against the Employee.

           4        Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
 elements of the Company's engagement of the Employee and that without the Employee's agreement to comply with such covenants;
 the Company would not have agreed to engage or to continue to engage the Employee, or to provide Employee with Tiede Secrets and
 Other Confidential Information. Further, the Employee expressly acknowledges that the restrictions contained in this Agreement are
reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
 interests in protecting their business. The Employee further acknowledges that any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the for which the Company Company's remedy is binding arbitration as
 defined in section 16 of "Employment Agreement. The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement.

        5.      Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Employee's employment. •

         6.       Mandatory Disclosure. The Employee shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Employee in the course of his/her dealings with The Company, if he/she may lawfully required to do so.
          7. -.    Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Employee's employment, the Employee shall promptly deliver to the Company all written data containing, or reflecting any
information about the Company, its shareholders, officers, directors, Employees, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the Employee or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data The redelivery of such material shall not relieve the Employee of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

          8.      Miscellaneous Provisions.

         a.      Notices. All notices, requests or other communications 'under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
Service from within the United States by certified mail, postage prepaid and return receipt requested, or sent by telecopier, and
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 'addressed to the location set faith in the preamble to this Agreement or to such other address or telecopier number as any party may
  have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
  Mails, delivered or transmitted via Telecopier.

          b.       Entire Agreement This Agreement supexcedes and is ih fall substitution for any previous confidentiality,
 nondisclosure, or noncompete agreement previously signed by the Employee in contemplation of, or during his/her employment with
 the Company.

        c.           Assignment. This Agreement shall be assignable by.'the Company without the prior written consent of the
 Employee.

          d.        Acknowledgments. The Employee acknowledges that helshe has been provided with a copy of this Agreement for
 review prior to signing it that the Company hereby encourages the Employee to have this Agreement reviewed by his/her own
 attorney prior to signing it, that the Employee has signed the Agreement of his/her own free will, and that the Employee understands
 the purposes and effects of this Agreement.

          e.       Readings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
 intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision brace&

          L         Anolication of California Law. This Agreement, and the application or interpretation thereat shall be governed
 exclusively by its tering and by the laws of the State of California and venue residing in San Joaquin Camay:
             g.      Catunerparta. This Agreement may be executed In any number of counterparts, each of which shall be deemed an
 original.

         h.      Arbitration. Any controversies arising out of the terms of this Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the ruleS Of the American Arbitration Assooittion, and the judgment upon award may be
entered in any coed bracing jurisdiction thereof.                                ,
         I.         War. The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed
waiver of any subsequent breach by the Employee. The refusal or failure of the Company to enforce the restrictive covenants
contained herein or _Contained iit any other similar agreement against any other Employee, agent, or independent contractor of the
Company, for any reason, Shall not constitute a defense to the enforcementof this Agreement by the Company against the Employee,
nor shall it giVe rite to any claim or cause of action by such Employee against the Company.
         j.,       Affiliate: The temi "affiliate when used in this Agreement shall ratan any other person or entity that directly or
indirectly controls, or is under common control with, or is controlled by dm specified persoit or entity herein, or if a person, any
member of the immediate family of such indiyiduat. or any entity funned on behalf Of the Company and/or in which Michael It
Llamas, has ownership of any nature. As used in this dermitioCcontror shall mean possession, directly
                                                                                                           or indirectly, of power to
direct or cause the direction of management or polities and "immediate family" shall mean any parent, child, grandchild, spouse, or

        k.        Company: The term "Company" as used berth; shall include the Company and any Affiliate of the Company, its
shareholders, consultants, officers, directors, and subsidiaries.

                                                                     •
         In witness whercoC the parties have hereunto executed this Agreement

                                                               Cori:many

                                                               Peri Dice Holdings, Lie.


                                                                   Print Name:


                                                               Employecap



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                                                               Exhibit C.,

                                       Non-Disclosure, Non-Compete, Confidentiality Agreement

          Confidentiality and Nondisclosure Agreement (the "Agreement"), effective this           day of April 2012, by and among the
  undersigned Consultant Charles K. Smith (the "Consultant"), whose mailing address is 108 Augusta Court, Faithope AL 36532 and,
  Medical Marijuana, Inc., its affiliates and/or assigns, *hose corporate mailing address is 2665 Ariane Drive Suite 207, San Diego,
  CA 921I7(the "Company/Corporate").

                                                   BACKGROUND INFORMATION

           The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
 products, manufacturing, research/development and related businesses (collectively the "Business"). The Company wishes to employ
 the Consultant in connection with the Company's Business and the Consultant has agreed to become or continua to be so employed.
 Pursuant to such employment, the Consultant has been and/or will be exposed to and has received or will receive confidential and
 proprietary information of the Company or relating to the Company's business .or affairs as defined in Section 1(a) below. The parties
 acknowledge and agree that the Trade Secrets and Other Confidential Information are valuable, special and unique assets of the
 Company and that the Trade Secrets and Other Confidential Information which the Consultant has received and/or will receive would
 allow the Consultant or a third party recipient of such information to unfairly and inequitably compete against the Company and to
 otherwise cause the Company significant and irreparable harm. Accordingly,. in consideration of the - mutual agreements contained'
 herein, the parties agree as follows:

                                                     • OPERATIVE PROVISIONS
 1.        Confidentiality.

                    a.        Definition: For purposes of this Agreement, collectively the terms 'Trade Secrets and/or Confidential
 Information" shall mean information disclosed to Consultant as a consequence of their employment relationship with the Company
 (and/or its subsidiaries or affiliates) and not generally ImOwn in their industry, whether tangible or intangible and whether written or
 oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
 processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
 practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
 information as to other business relationships of the Company and related matters.

                     Consultant shall not disclose, during or after the term of Consultant's employment with the Company, all or any         1
 part of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the      I
                                                                                                                                             I
 event of Consultant's breach or threatened breach of this section, the Company shall beentitied to a preliminary restraining order and      I
 an injunction to restrain and enjoin Consultant from such disclosure. In addition to or in lieu of such action, the Company may pursue
 all other remedies available for such breach or threatened breach, including but not limited to the recovery of damages from
 Consultant

                   b.      Unauthorized Disclosure. The Consultant agrees that during the course of his/her employment with the
Company and until the date ending four (4). years following termination the Consultant will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose Or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confidential Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial reatriction. Upon the termination of employment, the
Consultant promptly will supply to the Company all' property, keys and Confidential Information which has been produced by,
received by or otherwise submitted to the Consultant in the course of .his/her employment with the Company, including the period
during and prior to the Consultant's employment with the Company.          •
                 c.          Inventions. The Consultant agrees did any and all inventions, discoveries, improvements, processes,
 copyrights and trademarks made, developed, diseovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise, which relate to the business of the Company, and all knowledge possessed by the Consultant relating
 thereto (collectively, the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereof.
         2.      Prohibited and Competitive Activities, The Consultant and the Company recognize that due to the nature of the
Consultants engagement by the Company, the Consultant has had and will have access to Trade Secrets and Other Confidential
Information. The Consultant acknowledges that such Trade Secrets and Other Confidential Information has been and will be of central
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importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
limitation, the Consultant (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Consultant accordingly agrees as follows: .

                   a        Prohibited Activities. The Consultant will not, at any time during the course cif Consultant's employment
and for the four (4) year period following the termination of Consultant's employment: (i) directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement Critical of the Company, or its Affiliates, or any of their
respective Consultants, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited Activity"); unless required to do so by law.
Company shall not publish or make any statement critical of the Consultant in any way that would adversely affect or otherwise
malign his/her reputation.

                   b.       For a period of four (4) years after the termination of this Agreement, Consultant shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Consultant's actual
or threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in
order to restrain Consultant from such breach, Nothing in this Agreement shall be construed to prohibit the Company from pursuing
any other available remedies at law or in equity.

          3       Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Consultant.

          4        Enforcement The parties understand and agree that the covenants set forth in this Agreement are essential
 elements of the Company's engagement of the Consultant and that without the Consultant's agreement to comply with such covenants;
 the Company would not have agreed to engage or to continue to engage the Consultant, or to provide Consultant with Trade Secrets
 and Other Confidential Information. Further, the Consultant expressly acknowledges that the restrictions contained in this Agreement
are reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
interests in protecting their business. The Considtant fiather acknowledges that any Violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the for which the Con:many Company's remedy is binding arbitration as
 defined in section 16 of "Employment Agreement The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
injunction or a permanent injunction, to enforce the provisions of this Agreement

         5.      Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Consultant's employment

         6.       Mandatory Disclosure. The Consultant shall, in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Consultant in the course of his/her dealings with the Company, if he/she may lawfully required to do so.

         7.        Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Consultant's employment, the Consultant shall promptly deliver to the Company all written data containing, or reflecting any
information about the Company, its shareholders, officers, directoryConsultants, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the Consultant or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Consultant of
his/her obligation of confidentiality or of the other obligations imposed hereunder.

            8.      Miscellaneous Provisions.

         a.       Notices. All notices, requests or other communications under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
Service from within the United States by certified mail, postage prepaid and return receipt requested, or sent by telecopier, and
addressed to the location set forth in the preamble to this Agreement or to such other address or telecopier number as any party may
have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective when deposited in the U.S.
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Mails, delivered or transmitted via Telecopier.

        b.        Entire Agreement. This Agreement superctdes and is in MI substitution for any previous confidentiality,
nondisclosure, or noucompete agreement previously signed by the Consultant in contemplation of or during his/her employment with
the Company.

        c.          Assignment This Agreement shall be assignable by the Company without the prior written consent of the
Consultant
         d         Aclanwledgments. The Consultant aclmowledges that he/she has been Provided with a copy of this Agreement for
review prior to signing it, that the Company hereby encourages the Consultant to have this Agreement reviewed by hisTher own
attorney prior to signing it, that the Consultant has signed the Agreement of lithther own free will, and that the Consultant understands
the purposes and effects of this Agreement
                                                                   •
         e.        Headings. The headings of this Agreement are inserted for convenience and identification only, and are in no way
intended to describe, interpret, define or limit the scope, extent or intent of this -Agreement or any provision hereof

        f         Atitalegiganinliagnieja. This Agreement; and the application or interpretation thereof, shall be governed
eSclusively by its tans and by the laws of the State of California and venue nesitlitig in San Joaquin County.

           g.       Pam& This Agreement may be executed in any number of counterparts, each of which shall be deemed an
edging].

         h.      Arbitration. Any controversies arising out of the Lulls of this Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the nuts of the Ant:dean Arbitration Association s and the judgment upon award may be
entered in any court hmiing jurisdiction thereof.

          i.        Waiver The waiver by the Company of a breach or threatened breach of this Agreement shall not be construed as a
waiver of any subsequent breach by the Consultant The refusal or failure of the Company to enforce the sestative covenants
contained herein or contained in any other similar agreement against any other Consultant, agent, or independent contractor of the
Company, for any reason, shall not constitute a defense to the enforcernent of this Agreement by the Cornpany againat the Consultant,
nor shall it give rise to any claim or cause of action by such Consultant against the Company.

         .1.•     Affiliate: The term "affiliate" when used in this Agra
                                                                      . ement shall mean any other person or entity that directly or
indirectly controls, or is under common control with, or is controlled by the specified person or entity herein, or if a person, any
member of the immediate family of such individual, or any entity formed op behalf of the Company and/or in whiph Mithael
Llamas has ownership of any nature. As used in this definition, "control" shall mean possession, directly or indirectly'', of povier to
direct or cause the direction of management dr policies and "itnmeillagthmily" shall mean any parent, child, grandchild, spouse, or
sibling.

                  Conmanvz The term "Company as used herein, shall include the Company and any Affiliate of the Company, its
shareholders, consultants, officers, directors, tied subsidiaries.


           In winless whereof, the penies have hereunto executed this Agreement.

                                                                 Company         •
                                                                 Waal Mari-Mona Inc.
                                                         •       By:.
                                                                    hint Name:


                                                                 Cons?,



                                                             .   Charles IC, Smith


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                                                             Exhibit

                                     Non-Disclosure, Non-Compete, Confidentiality Agreement

        Confidentiality and Nondisclosure Agreement (the "Agreenient"), effective this       day of April 2012, by and among the
undersigned Consultant Charles K. Smith (the "Consultant"), whose mailing address is 108 Augusta Court, Fairhope AL 36532 and,
Red Dice Holdings, LLC, its affiliates and/or assigns, whose corporate mailing address is 2665 Mane Drive Suite 207, San Diego,
CA 92117(the "Company/Corporate).

                                                 BACKGROUND INFORMATION

          The Company and its Affiliates (as defined herein) are engaged in the business of providing legal and cannabis based
products, manufacturing, research/development and related businesses (collectively the 'Business"). The Company wishes to employ
the Consultant in connection with the Company's Business and the Consultant has agreed to become or continue to be so employed.
Pursuant to such employment, the Consultant has been and/or will be exposed to and has received or will receive confidential and
proprietary information of the Company or relating to the Company's business or affairs as defined in Section 1(a) below. The parties
acknowledge and agree that the Trade Secrets and Other Confidential Information are valuable, special and unique assets of the
Company and that the Trade Secrets and Oilier Confidential Information which the Consultant has received and/or will receive would
allow the Consultant or a third party recipient of such information to unfairly and inequitably compete against the Company and to
otherwise cause the Company significant and irreparable harm. Accordingly, in consideration of the mutual agreements contained
herqin, the parties agree as follows:

                                                     OPERATIVE PROVISIONS

1.        Confidentiality.

                   a.        Definition: For purposes of this Agreement, collectively the terms "Trade Secrets and/or Confidential
Information" shall mean information disclosed to Consultant as a consequence of their employment relationship with the Company
(and/or its subsidiaries or affiliates) and not generally known in their industry, whether tangible or intangible and whether written or
oral, including but not limited to technical information, computer software, know-how, product information, concepts, operational
processes, business and marketing plans/promotions, development, financial information, expansion plans, business policies and
practices, customer, investor and/or vendor lists, manufacturing processes, designs, trade processes or secrets, industry research and
information as to other business relationships of the Company and related matters.

                   Consultant shall not disclose, during or after the term of Consultant's employment with the Company, all or any
part of the Confidential Information to any person, corporation, other legal entity, or organization for any reason or purpose. In the
event of Consultant's breach or threatened breach of this section, the CompanY shall be entitled to a preliminary restraining order and
an injunction to restrain and enjoin Consultant front such disclosure. In addition to or in lieu of such action, the Company may pursue
all other remedies available for such breach or threatened breach, including but not limited to the recovery of damages from
Consultant

                  b.       Unauthorized Disclosure. The Consultant agrees that during the course of his/her employment with the
Company and until the date ending four (4) years following termination the Consultant will keep such Trade Secrets and Other
Confidential Information confidential and will not disclose or furnish to any other person or, directly or indirectly, use for his/her own
account or the account of any other person, any Trade Secrets and Other Confidential Information, no matter from where or in what
manner he/she may have acquired such Trade Secrets and Other Confii/mtial Information, and he shall retain all such Trade Secrets
and Other Confidential Information in trust for the benefit of the Company, its Affiliates and the successors and assigns of any of
them. This confidentiality covenant has no geographical or territorial restriction. Upon the termination of employment, the
Consultant promptly will supply to the Company all property, keys and Confidential Information which has been produced by,
received by or otherwise submitted to the Consultant in the course of his/her employment with the Company, including the period
during and prior to the Consultant's employment with the Con:Tony.

                 c.          Inventions. The Consultant agrees that any and all inventions; discoveries, improvements, processes,
copyrights and trademarks made, developed, -discovered or acquired by him during his/her employment by the Company solely or
jointly with others or otherwise,. which relate to the business of the CompanY, and all knowledge possessed by the Consultant relating
thereto (collectively ; the "Inventions"), shall be fully and promptly disclosed to the Company's and shall be the sole and absolute
property of the Company and the Company shall be the sole and absolute owner thereof.

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         2.        Prohibited and Competitive Activities. The Consultant and the Company recognize that due to the nature of the
Consultant's engagement by the Company, the Consultant has had and will have access to Trade Secrets and Other Confidential
Information. The Consultant acknowledges that such Trade'Secrets and Other Confidential Information has been and will be of central
importance to the business of the Company and its Affiliates and that disclosure of it to, or its use by, others (including, without
limitation, the Consultant (other than with respect to the Company's business and affairs) could cause substantial loss to the Company.
The Consultant accordingly agrees as follows:

                   a        Prohibited Aitivities. The Consultant will not, at any time during the course of Consultant's employment
and for the four (4) year period following the termination of Consultant's employment (ft directly or through one or more
intermediaries, solicit for employment, employ or be involved with the employment of any person who, at the time of such
solicitation, is employed by the Company or any Affiliate thereof; (ii) directly or indirectly, whether for his/her own account or for the
account of any other person, solicit, divert or endeavor to entice away from the Company or any Affiliate, or otherwise engage in any
activity intended to terminate, disrupt or interfere with, the Company's or any of its Affiliate's relationships with, customers, or
otherwise adversely affect the Company's or any of its Affiliate's relationship with Customers or other business relationships of the
Company or any Affiliate thereof; or (iii) publish or make any statement critical of the Company, or its Affiliates, or any of their
respective Consultants, agents, consultants or shareholders, or in any way adversely affect or otherwise malign the business or
reputation of any of the foregoing persons being herein referred to as a "Prohibited . Activity"); unless required to do so by law.
Company shall not publish or make any statement critical- of the Con.sultantin any way that would adversely affect or otherwise
malign his/her reputation,

                   b.       For a period of four (4) years after the terminatiOn of this Agreement, Consultant shall not, within a radius
of fifty (50) miles from the Company's present corporate headquarters or any of its facilities, directly or indirectly, own, manage,
operate, control, be employed by, participate in, or be connected in any manner with the ownership, management, operation, or control
similar to the type of business conducted by the Company at the time this Agreement terminates. In the event of Consultant's actual
or threatened breach of this restrictive covenant, the Company shall be entitled to a preliminary restraining order and injunction in
order to restrain Consultant from such breach. Nothing in this Agreement shall be construed to prohibit the Company from pursuing
any other available remedies at law or in equity.

         3        Divisibility of Covenant Period. If any portion of the restrictive covenant contained in this Agreement is held to be
unreasonable, arbitrary or against public policy, such covenant shall be considered divisible with the remaining provisions deemed
effective and be specifically enforceable against the Consultant       '

          4         Enforcement. The parties understand and agree that the covenants set forth in this Agreement are essential
 elements of the Company's engagement of the Consultant and that.without the Consultant's agreement to comply with such covenants;
 the Company would not have agreed to engage or to continue to engage the Consultant or to provide Consultant with Trade Secrets
 and Other Confidential Information. Further, the Consultant expressly acknowledges that the restrictions contained in this Agreement
 are reasonable in scope and are necessary to accomplish the mutual objectives of the parties and to protect the Company's legitimate
 interests in protecting their business. The Consultant further acknowledges that any violation of the restrictions contained in this
 Agreement will cause significant and irreparable harm to the for which the Company Company's remedy is binding arbitration as
 defined in section 16 of "Employment Agreement The Company shall also be entitled, upon application to a court of competent
jurisdiction, to obtain injunctive relief, including but not limited to a temporary restraining order, a temporary or preliminary
 injunction or a permanent injunction, to enforce the provisions of this Agreement

     • 5.         Intent of Parties. The covenants and agreements herein shall be construed as agreements independent of any other
provision of Consultant's employment.
                                                                             • •
         6.       Mandatory Disclosure. The Consultant shall, -in the event that he/she is requested or required (by oral question,
interrogatory, request for information or documents, subpoena, investigative demand or similar process) to disclose any information
supplied to the Consultant in the course of his/her dealings with the Conipany, if he/she may lawfully required to do so.

         7.        Redelivery of Confidential Material. Upon the Company's request, and in any case upon the termination of
Consultant's employment, the Consultant shall promptly deliver to the Company all written data containing, or reflecting any
infonthation about the Company, its shareholders, officers, directors, Consultants, agents or consultants, (whether prepared by the
Company or otherwise, and whether in the possession of the Consultant or his/her representatives) and will not retain any copies,
extracts or other reproductions in whole or in part of such data. The redelivery of such material shall not relieve the Consultant of
his/ha obligation of confidentiality or of the other obligations imposed hereunder.

          S.      Miscellaneous Provisions.

        a.       Notices. All notices, requests or other commimications under this Agreement shall be in writing and shall be
considered as properly given or made if hand delivered with a confirmation receipt obtained, mailed by the United States Postal
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Service from within the United States by certified mail, postage Prepaid and return receipt requested, or sent by telecopier, and
addressed to the location set forth in the preamble to this Agreement or *to such.other address or telecopia number as any party may
have designated by like notice furnished to all other parties hereto. All notices shall be deemed effective 'when deposited in the U.S.
Mails, delivered or transmitted via Teleco pier. •

        b.        Entire Agreement This Agreement supercedes and is in full substitution for any previous confidentiality,
nondisclosure, or noncompete agreement previously signed by the Consultant in contemplation of, or during his/her employment with
the Company.                                                                -

   c.                lialimmj. This Agreement shall be assignable by the Company without dm prior written consent of the
Cont.

       •41.       Acknowledgments., The Consultant ackaowledges that helahe has been provided with a copy of this Agreement for
review prior to signing it, that the Company hereby encourage* the Consultant to have this Agreement reviewed by his/her own
enemy prior to signing it, that the Consultant has signed the Agrrenierat of his/her own free will, and that the Consultant understands
the purposes and effects of this Agreement.

        e.        Headinvs. The headings of this Agreement are inserted for convenience and identification only, and are in no way
Intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision hereof

         1.         Application of California (aw. This Agreement and the, application or inteipretation thereof, shall be governed
exclusively by its terms and bythe laws of the Stale of California and venue residing in San Joaquin County.

            g.       Counterparts: This Agitement may be executed in any number of counterparts, each of which shall he deemed an
original.

         h.      Slidjuggn. Any controversies arising out of the terms of ibis Agreement or its interpretation shall be settled in San
Francisco, California in accordance with the rules of the American Arbitration Association; and the judgment upon award may be
entered in any court having jurisdiction thereof.  '

         i.         Waiver. The Waiver by the Company of a brach Or threatened breach of this Agreement shall got be construed as a
waiver of any subsequent breach by the Consultant. The refine) 'or failure of the Cempany to enforce die nistrietiVt covenants
contained herein or contained in any other Similar agreement against any Other Consident, agent, Or independent contractor of the
Comply, for any reason, shall not constitute a defense to the enforcement of this Agreement by the Companyagainst the Consultent,
nor shall it give rise to any claim or cause of action by such Consultant against the Company.   •

         5..      Affiliate: The term "affiliate When used in this Agreement shall Mean any other person or entity that direddy Or
indirectly controls, or is -under common control with, or is controlled by the specified person or entity herein, or if a person, any
member of the immediate family of such individual, or any entity formed on behalf of the Company and/or in which Michael R.
I lames has ownership of any nature. As used in this definition, '"control" Shall mean passession, directly or indirectly, of power to
direct or cause the direction of management or policies and "t* shall mean any parent child, grandchild, spouse, or
sibling.

        k.        Csa The term "Company" as used lacreiii, shall include the Company and any Affiliate of the Company, its
shareholdere, consultants, officers ; directors, and subsidiaries.


            In witness whereof, the parties have hereunto executed this Agreement.

                                                                 Company

                                                                 Red Dice Holdings. LDC,

                                                                 Br ft-7
                                                                  Print Namc




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                 DIME MEMBER INVENTORY TO BE TRANSFERRED




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                          Capital Invent°
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                               . 1.2:40WAV MOSIONfa
Appliance                Anvil food machine                                                                                     1
Appliance                 Black & Decker food processor                                                                         1
Appliance                Coffee heater/dispensers                                                                               2
Appliance                Convection heater                                                                                      2
Appliance                Flash freezer                                                                                          1
Appliance                Freezers                                                                                               3.
Appliance                Garland oven                                     '                                                     1.
Appliance                GE Double range top burner                                                                             1
Appliance                Ice cream maker•                             •                                                          1
Appliance .          '   IceMachine                                                                                              1
APpliance                McCalns Carbonator                                                                                      1
Appliance                Microwave                                .     .                                                       2
Appliance                Minifridge           .                                                                                 3
Appliance                Otis Spunkmeyer oven-                                                                                   1
                                                                               .
Appliance                Steamers (With trays) -                -                                                            . 3
Bottles and Caps         1 dram Clear Grass :Vial w/ Blk Cap                   •                                           .0.5 Case          •
Bottles and Caps         1/2 oz Doublewall Jar w/ Lid         '     .                                              •          . 90
Bottles and Caps         1/4 oz Doublewall Jar w/ Lid                                                                         170
Bottles and Caps         12 oz Bottles                                                                                     Z.SPallet
Bottles and Caps         2 Dram Clear Jar•                              .                                                      SO
Bottles and Caps         2 oz Boston Round Green, ghie.or Arritrpr                                                         4.8 Case '
Bottles and Caps -       2 oz Plastic Natural W/ Pliptop                                                                      *op
Bottles and Caps         4 oz Plastic Natural w/ Fliptop                                                               118:0 Pallet
Bottles arid Caps        Anther Bottles; 1 oz,                                                                               4.0 CaSe '
Bottles and Ceps         Coln for 2 az Plastic .Boston Rotinds                                     .                           6000
Bottles and Caps         Clear Bottles, 1 oz.                                                                                   Cato
Bottles and Caps         Eye Droppers                      '.                                                                 0.2'6ox
Bottles and Caps         Oxygen Barrier   Crown  Caps  (Gold)                                                                1.0 Case
Bottles and Caps         Oxygen Barrier Crown Caps (Silver).                           .   .                                 3.0 Case.
Bottles and Caps         Shrink Wrap Sleeves (1.5 x 1)                                                                       0.7 Case
Bottles and Caps         Spritzers                                                                                              250,
Boxes                    24 CELL BEER PARTITION                                                                                 200
Boxes                    4-Packs Boxes                                    .•                                                 5.0 Cage
Boxes                    Cases for 24 Elixir Bottles:                                                  •                        900
Boxes                    Packing Boxes*(10x10x5)    ••.                                                                          .5
                                                                     .                                                           5
Boxes                •   Packing Boxes (10x5x5)
Boxes                    Packing Boxes (10x8x6) .    '                                                         '                13
Boxes                    Packing Boxes .(12x8X6)       '                                                                   '     15
Boxes                     Pecking Boxes (12x9x4)         -                                     .                                 15
Boxes                     Packing Boxes (16x10x6)      .                                                   .                     15
Boxes                     Packing Boxes ($ 3/4x6,3/8x3 318).                       -                                           a
                                                                          ..
Colors                    Orange Color (3946)                                                                          -   0.8:Sotile     .
Colors                    Red Color                        .                                                       -       ill Bottle
                                                                          .                                            ti.8.Bottle
Colors                   ,Yellow Color •
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                                                                                                                                                                       ri




                           Capital Invent)
finakiltitOEMZei it,14:610:61. -rieSitteagfatillaiteM OtriMiXfale
Containers                1 dram amber vials                                         .                                                               .250
Containers                Idrarn eie droppers                                                                                                         • tto
Containers                1 dram vials with caps                             .                                                                       2000
Containers                1/2 gallon palstic jugs                                                      •                                              35
Containers                8 ot jars                                                                                                                   20
Containers                Edibles packaging boxes                •                                                                                   .1200
                                                                                                                    .
Containers                Long eye droppers                                                                                                          . 40
Cooking Supplies          Baking dishes                  • .                                                                                            2
Cooking Supplies          Baking gloves          •                                                                                                      2
Cooking Supplies          Baking trays (Large)           .                                                                                            18 .
Cooking Supplies          Baking trays (Med)                                                                                                •         3
Cooking Supplies          Baking trays (Small)                   .                                                                                     1
Cooking Supplies    •     Brownie trays      .                                                                                                        3    .
Cooking Supplies          Candy molds                                                                                                           .     15
Cooking Supplies          Cooking pots             .                                                                                                   S
Cooking Supplies          Cooking thermometers                                                                                                         3
Cooking Supplies          Cooling racks        •                                                                                                       6
Cooking Supplies          Crock pots -                                                                                                                 5
Cooking Supplies          Cutting board                                                                         .                                      2.
Cooking Supplies          Hot pads                                                                                              .                      2
Cooking Supplies          Ladels -       •                                                                                                             S.
Cooking Supplies          Large knives                                                   .                                                             2
Cooking Supplies        - Measuring cups                                                                                            ,                  a
Cooking supplies          Measuring spoons           -                                                                                              2 sets
Cooking Supplies.         Mixing bowls (plastic)                     .                             '                                                  2
                                                                                             . .
Cooking Supplies          Mixing bowls (steel)                                                                                                         7
Cooking :Supplies         Muffin tray.                       '                   .                                      .                              1
Cooking Supplies.         Pans                    '                                                    ..
                                                                                                            .                                                      .
Cooking Supplies         Pizza cutter •            •                                                                                    .              1.
Cooking Supplies         Rolling pin                                                     .             .
Cooking Supplies         Rubber grabbers                                                     .                                                         2
Cooking Supplies         Scoops                                                                                                                       :9
Cooking Supplies         Spatulas                                                                                                                      8
Cooking Supplies         Square metal baking trays                                                                                                    S
Cooking Supplies         Stockpots          .
Cooking Supplies         Tongs                                                                                                                         3       .
Co:oking Supplies        Truffle molds                                                                                                                25
0:jokingSupplies         Mk paper                                                                                           •                           1
Cooking Supplies         Wisks                                                                                                                         IC
Electrical               800 watt surge protector                        •                                                                              1
Elixir                   Non-medicated elixirs                                                                                                      7 cases
Ektraction                1/2 in dia hose                                                                               •                             5:5!
Extraction                1/2 in dia plastic tubing                                                                                                   a ft
Extraction                10 ml syringe                                                                                                                1
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          szotrowwwmi.114. witaiwzgoarkmgrws:fiwrargatio:iii4la...:0
                           2 gallon white buckets                      5
          Extraction
                                21 Erlenmeyer flask                                                        -                                                 .2
          Extraction
                                                                                                                                                              3
          Extraction            5 ml syringe                                                                                                                                    •


                                5-gallon exhaust containment vessel (styrofoam)                                                ,                              1
          Extraction
                                6 Qt ice holder pot    '   •                                                                                                  1
          Extraction
                                Alcatel 2204A Series vacuum pump        •    '                                                                                1
          Extraction                                                                                                               .
                                Beakers (100 to 1000 ml)          '                                                                                          10'
          Extraction
                                Beakers (2000 ml) •                                   '•                                                                      5
          Extraction
                                Bubble bags (20 gallon)                                                                                                     1 set
          Extraction .   '
                                Bubble bags (5 gallon) •                                                                                               .    1 set
          Extraction
                                                                                                                                                             .1
          Extraction            Can filter                                            ..
                                                                                       .                           •                                          2
          Extraction            Centering rings ..
                                                                          •                                                                                   2
          Extraction            Ceratnic pore filters
                                Charcoal cdntainers .                             •                •           '                                           , 2
          Extraction
                                                    •                 .                            .                                                        200             .
          Extraction            Coffee filters
                                Counter weights                               .                                                                               3
          Extraction
                                Exhaust container                         •                                                                                   1
          Extraction
          Extraction            Extraction cone
                                                                  -       .                                                                                   3
          Extraction             Flasks
                                 Funnel                                                                                                                       1
          Extraction
                                 Lab Stand w/ 3-prong clamp •R: C-Clanip. •                                                                                  .1
          Extraction
                                 Lzrge distillation sei-up                                                                                                    1
          Extraction                                                                                                                                                    .
                                 Medium cerarrac pore filter                                                                                                 ,1
          Extraction
                                                                                                                           .                                  1
          Extraction             Microscope
                                                              •                                                                                               1
          EXtraction             Neoprene gasket
                                                                                                                                                              4
          Extraction             NWKF25 C-clamps
                                                                                                                                                              2
          Extraction             NWKF25 fitting th hose barb adapter
                                                              -


                                                                                                                                                              1
          Extraction             Press
                                                                                                                                                              3
          Extraction             Pyrex dishes
          Extraction             Razor blade handles
                                 Recovered solvent container                                                                                                   1
          Extraction
                                                                             .                         .                                                       1
          Extraction             Scocipula
                                                                                                                                       -                       4
          Extraction             Scraper
                                                        .                                                                                                      1
          Extraction             Silicon scraper
                                 Stainless steel top plate w/ brass needle valve                                                                               1
          Extraction         •
                                                           .                                                                                   •
          Extraction           ' Stir rods
                                 Styrofoam Insulating covers                                                                                                    2
          Extraction
                                                                   -                                                   .                                     5 thlis:
          Extraction             Teflon tape
                                                                           '                                                               .               1/2 bottle
          Extraction             Vacuum lubricant
                                 Vacuum round bottom trap            •.        .                                   •                                         .1
          Extractitm
                                                   .                                           '                                                               .1.
           Extraction            Vacuum sealer
                                 Vacuum ves.set holder            .                                                                                •
           &traction                                                                   .
                                 Vacuum vessel top plate C-clathp                                                                                              .1
           Extraction
                                 Vacuum vessel w/ hose barb                                -
           Extraction
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                              itaa:COltaiMMERMAt?
ORIVOSWOK-44,0010fideiMalfairif
                        plate                I,
                           Viton 0-ring for top
Extraction
                           Wash bottles -                                                                                                  .          2
Extraction
                           Dew Drop Flavor (Spearrnint)                                        .                                                0.6 Bottle
Flavors
                           Dew Drop Flavor (Vanilla)                                                                                             0.4 Bottle
Flavors
                           Dew Drop Flavor (Watermelon)                                                                                         .6.3.8ottle-
Flavors
Flavors                    Flavor - Cherry (380266) '                         .                                                                     0:9, BOttle
                           Flavor - Coffee EXtract(341934)                                                                                          0.9:B.ottie
Flavors
Flavors                    Flavor- LeMoh the (307939)                                                                                          . .0.SBUttlk
Flavors                    Flavor- Orange Tangerine (344870                                                                                       01 Bottle •
                           Flavor-Watermelon (337867)                                                                                             0.9 Bottle
Flavors
                           Lemonade Concentrate        .                                                                       •                   1.0Cate
Flavors
Flavors                    Natural Red Hot Cinnamon 345468                                                                                      . 0.5 Bottle.
                           Sweet Tea Concentrate                                                                                                   4.0 Case
Flavors
                           Syrup, Blueberry   -                                                                                                     2.0 Box
Flavors.
                           Syrup, Grapefruit                                                                           '                            3.0 Box
Flavors
                           Syrup; Mandarin - - - • .                                                                                                6.0 Box
Flavors
                            Syrup, Peach                                               -                                                            6.0 Box
Flavors
                            Syrup, Pomegranate                                                                                                      2.0 Box
Flavors                                                                                                .
                            Syrup, Red Currant                                                                                                      4,0 Box
Flavors
Flavors                     Syrup, Sarsparilla                                                                                                       5.0 Box
                            Vanilla Crème 345469                                                                                                    0.9 Bottle
Flavors
                          . Vanilla Extract (Rodelle)                                                                                      .        0.2 Bottle
Flavors     -
                            Baking racks .                                                                                                              4
Furnishings
                            Desk organizer                                •                    •                                                         I
Furnishings
                            File Cabinets                                         .•
Furnishings
                            Locking cabinets                                                                                                               4
Furnithings
                            Metal rolling table (30x30)               '                                                                                  • 4
Furnishings
                            Metal rolling table 48x30) •                                                   •                                               4.       -
Furnishings
Furnishings                 Metal rolling table-00x30)                        •                                                                            6.
                             Plastic table let with four chairs                                                                                             1
Furnishings
                             Rubber floor mats.               .                                                .                                           15
Firrnishings
Furnishings                  Waste baskets                                                         .                                                       5.
                             Water Coolers                                                                                                                  2
Furnishings
                             White boards                                                                                                                  .3
Furnishings                ,
Ice Cream                    Ice Cream cumspoon4id sets                                                                                .
                             Ice cream supplies                                                                                                                         •
Ice Cream
                             Bees Wax Pastilles.                                                                                   •                  .0.8 Bag'
Ingredient - Botanicals
                            Bentonite (May)                                                                                                            1.5 Bag
Ingredient Botanicals
             -


                            Castor Oil                            .                                                                                  CO Drum
Ingredient- Botanicals
                            Cedarwood Himalayan India                                                                                                to' Bottte
ingredient-Botanicals
Ingredient - Botanicals     Cocoa Butter Waffers                                                                   •       .                             1.0 Bag
                            Epsom Salts (Fine) .                                                                                                     -   3.$ Box:
Ingredient Botanicals
              -


                            Eucalyptus Oil                                                 ,                                                        2.0 Bottle
ingredient- Botanicals
                            Frankincense Ohba n urn Ethiopia                                                       .                                .0.3 Bottle
Ingredient- Botanicals
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karafkaterfial&4.grAaWaaKcfiti,VWCZaWttaktlaglitlage ,
                                  Isopropyl Alcohol                                                             .                            6.0 Bottle
Ingredient - Botanicals
                                  Lavender Hungary.                                                                                          1.3 Bottle
Ingredient - Botanicals
                                  Lemon Oil                                                                                                  0.8 Bottle
Ingredient - Botanicals
                                  Lobelia                                                                                                     0.8 Pack
Ingredient - Botanicals
Ingredient - Botanicals           Olive Oil Everyday Ex Virgin— #64755 Corto                            .                                   '2.0 Bottle
                                  Rosemary Camphor Type                                                                                      1.0. Bottle
Ingredient - Botanicals
                                  Scotch Pine Bulgaria •                .                                                                    U.S Bottle
Ingredient - Botanicals
                                  Sea Salt                            '                                                                       3.5 Box
Ingredient -.Botanicals •
                                ' Chocolate - French Vanilla Gulttard 5640                                                                    OSCise
Ingredient - Edibles
                                  Chocolate Chips (2000 ct) Guitiard                                                                          U.S Box
Ingredient - Edibles
                                  Coating Chocolate - A Peels 5790c     .                                               •                     0.5 Case
Ingredient - Edibles
                                  Cocoa Powder Guittard Dutch Chocolate                                                                       0.8 Bag
Ingredient - Edibles
                                  Confectioners Sugar (powdered) '.                                •            -                              OS Bag
Ingredient - Edibles
                                  Corn Syrup        •                                              .                                          0.7 Case
Ingredient- Edibles .
Ingredient- Edibles               Dry PowderedMilk (OrganieNalley)                                                              •             za Case
                                  Granulated Extra Fine Sugar' - .      '                                                                      5,0 Bag
Ingredient- Edibles
                                  Heavy Cream                        '                                                                        0.8 Cage
Ingredient - Edibles
Ingredient - Edibles              Marshmellow (Mini Jet Puffed)       ,                                                                      2.4- Beg
                                  Rice Krispies                               -                                                              1,0 Case
Ingredient- Edibles
                                  Silicon Dioxide                                      -                                                     0.5 Sag
ingredient- Edibles
Ingredient- Edibles               Tapioca Syrup         '                                                                                    Oa Pail
                                  Unsalted Butter            •                                                                               0,9 Cage •
Ingredient- Edibles
Ingredient- Edibles               Vegetable Oil                                                                                             0.5 Rottre
                                  Grape flavoring   .                                                                                        1 gallon
Ingredientt
                                  Lemon juice                                                                                               . 1 bcittle
Ingredients
Ingredients                       Misc spices                                                                                                  I.box
                                  Mixed berry flavoring'                                                                             1 gallon
Ingredients
                                  Peanut butter                                                                                      1 bucket
Ingredients
                                  Agave Nectar        .                                                                             0.4 Bottle
Ingredients - Misc
                                  Caffeine     -         .                                                                        . 1.0 Bag
Ingredients - Misc
                                  Citric Acid                                                               .                      . 0.5 Bag,
Ingredients - Misc
                                                                                                                            ,       1.0 Drum
Ingredients - Misc                Glycerin
                                  Hemp Oil (NW 2100109)                                                                             2.0 Bottle
Ingredients - Misc
                            ,     Potassium Glucarate                         •                                                     0.6 Drum
Ingredients - Misc
                                  Sodium   Benzoate                                                                             •     CLWBeg.
Ingredients : Misc              •
Ingredients - Misc                Sodiurn Bicarbonate                                                                                        13 BOX
                                  TIC Gums Beverage 500           .           "                                                              0.$ Bag
Ingredients - Misc
                                  Water        •     '                                                                                      10.0 Bottle
Ingredients - Misc
Ingredients - Scrips              Athwangandha Root                       .                            ..           .                         im,s4g
                                                                                           .,                                           .     d.Thag, .
ingredients - Scrips              Capsules -Attua-Astra : Size 0
                                  Capsules - AqUa-White -Size 0                                                                 .             1.2.Bag     '
Ingredients - Scrips
                                  Capsules - Orange-White -Size a                              .                                              1,2 Bag'
Ingredients - Scrips
                                  Conjugated Linoleic Acid                        .-                                                          0.6,Bag
 Ingredients - Scrips
                                                                 -                                                                  ,         1.0.Beg   .
 Ingredients - Scrips             Eleuthero Root
                                                                                           -
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                                             ento
tEraftifiaaateltagiliSflia_ aregaaila.'41(alt"1,0Wz:SiTRE
                                                 Bag    '
                                                                   .



Ingredients - Scrips            Hop Flour
Ingredients - Scrips            L-Theanine                         '               .                               1.084
Ingredients - Scrips            Rice Starch                                                                         1.0 Bag
Ingredients -Scrips             Tumeric Powder                .                                                    0,5 Bag
                                                                               .
Ingredients - Scrips            White Willow Bark                                                                  13 Bag
Labels                          1-in Diameter Labels                                                               2.0 Box
labels                          Bath Salts Labels (Medium)                                                           1125
Labels                          Bath Salts Labels (Sample) ..                                                         520   .
Labels                          Beth Salts Labels (Small)                                                            1000
Labels                          Compliance Label •                                                     •           0.4•Case
Labels                          Compliance Label (Large)                                                           0.8 Case
Labels                          Dew Drop Labels, Watermelon (1. oz.)                                                 1000
Labels                          Dew Drop Labels, Natural (1 oz.)                                                    500
Labels                          Dew Drop Labels, Spearmint (1 oz.)                         •                        1250
Labels                          Dew Drop Label's, Vanilla                                                            500
Labels                          Dixie Roll Label (Individual)                                                       3800
Labels                          Edibles Crispy Treat Labels                                                          700
Labels                          Edibles Dixie Roll Labels                    '                                       500
Labels                          Edibles Fruit Lozenge Labels                                                          800
Labels                          Edibles Ingredient Labels (3x4)          •                                         0.7 Case
Labels      •                 . Edibles Truffles Labels                                                               300
Labels                          Elixir Labels - Lemonade'                                                            120G .
Labels                          Elixir Labels -sweet Tea             .     •                                          300
                                                                                                   .
Labels                          Elixir Labels -Water (Mixed Berry) !   •                                              100 .
Labels                          Elixir Labels, Blueberry                                                             1700
                                                                          .
Labels                          Elixir Labels, Grapefruit        '                                     .             275.0.
Labels                          Elixir Labels, Mandarin                   •                                          2376:
Labels                          Elixir Labels; Peach           '   .                                                 2470
Labels                          Elixir Labels, 'Pomegranate                                                          1600:
Labels                          Elixir Labels, Red Currant                                                           1400
Labels                          Elixir Labels, Sarsparilla             •                                            zsm.
Labels                          Label Ribbon (4inx1345ft SetaTR-4985 Black).                                       4:0 ROW
Labels                          Massage Oil Labels 1 Dram '                                                        04 WI
Labels                          Massage Oil Labels 2 at                                                            0.4 ROI
Labels                          Massage Oil Labels 4 oz.    '                                                      0,7 Bell
Labels                          Pain Salve Labels .25 oz (Side)                                            .       221. Roll
Labels                          Pain Salve labels .25 oz (Top) '                                                   2.6 Roll
Labels                          Pain Salve Labels .5 oz (Side)   ,                                                 1.5 Rdll
Labels                          Pain Salve Labels .5 oz (Top)                                                      0.8 oil
Labels                 -, ,     Pain Salve Labels 1.33 oz (Side)                               .                   1.6 Roll
                                Pain Salve Labels 1a3 oz (Top)                                                     12 Roll
Labels
Labels                          Snake Oil Labels 1 oz.                     .                                          400
Labels                          Snake Oil Labels 2 oz.                                                               1300
                                Tonic Label                                            •                             2000
Labels
                                                                                                               -
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                                    ".                  111Maliatalf.C;O:ta: 'EC ligrakia
                                                                                   2000
misc                             1 oz sample cups
                                 2 at Sample Cups                                                                0.8 Case
Misc        .
                                 Air filter machines                                                                 2
Misc
                                 Charcoal        '                                   .   •                       01 Box
Misc
                                 CO2, Small Canisters                                                               05
Mist
                                 Delicate'Garmet Bag (Ex. Large)                                                     $
Misc
                        •        Ethanol (Everclear)             •                                               OA CaSe
Misc
                            '    Ethanol (Pure Deantured                                                 '       OS Case
Misc
                                 Event banners                                                                      1
Misc
                                 Filter Paper (9cm Fast)                     .                                   1.0 BM(
Misc
                                 Filter Paper (9cm Slow)                                                         1.0 Box
Misc
                                 GLOVES - BLUE 3.5 MIL POWDER.FREE.NITRILE .
                                 GLOBOX '         .                                                              1.2Case
Misc
                                 Large metal wagon                      .                                    .      1
Misc    .                                                                   .
                                 Mason jars .                                        .                              $
Misc
                                 Metal pails                                    .•
Misc
                                                                    •     .
                •                 New Wave Enviro Dairy Eastar Resin Bottle, 1-Gallon                            2.0 Case
Misc
                                  Pallet Jack                .          .                                            1
Misc
                                  Pallets               -                                                           10
Misc
                                  Pan Coating                   .                                                    15    -
Nlitc-
                                  Party supplies                                                                 1..bin MI
Misc                .
                                  Plastic cups.                                                  '                   1150
NA&
                                  Plastic Wrap - 24 In                                                             0.5 Box
Misc
                                  Propylene glycol                                                               55 gallons
Misc
                                  Safety goggles-                                                                      5
Misc
                                  Syringes, 30 ml                                            '                     1.0 Box
Misc
                                  Syringes, 60 MI     '                                                            2.0 BOX
Misc
                                  ZIplock Bags (Large)                                                             3.0 Box
Misc                             -



                                  Ziplock Bags (Small)                                                             4.0 Box,
Misc
                                  3x5 Heat Sealable Bags                                             .           .304 Pack
Packaging
                                  4" x 6" LOPE-Plain Opened Bags 2 mil                                           300.0 Pad(
Packaging
                                  Bath Salts Bag (3 x 1.5 x 5)         .                                         10.0-Pack
Packaging
                                . Candy Jar.for Dixie Rolls                                                  .          6
Packaging •
                                  Dixie Roll Bags (8"x12") .                                                           40
Packaging
                                  Dixie Rolls - Foil Wraps       .•                                               .2.0 Pack
Packaging
                                  Edible.Boxes                           •                                         1.0 Case
Packaging
                                  ice Cream Cups               '   .                                                  ease
Packaging
                                  Massage Oil Information Cards      '     •.                                      0.3 Box
Packaging
                                     Pain Salve InformationCards                                                    IA) BoX.
Packaging
                                     Pleated Cellophane Bag (2.5x 1:25 x.5) .                                      0.8 Case
Packaging
Packaging                            Point of Sale Display Racks           .                                      0,7 Case
                                     Poly tube on a roll 4 in 2 MIL 2150ft                                        0.1,ROi1
Packaging
                                     Scrips Information Cards                .                                     0,7 Evp 4
Packaging
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%rataWSW:nig WaSifecia7"              1Ablil'afattaggini flOrMASIttki
             Shrink Wrip for Large Pain SahreS •             1.0 Pack
Packaging
                       Shrink Wrap for Small Pain,Salves    ,                                                     1.0Pack
Packaging
                       Shrinkwraps for Large Massage Oil BottleS                                                  OA Pack
Packaging
                       Shrinkwraps forSmall Massage Oil Bottles                                                   0.3 Pack
Packaging
                       White Fluted BakingCup 11/4",X7/811                                                        0.5case
Packaging -
Packing                4-packs (plain)    .       ,.                                                                2.5fL
                       6-packs (plain)                                                                               20
Packing.
                       Bubble Wrap (1/2")                                                                         0.6 Roll
Packing
                       Bubble Wrap-f3./41                                                                         3.01(oll
Packing
                       Packaging Tape                                                                             U.S Bo*
Packing
                       Packing Peanuts             •                                                              1.0 Rag
Packing
                       Paper Bags (4 lb)                                                                          5.0 Beg
Packing
                       Sleeve bags (blue)                                                                 •         100
Packing
                       Emulsifying wax .                                                                            5 lb
R&D
                       Fire extinguisher                             .                                                1
Safety
                       large digital scale      '                                                                     i
Scales
                       12x12 Clear plastic carrying cases.                       •                "                   6
Storage
                       Bins                                                                                          21
Storage
                       Black kitchen storagebIns                                                                      4
Storage                                                      .
                       Large white plastic storage tray                                                               4
Storage       ,
                       Metal storage trunk (Rubbermaid)                                                               1
Storage
                       Storage racks                                         .                                       4
Storage
                       Tote (blue)       ..                      .                                                   i
Storage
                       300 capsule pill packers     •                                                                2
Utilities and Tools
                       3-way extension cord (Heavy dutY)                                      '                      1
Utilities and Tools
                       4-way faucet splitter           .                                     .                        1          .
Utilities and Tools                                                                                           .
                                                       .                                                              1
Utilities arid Tools   Masi filler •
                                                                                     •                                1
Utilities and Tools    Air compressor
                       Air compressor hoses                              •                   .                        1
Utilities and Tools
                       Beverage tanks                                            .                                   10
Utilities and Tools
                       Bottle drying trees                       -                                                    I
Utilities and Tools
Utilities and Tools    Bottle sanitizer                                              •
                       Bottling machine(APplied Bottling)                                                              1
Utilities and Tools                                                                                                                  .
                       Buckets (5 gal),                                                                              1.1     '
 Utilities and Tools
                       Cappers                                                                                        .2-
Lltilltiesand Tools
                       Category 5 cable              •                                                              1 box
 Utilities and Tools
                       Chiller                                                                                         1
 Utilities and Tools
                                                                                                                       1
 Utilities and Tools   CO2 tegulator
                       CO2 tanks           '                                                                          3
 Utilities and Tools
                                                                                                                      2
 Utilities and Tools   Coffee grinder
                                                                                                                       2,
 Utilities and Tools   Dollies
                       Drink dispensing. buckets                                                                      .6
 Utilities and Tools
                       Drink dispensing hoses                                            .            •               5
 Utilities and Tools
                                                                                                                      2
 Utilities and Tools   Glass pill tampers
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                                                                                                                     aa t
Utilities and Tools       Hash maker                   •                                                                   /
Utilities and Tools       Heat sealers.           .                    .                                                   2
Utilities and Tools       Ice scoop (1/2 cup)                                      .        .                              1
Utilities and Tools       Immersion blender                                                         •                      2
Utilities and Tools       Ninja blender-                                                                                   2
Utilities and Tools   .   Paper cutter                             •                                                       1
Utilities and Tools     - Pipe  cleaner brush                                                                              1.
Utilities and Tools       Power drill •                                                                                    1
Utilities and Tools       Blob' skill saW                                      •                                           1
Utilities and Tools       Rolling carts                                                                                    3
Utilities and Tools       Rubber hoses                         •                        .       .                          3
                                                                                   ..                                    • 1.
Utilltiesand Tools        Scale (large-A/C) .
                                                                                                                                  .
Utilities and Tools       Scales (small battery powered)   .                                                  .            3
                                                                   .                                                       1
Utilities and Tools       Storage tank                                             .
Utilities and Tools       Syrup dispensing hose                            •                                               1
Utilities and Tools       Tool box full of tools                                                                           i
                                                                               _
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                                          Dixie Intellectual Property Exhibit

item It                      Property                                       CategOry                                                      Location of Property
   J.     Bath Salts                                                        Botanical                                         . Dixie Recipe & COGS Manual
   2      Massage Oil                                                       Botanical                     .                            Dixie Recipe & COGS Manual
   3      Pain Salve                                                        Botanical .                                                Dixie Recipe & COGS Manual
          Snake Oil                                                         Botanical                                 '                Dixie Recipe & COGS Manual -
   5      Chocolate Truffles                                                     Edible                                                Dixie Recipe & COGS Manual
   6      Crispy Rice Treats                                                     Edible                                       .        Dixie Recipe & COGS Manual

   7      Dbde Rolls                                                             Edible                                                Dixie Recipe & COGS Manual

   8      Lozenges (Café Flavors)                                                Edible                                                Dixie Recipe & COGS Manual     -

   9      Lozenges (Fruit Flavored)                                              Edible                                                Dixie Recipe & COGS Manual
  10      Blueberry Elixir (40 mg)                                              Elixir 40 •                                            Dixie Recipe & COGS Manual
  11      Grapefruit Elixir (40 mg)                                             Elixir 40                                              Dixie Recipe & COGS Manual

  12      Lemonade Elixir                                                       Elixir 40                                              Dixie Recipe & COGS Manual
  13      Mandarin Elixir (44) mg)                                         • Elixir 40                                                 Dixie Recipe & COGS Manual
  14      Mixed Berry Water                                                     Elixir 40                                              Dixie Recipe & COGS Manual
  15      Peach Elixir (40 mg)                             '                    Elixir 40                                              Dixie Recipe & COGS Manual
  16      Pomegranite Elixir (40 mg)                                            Elixir 40                     -                        Dixie Recipe & COGS Manual
   17     Red Currant Elixir (40 mg)      .                                     Elixir 40                                              Dixie Recipe & COGS Manual
   18     Sarsparilla Elixir (40 mg)                                            Elixir 40                                         ' Dbde Recipe & COGS Manual
   19     Sweet Tea Elixir                                                      Elixir 40                                              Dixie Recipe & COGS Manual
   20     Blueberry Elixir (75 mg)                                         • Elixir 75                        .                        Dixie Recipe & COGS Manual

   21     Grapefruit Elixir (75 mg)                                             Elixir 75                                              Dixie Recipe & COGS Manual
   22      Mandarin Elixir (75 Mg)                                              Elixir 75                                              Dixie Recipe & COGS Manual
   23      Peach Elixir (75 mg)                                                 Elixir 75                                 .            Dixie Recipe &COGS Manual
   24      Pomegranite Elbdr (75 mg)                                            Elixir 75     -                                        Dixie Recipe & COGS Manual

   25      Red Currant EIbdr (75 MR)                                            Elbdr 75                              '                Dixie Recipe & COGS Manual

   26     Sarsparilia Eibir (75 mg)                    .                        Elixir 75             .                                Dixie Recipe & COGS Manual

   27     Cannabis Isopropyl Extract               •                        ingredient                                                • Dixie Production Databaie
   28      Cannabis Olive 011                                               Ingredient            .                                     'Dixie Production Database

   29      Essential Oil Blend (Massage)                                    Ingredient                                                   Dixie Production Database
   30      Essential Oil Blend (Salve and Bath Salts) *                     ingredient                                                   Dixie Production Database
   31      Essential Oil Blend (Snake Oil)                                  Ingredient                                                   Dixie Production Database
   32      Lobelia Extract                                                  Ingredient                                    •              Dixie Production Database
   33      Lobelia Extract (Reduced)                                        Ingredient                                                   Dixie Production Database
   34      Lobelia Olive Oil                                                    Ingredient                                        '      Dixie Production Database

   35      Tonic Chemical MNture                                       '        Ingredient                                               Dixie Production Database
   36      Scrips - FOCUS Formula                                                 Scrips                                               Dixie Recipe &COGS Manual
   37      Scrips - Pain Formula                                                  Scrips                                               Dixie Recipe & COGS Manual
   38      Scrips -Sleep Formula                               '                  Scrips
                                                                                      -                                                Dixie Recipe & COGS Manual
   39      Hash Extract-Glass                                              Smoking Grade                                               Dixie Recipe & COGS Manual
   40      Dew Drops- Natural                                                   Tincture                                               Dixie Recipe & COGS Manual
   41      Dew Drops - Spearmint                                            . Tincture                                                  Dixie Recipe & COGS Manual
   42      Dew Drops -Vanilla                                                    Tincture                                               Dixie Recipe & COGS Manual

   43      Dew Drops - Watermelon             .                    •             Tincture                                               Dixie Recipe & COGS Manual
           Tonic- Mandarin                                                        Tonic       '                   .                     Dixie Recipe & COGS Manual

   45      Dixie Proprietary Marks & Logos                                      Marketing                                                   Marketing Database        •

   46      Website: www.dbrieelbdrs.com                                         Marketing                                             • Marketing Database/Hosting
   47      Dixie related web domains                                            Marketing                                               Marketing Database/Hosting

   as         -dizietinctures.com                                           .
   49         - dixlebotanicals.com
              2 dixlescripts.com .
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                                 EXHIBIT E •
             EXCLUSIVE LICENSING AGREEMENT WITH LEFT BANK, LLC
                                                                        •




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                               EXHIBIT F
     ICEBER EMPLOYMENT CONTRACT; SMITH CONSULTING AGREEMENT




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                                           EMPLOYMENT AGREEMENT

THIS EMPLOYMENT AGREEMENT (the "Agreement") is made this                         day of April 2012 (the "Effective
Date"), by RED DICE HOLDINGS, LLC, (the "Company"), and VINCENT M. KEBER, HI, a Colorado
resident ("Executive") (the foregoing collectively, the "Parties" and each a "Party").

                                                   RECITALS

        WHEREAS, On or about April            2012, the Company retained Executive to serve on a full time basis
as a senior officer in the capacity of President; and
       WHEREAS, The Parties wish to memorialize formally the material terms and conditions applicable to
Executive's employment position with the Company.
        WHEREFORE, In furtherance of the foregoing events and objectives, and with full acknowledgement of
and intent to be bound by the terms hereof, the Parties agree as follows:

                                          • • WITNESSETH

1.      Integration. The Parties expressly incorporate the foregoing Recitals as material terms of this
Agreement, reflecting not only their intent and objectives but also the consideration to be exchanged by the
Parties hereunder.

2.      Employment; Nature of Relationship; Term. The Company hereby affirms its employment of
Executive, and Executive hereby affirnis his acceptance of employment from and for the Company, upon the
terms and conditions of this Agreement The Parties eXpressly acknowledge that the relationship between them
is and shall be that of employer-Executive for a period of one (1) year from the Effective Date (the "Initial
Term"); provided, however, that the period of the Executive's employment pursuant to this Agreement shall be
automatically extended for successive one-year periods thereafter (each, a "Renewal Tenn"), in each case
Unless either Party hereto provides the other Party hereto with written notice that such period shall not be so
extended at least 90 days in advance of the expiration of the Initial Term or the then-current Renewal Term, as
 applicable (the Initial Term and any Renewal Term, collectively, the "Term").

 3.      Scope and Extent of Employment Duties. Executive shall serve as the Company's President.
 Executive shall devote his time and attention to the Company's business cin a full time basis. Executive may
 engage in any directorship, consulting project, or other active business engagements during the tern' of this
 Agreement, regardless of whether such activity is pursued for gain, profit or nonprofit provided, however, such
 activities do not materially interfere with Executive's duties as President. Executive may invest his assets,
 however, in other companies or ventures, provided that same does not require Executive's services in the
 operation of their affairs, and provided further that such companies or ventures (except for Left Bank, LLC) do
 not compete either directly or indirectly with the Company, its affiliates and/or assigns.

     3.1          Roles and Responsibilities: Some of the Executive responsibilities include, but is not limited to,
                  the following:
                  OVERVIEW: To insure the profitable growth and mission of the Company is obtained to the best
                  of Executive's ability. The Executive must conduct himself in a professional manner at all times.
                  Executive will also be appointed as the manager of the Company and will assume the
                  responsibilities set forth in the CoMpany's operating agreement. To oversee all existing and future
                  product development.

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                Operations: Oversee the day to day Operations of the Company. Ensure that the goals of the
                Company are implemented as directed by the Management . Committee (as defined in the
                Company's operating agreement). Continually keep abreast of the industry and potential new
                product acquisitions for the Company. Present all potential new products to the Management
                Committee along with requisite financials showing potential impact on the Company.

                 Marketing: Manage all of the marketing activitiei of the Company and ensure that said activities
                . are within the Company approved budgets and as approved by the Company.

                Conununication with facility and Management Committee: Will be responsible for keeping the
                Management Committee informed Of important issues in Company. Prepare budgets and/or reports
                for the Management Committee as to each existing and new approverfproduct

                Recruiting/Staffing: Work with management and other employees to source, screen and hire
                personnel. To recruit, select, train and monitor . experienced qualified employees as needed.
                Executive shall consult with officers and managers on matters of employee retaliation; salary
                administration, terminations and employee grievances:

                Employee Relations: Responsible for maintaining a positive, productive and safe workplace.
                Ability to connect with employees at all levels to create and maintain an open door environment
                that identifies issues early and allows management to address them. Will partner with the
                Management Committee to handle all performance management issues and for ensuring effective
                communication and adherence to corporate policies. Maintains a high degree of integrity and
                honesty in all business and personal affairs.

                Safety Programs: Develop,. monitor and review company safety programs. Ensure timely
                meetings addressing safety concerns and training.

                Objectives: Participate in the, development and enhancement of corporate objectives, rewards
                philosophies, and strategic planning in relation " to staffing and trends in human resource
                management Participate in and promote a team environment by working with management to
                accomplish corporate responsibilities and objectives. Continually monitor all aspects to improve
                workflow and production. Ensure that proper constructing and operations reports are prepared and
                communicated between departments and the Management Conimittee in a timely-manner. Develops
                long range as well as short range overall plans for the company with regard to volume and type of
                work desired, quality of work desired; future gr6wth, etc. Responsible for- the integration of all the
                above into an orpnized controlled Smooth flowing system.

                 Additional Responsibilities: May be assigned by the Management Committee at any time, set forth
                 in writing and provided to Executive.

4.     Compensation. The Company shall pay Executive the following compensation for all services rendered
hereunder:

         (A) Base Compensation. The Company shall pay Executive One Hundred Seventy Thousand US
               Dollars ($170,000.00) per year which shall commence upon the Company's receipt of funding,
               and will be payable according to the Company's customary payroll practices.



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                  Bonus There are no bonus' provided to Executive unless agreed to in writing by the
                  Management Committee.

                  Equity Grants. There are no Grants provided to Executive unless agreed to in writing by the
                  Management Committee.

                  Participation in Employee Benefit Plans. Except as expressly modified by this Agreement, the
                  Executive shall be entitled to participate in all employee benefit plans or programs, and to
                  receive all benefits, perquisites and emoluments, which are approved by the Management
                  Committee and are generally made available by the Company to executive-level employees of
                  the Company, to the extent permissible under the general terms and provisions of such plans or
                  programs and in accordance with the provisions thereof

         (E)      Employment Taxes. All payments to Executive shall constitute wages and, as such, shall be
                  subject to the withholding and remission of federal employment taxes, California unemployment
                  compensation taxes, and all other applicable taxes.

5.     Expenses. The Company shall reimburse Executive for all reasonable out-of-pocket expenses
Executive incurred during the Term in connection with the performance of Executive's duties and obligations
under this Agreement, according to the Company's reimbursement policies in effect from time to time and
provided that Executive shall submit documentation which the Company deems reasonable with respect to such
expenses.

6.       Non-Disclosure of Information and Restrictive Covenant. [See Exhibit            1

7.      Assignment. The Executive acknowledges that his services are unique and personal. Accordingly, the
Executive may not assign his rights or delegate his duties or obligations under this Agreement. The Company's
rights and obligations under this Agreement shall inure to the benefit of and shall be binding upon, the
Company's successors and assigns.

 8.        Notices. All notices, elections, offers, acceptances, and other communications hereunder shall be in
writing and shall be delivered in person with written. acknowledgment by the recipient of such delivery; by
 facsimile/telecopy with confirmation; by overnight delivery service with receipt and tracking number; or by
United States Mail by way of certified or registered mail, return receipt requested, to the address provided by
 each Member to the Company or to the Company at its principal business address. A notice, election, offer,
 acceptance, or other communication shall be deemed to be received: (A) if by personal delivery, on the date
 delivered with written acknowledgment by the recipient of such delivery; (B) if by facsimile/telecopy, on the
 date confirmed by receipt / statement of the transmitting machine; (C) if by overnight delivery service, on the
 date delivered; and (D) if by United States Mail, on the date delivered with written acknowledgment on the
 return receipt.
     •
 9.        Entire Agreement; Amendment; Severability; Headings; Gender References. This Agreement,
 constitutes the entire understanding of the Parties hereto, explicitly superseding the confirmatory letter
.previously signed by the Parties and referenced in the Recitals .above. No modifications, amendments, or other
 statements to this Agreement shall be binding on the Parties unless executed in writing and signed by the Party
 to be bound by such instrument.
                                                                   • •
       If any provision of this Agreement is held invalid or unenforceable, such invalidity or unenforceability shall
 not affect the other provisions of this Agreement and, to. that extent, the provisions of this Agreement are
 intended to be and shall be deemed to be severable.

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   Headings in this contract are for convenience and reference only and shall not be used to interpret or
construe provisions hereunder. All references in this Agreement • shall be gender neutral, such that the
masculine shall include the feminine . and vice versa, and neutral references shall encompass both. Where
applicable, the singular shall include the plural and vice versa.

10.     Non-Waiver. No delay or failure by either Party to exercise any right hereunder, and no partial. or
single exercise of such right, shall constitute a waiver of that or any other right, unless otherwise expressly
provided herein.

11.     Binding Agreement. This Agreement shall bind the executors, administrators, representatives, estates,
heirs, beneficiaries, and other successors of the Parties..

12.    Governing Law; Legal Fees. California law shall govern this Agreement and all questions arising
hereunder. Each Party hereto expressly and irrevocably waives trial by jury in any suit, action, or proceeding in
relation to this Agreement. In any suit, action, or 'proceeding to enforce, interpret, or challenge the
enforceability of this Agreement, the prevailing Party in such suit, action, or proceeding shall be entitled to its
reasonable attorneys' fees and all other costs of arbitration or other action, through all authorized appeals.

13.     Execution. This Agreement may be executed -in counterparts, and faxed signatures of this Agreement
shall constitute an original instrument qualified for admission into evidence in any court or administrative
proceeding, through all authorized appeals.

14.     Indemnification. If the Executive is made a party, or is threatened to be made a party, to any suit or
proceeding, whether civil, criminal, administrative, investigative, appellate or other by reason of the fact that he
is or was a director, officer, employee, agent, manager, consultant or representative of the Company or any of
its subsidiaries or is or was serving at the request of the Company or any of its subsidiaries, or in connection
with her service hereunder, as a director, officer, • member, employee, agent, manager, consultant or
representative of any other entity,. or if any claim is made, or is threatened to be made, that arises out of or
relates to the Executive's service in any of the foregoing capacities, then the Executive shall promptly be
indemnified and held harmless, and shall be entitled to prompt advancement of expenses, including without
limitation attorneys' fees and other charges of counsel, in each case, to the fullest extent provided under
applicable law, the Company's Operating Agreement, and the Company's officers' and directors' liability
insurance- policies. The Company may Obtain a directors and officers liability insurance policy covering
Executive and to continue and maintain such policy. The amount of coverage shall be reasonable in relation to
Executive's position and responsibilitie.s during the Term provided that the cost and availability of such
insurance is reasonable within the marketplace.

15.      Termination.

       (a)    Events of Termination. This Agreement and Executive's employment hereunder shall terminate
upon the occurrence of any one or more of the following events:

                         i. Death. In the event of Executive's death, this Agreement and Executive's
                            employment hereunder shall automatically terminate effective as of the date and time
                            of death.

                            Disability. To the extent permitted by law, in the event of Executive's medically
                            determined physical or mental disability that renders Executive substantially unable
                            to perform Executive's material duties under this Agreement for a period of at least
                            90 consecutive days in any 12-month period or 120 non-consecutive days in any 12-
                            month period, and which cannot be reasonably accommodated by the Company
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                          without undue hardship ("Disability"), the Company may terminate this Agreement
                          and Executive's employment hereunder upon at least 30 days' prior written notice to
                          Executive. Any question as to the existence of the Disability of Executive as to
                          which Executive and. Company cannot agree shall be determined in writing by a
                          qualified independent physician as appointed by Company and Executive (or
                          Executive's representative). The determination of Disability made in writing to
                          Company and Executive shall be final and conclusive for all purposes of this
                          Agreement.

                           Termination by the Company for Cause.

                              1. The Company may, at its option, terminate this Agreement and Executive's
                                 employment hereunder for Cause (as defined herein) upon giving notice of
                                 termination to Executive (following the expiration of the applicable cure
                                 period, if any) which notice 'specifies that the Company deems such
                                 termination to be for "Cause" hereunder and s'pecifies in reasonable detail the
                                 grounds or circumstances for such "Cause". Executive's employment shall
                                 terminate on the date on which such notice shall be given, unless Executive
                                 cures such deficiehey resulting in the Company terminating Executive for
                                 Cause as provided herein, • -

                             2. For purposes hereof, "Cause" shall mean ExeCutive's (a) conviction of, guilty
                                or nolo contendere plea to, or confession of guilt to,•a felony or act involving
                                moral turpitude, (b) willful misconduct or •gross negligence which is
                                materially injurious (monetarily or otherwise) and would reasonably be
                                expected to cause actual harm to the Company in the reasonable discretion of
                                the Management Committee after a written notice and a 14 day opportunity to
                                cure, (e) material violation ofthe Company's policies or procedures in effect
                                from time to time which would reasonably be expected to cause actual harm
                                to the Company after a written notice and a 14 day opportunity to cure, or (d)
                                failure in any material respect to perform Executive's duties as reasonably
                                assigned to Executive by the Management Committee from time to time and
                                consistent with Executive's title and position after a written notice and a 30
                                day opportunity to cure. Notwithstanding the foregoing, Executive shall be
                                given a reasonable opportunity during any applicable cure period, for
                                Executive together with counsel, to be heard before the Management
                                Committee and if such hearing occurs, a second written notice from the
                                Company stating that, in the good faith judgment of the Management
                                Committee, Executive was guilty of the conduct giving rise to termination for
                                Cause.

                      iv. Without Cause by the Company. The Company may, at its option, at any time
                          terminate Executive's einployment for no reason or for any reason whatsoever (other
                          than for Cause or due to death or Disability). Executive shall be entitled to Severance
                          only in the eventof termiriation .without cause and shall consist of eighteen months of
                          the Executive's then-current Base Salary. All Severance Payments shall be payable
                          in accordance with the Company's customary payroll practices.

                       v. Termination By Executive. Executive may terminate this Agreement and Executive's
                          employment hereunder at any time with or without Good Reason upon at least 30

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                         days written notice to the Company. For purposes of this Agreement, "Good Reason"
                         shall mean, in the absence of a written consent of the Executive:

                            .   1. a reduction in the Executive's Base Salary by 10% or more and such reduction
                                    is neither company-wide nor applicable to 'all senior executives of the
                                    Company; .
                                2. any action by the Company which results in a material diminution in
                                    Executive's title, position, authority or duties from those set forth in this
                                    Agreement;
                                3. any failure by the Company to comply with any provision -      of this Agreement
                                    (other than an isolated, insubstantial or inadvertent failure which is promptly
                                    remedied after notice to the Company) including, but not limited to, the failure
                                    of the Company to pay any portion of Executive's current compensation;
                                4. material breach by the Company of Company's Operating Agreement if such
                                    breach would materially prejudice Executive;
                                5. a Change of Control (as defined below) that OCCUIS without Executive's
                                    written consent;
                                6. the relocation of the- Company's headquarters to a location greater than 50
                                    miles from the Company's current location without Executive's written
                                    consent; or
                                7. company fails to obtain a written agreement from any successor of Company
                                    to assume and perform this Agreement; and within 90 days of learning of the
                                    occurrence of any such event and in the absence of any circumstance that
                                    constitutes Cause, Executive terminates employment with Company by a
                                    written notice specifying in reasonable detail the facts constituting Good
                                    Reason.

                      "Change of Control" shall be deemed to have occurred upon the earliest to occur of any
                      of the following events, each of which shall be determined independently of the others:

                      (1) a natural person, partnership (whether general or limited), limited liability company,
                          joint venture, trust, estate, association, corporation, government or any department or
                          agency thereot custodian, nominee or any otherindividual or entity in its own or any
                          representative capacity (collectively referred to herein as "Person") (together with any
                          affiliates of such Person) is or becomes the beneficial owner, directly or indirectly, of
                          voting interests of Company . entitling such Person to exercise fifty percent (50%) or
                          more of the total voting power of such voting interests; -

                      (2) shareholders of Company adopt a plan of complete or substantial liquidation or an
                          agreement providing for the distribution of all or substantially all of its assets; or

                      (3) there has occurred a "Change of Control," as such term (or any term of like import) is
                          defined in any of the following documents which is in effect with respect to Company
                          at the time in question: any note, evidence of indebtedness or agreement to lend
                          funds to Company, any option, incentive or employee benefit plan of Company or
                          any employment, seVerance, termination or similar agreement with any person who is
                          then an employee of Company.

                      vi. Mutual Agreement. This Agreement and Executive's employment hereunder may be
                           terminated at any time, with or without notice, by the mutual agreement of the
                           Company and Executive.
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                       vii. Morality Clause. Executive may be terminated immediately upon any serious act of
                             misconduct by Executive, including, but not limited to, an act of dishonesty, theft or
                             misappropriation of Company Property, moral turpitude, insubordination, or any act
                             injuring abusing or endangering others or negatively impacting the image and
                             reputation of the Company. In the event of termination under the Morality Clause,
                             the Executive shall not be entitled to any Severance and shall be paid up to the date of
                             termination with no further obligations being owed by the Company.

       (b)        The Company's Obligations Upon Termination.

                         1. For Cause; Termination by Executive Other Than For Good Reason. If the Company
                            shall terminate this Agreement and Executive's employment hereunder for Cause or
                            if the Executive shall thrminate this Agreement and Executive's employment
                            hereunder other than for Good Reason, the Company's sole obligation to Executive
                            under this Agreement or otherwise shall be for the Company to (i) pay to Executive
                            the amount of any Base Salary earned, but not yet paid to Executive, prior to the
                            effective date of such termination (the "Termination Date"); (ii) to the extent not
                            previously reimbursed, reimburse Executive for any expenses incurred by Executive
                            through the Termination Date in accordance with Section 4.7; and (iii) pay and/or
                            provide any other amounts or benefits that are Vested amounts or vested benefits or
                             that Executive is otherwise entitled to receive under any plan, program, policy or
                            practice (with the exception of those, if anY, relating to severance) on the Termination
                            Date in accordance With such plan, program, policy or practice; (clauses (i) through
                             (iii) above, the 'Accrued Obligations").

                         ii. Without Cause; for Good Reason. If, during the Term, the Company shall terminate
                             this Agreement and Executive's employment hereunder without Cause and other than
                             due to death or Disability or Executive terminates this Agreement and Executive's
                             employment hereunder for Good Reasoti, the Company shall (i) pay and/or provide to
                             Executive the Accrued Obligations in accordance with Section 15(b)(i) above, (ii) pay
                             to Executive the Severance Payments, (iii) pay to the Executive all Bonus earned but
                             not yet paid and (iv) the Company shall release the Executive from the covenants
                              contained in the Non-Disclosure of Information and Restrictive Covenant.

                         iii. Mutual Agreement. Upon any termination of this Agreement and the Executive's •
                              employment hereunder by mutual agreement of the Company and Executive, unless
                              otherwise mutually agreed to, the Company's sole obligation to Executive under this
                              Agreement or otherwise shall be for the Company to (i) pay and/or provide to
                              Executive the Accrued Obligations in accordance with Section 15(b)(i) above; and
                              (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                              recognized during the current fiscal year and including such Termination Date.

                         iv. Death. If this Agreement and Executive's employment hereunder shall terminate as a
                             result of Executive's death, the Company's sole obligation to Executive under this
                             Agreement or otherwise shall be for .the Company to (i) pay and/or provide to
                             Executive the Accrued ObligatiOns in accordance with Section 15(b)(i) above; and
                             (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                             recognized during the current fiscal year arid including such Termination Date.

                           v. Disability. If this Agreement and Executive's employthent hereunder shall terminate
                              as a result of the Executive's Disability; the Company's sole obligation to Executive
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                             under this Agreement or otherkise shalbe for the Company to (i) pay and/or provide
                             to Executive the Accrued Obligations in accordance with Section 15(b)(i) above; and
                             (ii) pay to the Executive all Bonus earned but not yet paid and any Bonus expected or
                             recognized during the current fiscal year and including such Tennination Date.

                       Ili   Vested Benefits. In addition to•the paYments and benefits set forth in this Section,
                             amounts which are vested benefits Or which are subject to acceleration or which
                             Executive is otherwise "Aided to Teceive under any plan, program, policy or practice
                             (with the exception of those relating to Severance) on the date of termination, shall be
                             payable in accordance with such plan, policy, practice or agreement.


      IN WITNESS WHEREOF, the Parties acknowledge and agree to the terms of this Employment
Agreement and have hereunto set their bands and seals as of the date first written above.

COMPANY:
Red Dice Holdings, LLC



Thr•
        ?Tint ft#46°C
As Its: ,                                •




EXECUTIVE:




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                                                CONSULTING AGREEMENT

 THIS CONSULTING AGREEMENT (the "Agreement") js made this C day of April 2012 (the "Effective
 Date"), by RED DICE HOLDINGS, LLC, (the "Company"), and CHARLES K. SMITH, an Alabama resident
 ("Consultant") (the foregoing collectively, the "Parties" and.each a "party").

                                                  . RECITALS '

         WHEREAS, On or about April           2012, the Company retained Executive to serve as a senior officer
 in the capacity of Chief Operating Officer; and

        WHEREAS, The Parties wish to memorialize formally the material terms and conditions applicable to
 Consultant's consulting position with the Company.

        WHEREFORE, In furtherance of the foregoing events and objectives, and with full acknowledgement of
and intent to be bound by the terms hereof, the Parties agree as follows: •

                                                   WITNESSETH

1.      Integration. The Parties expressly incorporate the foregoing Recitals as material terms of this
Agreement, reflecting not only their intent and objectives but also the consideration to be exchanged by the
Parties hereunder.

2.     Employment; Nature of Relationship; Term. Upon written approval of the Management Committee,
the Company may retain the employment of Consultant's consulting services based upon the terms and
conditions stated herein.

3.       Scone and Extent of Employment Duties. 'Consultant shall serve as the Company's Chief Operating
Officer. Consultant shall devote his time and attention to the Company's business as directed by the President
of the Company. Consultant may engage in any directorship, consulting project, or other active business
engagements, including employment in another business owned . by Consultant, during the term of this
Agreement, regardless of whether such activity is pursued for gain, profit or nonprofit; provided, however, such
activities do not materially interfere with Consultant's duties as Chief Operating Officer. 'Consultant may invest
his assets, however, in other non-affiliated companies Or ventures, provided that same does not require
Consultant's services in the operation of their affairs, and provided further that such companies or ventures
(except for Left Bank, LLC) do not compete either directly or indirectly with the Company, its affiliates and/or
assigns.

     3.1          Roles and Responsibilities: Some of the Consultant responsibilities shall include, but is not
                  limited to, the following:

                  OVERVIEW: To insure the profitable growth and mission ofthe Company is obtained to the best
                  of Consultant's ability. The Consultant must conduct himself in a professional manner at all times.
                  Consultant will report to the President and provide operational and administrative guidance and
                  oversight to the Company, as well as work on specific projects such as acquisitions and strategic
                  planning.

                  Finance/Accounting/Legal Oversight: Develop and monitor Company budgets and ensure
                  monthly monitoring for variances and compliance. Maintains good current understanding of
                  accounting and other business practices. Assess the current financial structure of the corporations
                  and develop ideas for improvement Oversees cost control of the new product implementation. To
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                 conduct monthly corporate performance meetings for each facility to include a review of financial
                 statements, business plans and related matters. Generate action plans as needed. Responsible for
                 working with the appropriate Consultants and departments to ensure timely and accurate
                 accounting, budgeting and financial reporting. This will include monthly operating reports as well
                 as quarterly and yearly financial reports. Will also work closely with Company legal staff and
                 outside counsel on contract negotiations, compliance issues, filings and other pertinent legal
                 matters.

                 Acquisitions: Work with the President and Management Committee to identify and analyze
                 potential investment and acquisition candidates for the Company. Develop pro forma models, cost
                 justification analysis and pricing models to determine cost of acquisition and purchase parameters.
                 Will take the lead with other Consultants in negotiating the acquisition. Will oversee the
                 contractual/legal negotiations, working closely with the Company legal counsel.

                 Integration: Will develop post acquisition integration plans to successfully bring the newly
                 acquired company or investment into Company . operations, ensuring a smooth integration of
                 personnel, marketing, product manufacturing, accounting and operations within agreed upon budget
                 and timing parameters. •

                 Objectives: Assist President.in the development and enhancement of corporate objectives, rewards
                 philosophies, and strategic planning in relation to staffing and trends in human resource
                 management. Participate in and promote a team environment by working with management to
                 accomplish corporate responsibilities and objectives. Continually monitor all aspects to improve
                 workflow and production. Ensure that proper constructing and operations reports are prepared and
                 communicated between departments and the Management Committee in a timely-manner. Develops
                 long range as well as short range overall plans for the company with regard to volume and type of
                 work desired, quality of work desired, figure growth, etc. Responsible, with the President, for the
                 integration of all the above into an organized controlled smooth .flowing system.

                 Additional Responsibilities: May be assigned by the Management Committee at any time, set
                 forth in writing and provided to Consultant.

4.     Compensation. The Company shall. pay Consultant the following compensation for all services
rendered hereunder:

          (A)      Base Compensation. Shall be determined upon Management Committee written approval,
                   which shall be agreed upon with Consultant no later than six (6) months from the date of the
                   Execution of this Agreement




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          (B) Employment Taxes and Benefits.               Consultant agrees as an independent contractor that
                Consultant is not entitled to unemployment insurance benefits OR workers' compensation
                benefits, and that Consultant is obligated to pay federal and state income tax on any money paid
                pursuant to the contract relationship. Consultant understands that Company shall not provide
                any employment benefits to .Consultant, including vacation pay, sick leaVe, retirement benefits,
                health or disability benefits AND social. sectirityAND Consultant benefits of any kind.

5.     Expenses. The Company shall reimburse Consultant for all reasonable opt-of-pocket expenses
Consultant incurred during the Term in connection with the perfmmance of Consultant's duties and obligations
under this Agreement, according to the Company's reimbursement policies in effect from time to time and
provided that Consultant shall submit documentation .which the 'Company deems reasonable with respect to
such expenses.

6.        Non-Disclosure of Information and Restrictive Covenant. [See Exhibit          1

7.      Assignment. The Consultant acknowledges that his services are unique and personal. Accordingly, the
Consultant may not assign his rights or delegate his duties or obligations under this Agreement. The Companys
rights and obligations under this Agreement shall inure to the benefit of, and shall be binding upon, the
Company's successors and assigns. .

8.      Notices. All notices, elections, offers, acceptances, and other communications hereunder shall be in
writing and shall be delivered in person with written acknowledgment by the recipient of such delivery; by
facsimile/telec,opy with confirmation; by overnight delivery service with receipt and tracicing number; or by
United States Mail by way of certified or registered mail, return receipt requested, to the address provided by
each Member to the Company or to the Company at its principal business address. A notice, election, offer,
acceptance, or other communication shall be deemed to be received: (A) if by personal delivery, on the date
delivered with written acknowledgment by the recipient of such delivery; (B) if by facsimile/telecopy, on the
date confirmed by receipt / statement of the transmitting Machine; (C) if by overnight delivery service, on the
date delivered; and (D) if by United States Mail, on the date delivered with written acknowledgment on the
return receipt.

9.      Entire Agreement; Amendment; Severabilitv; Headings; Gender References. This Agreement,
constitutes the entire understanding of the Parties hereto, explicitly superseding the confirmatory letter
previously signed by the Parties and referenced in the Recitals above. No modifications, amendments, or other
statements to this Agreement shall be binding on the Parties unless executed in writing and signed by the Party
to be bound by such instrument

    If any provision of this Agreement is held invalid or unenforceable, such invalidity or =enforceability shall
not affect the other provisions of this Agreement and, to that extent, the provisions of this Agreement are
intended to be and shall be deemed to be severable.

   Headings in this contract are for convenience and reference only and shall not be used to interpret or
construe provisions hereunder. All references . in this Agreement shall be gender neutral, such that the
masculine shall include the feminine and vice versa, and neutral references shall encompass both. Where
applicable, the singular shall include the plural and vice versa.

10.     Non-Waiver. No delay or failure by either Party to exercise any right hereunder, and no partial or
single exercise of such right, shall constitute a waiver of that or any other right, unless otherwise expressly
provided herein.

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 11.     Binding Agreement. This Agreement shall bind the executors, administrators, representatives, estates,
 heirs, beneficiaries, and other successors of the Parties.

12.    Governing Law; Legal Fees. California law shall govern this Agreement and all questions arising
hereunder. Each Party hereto expressly and irrevocably waives trial by jury in any suit, action, or proceeding in
relation to this Agreement. In any suit, action, or proceeding to enforce, interpret, or challenge the
enforceability of this Agreement, the prevailing Party in such suit, action, or proceeding shall be entitled to its
reasonable attorneys' fees and all other costs of arbitration or other action, through all authorized appeals.

13.     Execution. This Agreement may be executed in counterparts, and faxed signatures of this Agreement
shall constitute an original instrument qualified for admission into evidence in any court or administrative
proceeding, through all authorized appeals.

 14.     Indemnification. Providing the Consultant was not negligent in the performance of Consultant's duties
 provided for herein, if the Consultant is made a party, or is threatened to be made a party, to any suit or
• proceeding, whether civil, criminal, administrative, investigative, appellate or other by reason of the fact that he
 is or was a director, officer, Consultant, agent, manager, consultant or representative of the Company or any of
 its subsidiaries or is or was serving at the recinest of the Company or any of its subsidiaries, or in connection
 with her service hereunder, as a director, officer; member, Consultant, agent, manager, consultant or
 representative of any other entity, or .if any claim is made, ot is. threatened to be made, that arises out of or
 relates to the Consultant's service in any of the foregoing capacities, then the Consultant shall promptly be
 indemnified and held harmless, and shall be entitled toprompt . advancement of expenses, including without
 limitation attorneys' fees and other charges of counsel, in each case, to the fullest extent provided under
 applicable law, the Company's Operating Agreement, . and the .Company's officers' and directors' liability
 insurance policies.
15.       Termination.

        (a)    Events of Termination. This Agreement and Consultant's consulting employment hereunder
shall terminate upon the occurrence of any one or more of the following events and payment for services
rendered up to the date of termination shall be paid according to Company's standard payment practices;

                         i. Termination By the Company. The Company may, at its option and with written
                            approval by the Management Committee, at any time terminate Consultant's
                            consulting employment for no reason or for any reason whatsoever by providing 5
                            days written notice of intent to terminate'.

                         ii. Termination By C.onSultant. ConSultant may terminate this Agreement and
                             Consultant's consulting employment for no reason or for any reason whatsoever by
                             providing 5 days written notice of intent to terminate. Upon receiving said notice,
                             Company may elect to forego notice and terminate Consultants contract immediately.




                                                [Signature Page la Follow]




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                                                           '



Z.




           IN WITNESS W1TEREOF1 the Parties acknowledge and agree to the terms of this Consulting
     Employment Agreement and have hereunto set their hands ad seals as of the date first written above.

     COMPANY:
     Red Dice Holdings, LLC

     By:


     As its: iete4   ,
                     4




     CO(NOL
          :I
           ie

     Charles K. Smith




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                               ' EXHIBTT G
         FUNDING AGREEMENT BETWEEN RED DICE HOLDING LLC AND
                     EQTJITYTREND LLC/JT TRADING




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                                  ESCROW AGREEMENT


       THIS ESCROW AGREEMENT, (the "Agreement") made this day of April              2012,
by and among, Red Dice Holdings, LLC, 2665 Arlene Drive, Suite 207, San Diego, CA 92117
("RDH") and Equity Trend Advisors LLC, in care of SF Trading ("ETJT" or "Escrow
Agent")) and, with offices at Carmel Valley Center IL 11995 El Camino Real, Suite 301, San
Diego, CA 92130

       WHEREAS, in consideration and incompliance of the Operating Agreement dated the
5th day of April 2012, the parties hereby agree as follows:

        WHEREAS, Escrow Agent is holding Twenty Four Million One Hundred Sixty-Six
Thousand Six Hundred Sixty-Seven (24,166,667) shares of common stock of Medical Marijuana
Inc., a Oregon corporation ("MINA shaies") on behalf of RDH, in accordance with the
Operating Agreement (the "Operating Agreement") by and between Dixie Holdings, LLC, a
Colorado limited liability company and Medical Marijuana, Inc., a Oregon corporation; and

        WHEREAS, ETJT, acting in its capacity as a registered broker-dealer, shall cause the
MINA shares to be sold at the then current fair market value price, for the benefit of RDH, and
to disburse the proceeds form such sale or sales of the MINA shares ("Funds") in accordance
with the terms and . conditions of the Operating Agreement (a "Funding Request").

       WHEREAS, Escrow Agent is agreeable to act as escrow agent without compensation
under this Agreement and to disburse The Funds in accordance with the terms and conditions
hereinafter set forth.

       NOW, THEREFORE, in consideration of the mutual covenants and promises set for the
below, the parties agree:

          I. Establishment of Escrow Account.

               1.1. An escrow account shall be established under this Agreement by with Escrow
Agent at who shall hold the MINA 'hares, liquidate the 1V1INA shares and distribute the Funds
from time to time as hereinafter set forth (the "Escrow Account"). Escrow Agent shall not
commingle the Funds.

              1.2. ETIT acknowledges and agrees that the -MINA shares and Funds in the
Escrow Account are to be used exclusively for the purpose of funding operations and
development of RDH.

         2. Disbursements.

               2.1. The Escrow Agent shall disburse all or a portion of the Funds in accordance
with the following: .



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•                                                                                                         4




                   (a) Upon receipt of a Funding Request by RDH which shall acknowledge that
    certain milestones have been achieved set forth below, Funds shall be allocated for that particular
    milestone and shall direct the party to which funding is to be received, attached as Exhibit A.

                   (b) .ETJT .shall commence liquidation of shares within three (3) business day
    from receipt of the Funding Request. Funds shall be disbursed to RDH Within three (3) business
    days from date shares are sold.'

                  2.2. Upon the sale of the MJNA shares and the. termination or proper
    disbursement of all the Funds, the Escrow Agreement shall terminate.

              3. Escrow Agent's Responsibility.

           3.1. Upon disbursement of all or any portion of the Funds in accordance with this
    Agreement, Escrow Agent shall have no fluffier responsibility with respect to the amounts so
    disbursed. In this regard, it is expressly agreed and understood that in no event shall the
    aggregate amount of disbursements from the Escrow Account by Escrow Agent exceed the
    amounts deposited by in the Escrow Account plus accrued interest and increased fair market
    value of the MINA shares, as provided herein. .

            3.2. RDH understands and agrees that the duties of Escrow Agent are purely ministerial
    in nature and RDH further agrees that Escrow Agent shall not be liable for any action taken or
    omitted hereunder or under this Agreement except in the case of its bad faith, negligence or
    willful misconduct

           3.3 Escrow Agent shall furnish to RDH an accounting of the receipts in, and
    disbursements from, the Escrow Accounts, as requested.

            3.4. RDH agrees to indemnify Escrow Agent and its partners, and agents (herein the
    "Indemnities") against, and to hold them harmless of and from, any and all loss, liability, cost,
    damage and expense, any and all loss, limitation, reasonable attorneys' fees, except in the case of
    Escrow Agents bad faith, negligence, or willful misconduct, which the Indemnities may suffer
    or-incur by reason of any action, -claim or proceeding brought by any third party against the
    Indemnities, arising out of or relating in any way to fids'Agreement, or the performance of its
    duties hereunder.

               4. Miscellaneous.

                   4.1. This Agreement encompasses the entire Agreement of the parties and shall
    not be modified except by an instrument in writing signed by the parties.

                    4.2. This Agreement shall be governed by and construed in accordance with the
    laws of the State of California and the proper venue and jurisdiction for any action or claim with
    respect to this Agreement or any document delivered pursuant hereto shall be in the appropriate
    court in San Diego, CA except as for provided in section 4.3.



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                4.3. In the event of the receipt of conflicting instructions prior to disr.harge of the
 Escrow Agent, Escrow Agent shall commence an arbitration before a single arbitrator acceptable
 to Escrow Agent under the rules of the American Arbitration Association, whose decision shall
 be final that shall be located in San Diego, CA. Upon . receipt of a final decision from the -
 arbitrator, the Escrow Agent shall comply therewith and upon such compliance shall be
 discharged from all further liability. The deciaion of the arbitrator shall be final, and may be
 reduced to judgment by any party hereto or the Escrow Agent The arbitration mast be resolved
 within 15 days of a request for arbitration. RDH shall pay their own attorney fees and legal costs.
 The aforementioned parties shall equally split the Escrow Agent's and arbitrator's reasonable fees
 and costs.

                  4.4. All notice required to be given in connection with this Agreement shall be
 sent via certified mail or overnight . express with receipt and addressed as follows:

                If to: RDH 2665 Arirme Dr, Suite 207, San Diego, CA 92117 with a copy to
                Dixie Holdings, LLC: 777 E. Speer Blvd., Denver, Colorado 80203

                If to ETJT: 11995 El Camino Real, Suite 301, San Diego, CA 92130



IN WITNESS WHEREOF, this Agreement has been executed this day of 5 April 2012.


Red Diceaoldings, LW


Print Name:
Its:


Equity Trend Advisors LLC


Print Name:
Its:


IT Trading


Print Name:
It




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                                              .



                                          '       EXHD3IT A .
                    .                                                                                                                                               ..
                                 REQUEST FOR FUNDING
   Equity Trend Advisors LW, in care of IT Trading Of Carmel Valley Center II, 11995 E1 Camino
                         Real, Suite 301 San Diego, CA 92130(the "ETJT")

                                              •               AND                                              •

     Red Dice Holdings, LLC of 2665 Arlene Drive, Suite 207, San Diego, CA 92117(the "RDI-1")

  DATE OF REQUEST:

  TRANSACTION DESCRIPTION:
  ** Attach a copy of the Agreement to which the disbursement applies.
                                                                                                                                                                .
  AMOUNT OF FUNDS REQUESTED: ($)                                          .                                                                .


  TERMS FOR DISBURSEMENT:
                                                                                                                                   •

  FUNDS TO BE DISBURSED TO:                           •
                                                                                                           .           •                       .

 Attn:                                -                   Contact No.: (                                                   )                           -
                        •
                                                          '
 ADDITIONAL DIRECTION:                -                                                •           .
                                                                                               .                                       .           ,
                                                                      ,
                                  .                                               ..                           .               .                           .,
                                                              .
                                                                                                               '
 FEES: Fee Earned by ETJT $       '                                           '            _           .


 REQUESTED BY:                                                        -                            ,
 Red Dice Holding
                                                                  •
                                                                                                                                               /
acn
Michael R. Llamas, Member                                                     Vincent , . Keber III, Managing Member


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                                                                                                                   .       .
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                                 DISBURSEMEIVT INSTRUCTIONS

  Upon written confirmation from RDH of the Closing and each of the relevant milestones being
  reached and in compliance with the Request for Funding, the disbursement will be as follows:


(A) At Closing, the Company shall sell Two Hundred Fifty Thousand Dollars ($250,000) (exclusive of
broker's fees) in MINA Shares and the Proceeds to the Company shall be tendered for payments as
follows:
        $50,000 to be released for DDCI5 Member employee incentives;
        $150,000 for the payment of DIXIE Meinbex investor debts;
        $50,000 for the payment of DDCIE Member short term atconnt payables;

(B) At Milestone 1, which is contingent on Left Bank, LLC, on behalf of Pharmasphere, sourcing and
obtaining required location and lease for the facility, signing a lease agreement for the facility and
maintaining the required licensing, the Company shall sell Two Hundred Fifty Thousand Dollars
($250,000) (exclusive of broker's fees) in MJNA Shares and the Proceeds to the Company shall be
tendered for payments as follows:
        $50,000 to Vincent M. Keber, III
        $50,000 to Charles Smith                                  •
        $150,000 for the payment of DEUR Member investor debis;(will discuss flow of fluids.. .since
        debt is held in Tripp's name with Left Bank and then between Tripp personally with investor to
        satisfij CO law. Will provide proof of payment if needed)

(C)At Milestone 2, which is contingent upon the successful integration of a new product offering (such
as medicated chewing gum) or any other product currently controlled by NINA Member, into the
operations of the Company including defining the manufacturing, packaging and marketing
requirements necessary for product launch, the Company shall sell One Hundred Thousand Dollars
($100,000) in MINA Shares and the Proceeds to the Company shall be tendered for payments as
follows: (i) $100,000 to DDCIE Member for the purpoie of repaying debt to affiliated companies.

(D) Balance. The balance of Eight Hundred Fifty Thousand ($850,000) in MJNA Shares allocated herein,
less all brokerage fees incurred from any liquidation of shares and based upon all contingencies stated in
Sections 9.1 (n)(i), (n)(ii) and (n)(iii)of the Operating Agreement being fulfilled, than be used solely as
working capital for operations of the Company including, but not limited to operations, licensing,
research/development and marketing as approved in writing by the Management Committee in the
operations budget.

(E) Additional Milestones. Additional milestones may be set by RDH at any time and same shall be
provided to Escrow Agent and incorporated herein.




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                                  EXHIBIT H
                           KEBER AND SMITH WARRANTS




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                                    STOCK OPTION WARRANT AGREEMENT
     • Medical Marijuana, Inc.., a Oregon corporation (the "Company"), pursuant to the agreement by and between
Cannabank, In., a Delaware company and Vincent M. Keber a individual dated the 5 w day of April 2012, (the
"Agreement), hereby grants to the individual listed below (the "Opfionee"), an option to purchase the number of shares
of the common stock of the Company ("Common Stock"), set forth below (the "Option").

Optionee:                           Vincent M. Keber DI, an individual
Grunt Date                          April 5, 2012
Exercise Price per Share:          $[.06 j /Share
Total Exercise Price:              $ 100,000
TotalNam bar of Shares             One Million, Six Hundred Sixty-Six Thousand Six Hundred Sixty-Six
Subject to the Option:             (1,666,666) shares
Expiration Date:                   April 4, 2014

Type of Option:             Restricted Shares

Termination:                The Option shall terminate on the Expiration Date set forth above or, if earlier, in accordance
                            with the terms of the Stock Option Agreement
By his or her signature, the Optionee agrees to be bound by the thmis and conditions herein. The Optiehee fully
understands all provisions of this Option Agreement.

Medical Marijruana, Inc.                                           Vincent NI. Kebe7,

By:                                                                By:
                ere-
Print Nanie:    Michael R Llamas                                                   /24 Cad drier
Title:          President

Address:        2665 Mane Drive, Suite 201, San Diego              Address:
                CA 92117                                                         790/          442.e-e
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                                      STOCK OPTION WARRANT AGREEMENT
                                                                           •
     Medical Marijuana, Inc.., a Oregon corporation (the "CranPann pursuant to the agreement by and between
Cannabank, b3c., a Delaware company and Charles Smith, a individual dated the 5 4 day of April 2012, (the "Agreement"),
hereby grants to the individual listed below (tho "Op/kneel, an option to purchase the number of shares of the conunon
stock of the Company ("Common Stock"), set forth below (the "Option").

Optionee:                            Charles Smith, an individual
Grant Date:                          April 5, 2012
Exercise Price per Share:           $[.06 ] /Share
Total Exercise Price:               $ 100,000
Total Number of Shares              One Million, Six Hundred Sixty-Six Thousand Six Hundred Sixty-Six
Subject to the Option:              (1,666,666) shares
Expiration Date:                    April 4, 2014

The of Option:                Restricted Shares

Termination:                 The Option shall terminate on the Expiration Date set forth above or, if earlier, in accordance
                             with the terms of the Stock Option Agreement.
By his or her signature, the Optionee agrees to be bound by the terms and conditions herein. The Optionee fully
understands all provisions of this Option Agreement.

Medical Marijuana, Inc.                                             Charles Smith                             •

By:                         -------(
                                                                    By:

Print Name:     Michael R. Llamas                    --.                           C tylre-c- Cs      K. g_ . --Pt,
Title:          President

Address:        2665 Mane Drive, Suite 201, San Diego               Address:
                CA92117                                                             (°g               arcs            C4- -
                                                                                   cc.c.;.A._Lev t A-C. 1 6 ill--
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                                   EXHIBIT I
           LICENSING AGREEMENT .WITH MJNA FOR TERRASPBERE GROW
                               TECHNOLOGY




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                                     EXHIBIT J
                                OPERATING BUDGET
                                 _




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 1

 2
     BENJAMIN B. WAGNER
     United States Attorney
     RUSSELL L. CARLBERG
                                                             FILED
     TODD D. LERAS
                                                                MAY 3 0 201
 3   PAUL A. HEMESATH                                     CLERK. U.S      I COURT
                                                        EASTERN DIST.     CALIFORNIA
     Assistant U.S. Attorneys                           IT
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5   Tel: (916) 554-2700
     Fax: (916) 554-2900
 6

 7

                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 CASE NO:2:1i-alq..!
12                           Plaintiff,       VIOLATIONS: 18 U.S.C. S 1341 -
13                                            Mail Fraud (18 . 6unts); 18 U.S.C.
     V.
                                              S 1343 - Wire Fraud. (32 Counts);
14   LEE LOOMIS,                              18 U.S.C. SS 981(a)(1)(C),
        aka Lawrence Leland Loomis,           981(a) (1) (D) , 982(a) (2) ; 28
15   JOHN HAGENER,                            U.S.C. § 2461(c) - Criminal
     DARREN FEHST,                            Forfeiture
16   MICHAEL LLAMAS,
     PETER WOODARD,
17   JOSEPH A. GEKKO, and
     DAWN C. POWERS,
18
                             Defendants.
19
20
21                    SUPERSEDING                INDICTMENT
22
23   COUNTS ONE THROUGH TWELVE: [18 U.S.C. § 1341 - Mail Fraud]
24           The Grand Jury charges:

25                                     LEE.LOOMIS,
                             aka Lawrence Leland Loomis, and
26                                    JOHN HAGENER,
27   defendants herein,' as follows:
28
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                       -   -     -




     1                                  I.   INTRODUCTION
     2        At all times relevant to this Superseding Indictment:
     3        1.    Defendant LEE LOOMIS, who was also known as Lawrence Leland
     4   Loomis, resided in the State of Illinois before relocating to.the
     5   State and Eastern District of California in 2007. Defendant LOOMIS
     6   controlled an Illinois limited liability company named Loomis Wealth
     7   Solutions, LLC ("LWS") with offices in: Roseville, California;
     8   Pleasanton, California; and elsewhere. Through LWS, defendant LOOMIS
     9   held himself out as a wealth management consultant.
    10        2.    Defendant LEE LOOMIS controlled a Delaware limited
    11   liability company named Advantage Financial Group Holdings, LLC
    12   •"AFGH"). AFGH was a holding company. Defendant LEE LOOMIS solicited
    13   investors in California and Illinois to make minimum investments of
    14   $250,000 in AFGH in okder to become "members" of the LLC. Defendant
    15   LOOMIS thereby collected approximately $10 million from approximately
    16   40 investors in AFGH.
    17        3.    Defendant LEE LOOMIS, through AFGH, owned a controlling
    18   interest in a California limited liability company called Advantage
    19   Financial Partners of California, LLC ("AFP-CA"). AFP-CA had an
    20   office in Chico in the State and Eastern District of California. AFP-
    21   CA was a business that acquired residential real estate and re-sold it
    22   to individuals whom defendant LOOMIS and others recruited as "nominee"
•   23   purchasers. Johnny E. Grivette, Jr. a/k/a/ Jay Grivette, charged
    24   elsewhere, was the manager of AFP-CA during 2006 and 2007.
    25        4.    Defendant LEE LOOMIS controlled an Illinois limited
. 26     liability company called Advantage Plan Plus, LLC ("APP"). In and
    27   around 2006, defendant LOOMIS solicited investors in California and
    28   Illinois to invest in APP by falsely promising them approximately 12%


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   1   returns on their investments in a "high yield" liquid "savings
   2   account." Defendant LOOMIS collected over $1.8 million from investors
   3   in APP.
   4      ‘,5,    Defendant JOHN HAGENER resided in the State of Illinois and
   5   periodically stayed and did business in the State and Eastern District
   6   of California. Defendant HAGENER was the father-in-law of defendant
   7   LOOMIS.
  '8        6.    Defendants LEE LOOMIS and JOHN HAGENER controlled two
   9   Delaware limited liability companies: (1) Naras Secured Fund, LLC
  10   ("Naras #1"); and (2) Naras Secured Fund #2, LLC ("Naras #2 m ),
  11   (collectively, "Naras Funds").
  12        7.    Defendant JOHN HAGENER controlled a Delaware limited
  13   liability company called Lismar Financial Services, LLC ("Lismar").
  14   Defendant HAGENER, through Lismar, managed the Naras Funds. The Naras
' 15   Funds were purported Regulation D private placement offerings of
  16   unregistered securities that defendant LOOMIS offered to members of
  17   LWS and others."
  18        8.    Defendant JOHN HAGENER was a signatory on the bank accounts
  19   of the tiaras Funds maintained at Washington. Mutual Bank in both
 20    Roseville, California and Glendale Heights, Illinois.
 21         9.    Equity Trust Company ("Equity Trust") was a third-party
 22    entity, located in Elyria, Ohio, through which defendants LEE LOOMIS,
 23    JOHN HAGENER, and others arranged for investors to transfer retirement
 24    balances to the tiaras Funds via a self-directed individual retirement
 25    account.
 26                            II.   THE SCHEME TO DEFRAUD
 27         10.   Between no later than December 2007 and continuing through
 28    at least August 2008, in the State and Eastern District'of California,


                                             3
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                      -   -   -




   1   and elsewhere, defendants LEE LOOMIS, JOHN HAGENER and others known
  2 and unknown to the Grand Jury, did knowingly devise and intend to
  3 devise, and participate in a material scheme and artifice to defraud
  4    investors and to obtain money from investors by means of materially
  5    false and fraudulent pretenses, representations, and promises. As a
       result of the fraud, defendants LEE LOOMIS, JOHN HAGENER, and others,
  7 obtained money to which they were not entitled.
   8                                III. WAYS AND MEANS
  9         The principal ways and means used to accomplish the scheme to
 10    defraud were as follows:
 11         11.   Defendant LEE LOOMIS devised, Orchestrated, and executed
 12 with others, including defendant JOHN HAGENER, a scheme to defraud
 13 victims who were induced to invest money in investment funds called
 14    the Naras Funds based on false representations that they were was
 15 safe, secured, guaranteed, liquid and would pay 12% annual returns.
' 16        12.   Defendant LEE LOOMIS and others acting at his direction
 17 used and caused to be used newspapers and the United States mail to
 18 advertise investment seminars held in California, Illinois, and
 19 Washington. In advertisements and literature, defendant LEE LOOMIS
 20 held himielf out as a successful investment advisor who could build
 21 wealth for "middle to upper middle income Americans." In addition, he
 22 marketed a wealth-building "Advantage" financial plan as "simply the
 23 best financial plan ever created."
 24         13.   Defendant LEE LOOMIS and others held initial two-hour
 25 seminars where he provided an overview of his wealth-building program
 26 and collected financial information from interested attendees, who
 27 were then screened for credit-worthiness and financial resources.
 28 Attendees with substantial savings, home equity, retirement accounts,


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 1   and/or high credit scores, were invited to come back to a weekend
 2   workshop where defendant LOOMIS' and others acting at his direction
 3   made various representations and promises to investors to convince
     them to become members of LWS and to invest in the Naras Funds.
 5        14.      Defendant LEE LOOMIS urged investors he recruited into his
 6   wealth-building program to "harvest" the equity in their own primary
 7   residences by refinancing their homes to obtain cash for investment in
 8   the tiaras Funds. He also encouraged members to move their money from
 9   their IRAs and 401(k) retirement accounts to self-directed IRAs from
10   which money could then be invested in the Naras Funds. Defendants
11   LOOMIS and HAGENER often directed investors to wire their home equity
12   and retirement monies to the tiaras Funds, at times through a third-
13   party.
14        15.      During the workshops, and in one-on-one meetings with
15   investors, defendant LEE LOOMIS and others falsely represented that
16   monies invested in the NARAS Funds would be invested in second
17   mortgages paying a 14/ annual rate of return and would be secured by
18   deeds of trust on real properties. Defendant LEE LOOMIS and others
19   represented the tiaras Funds to be safe, "liquid, high-yield accounts"
20   that would pay investors a 121 annual rate of return, and could be
21   fully redeemed after - an investor's request.
22        16.      In truth, defendants LEE LOOMIS and JOHN HAGENER did not
23   invest the tiaras Funds in second mortgages, did not obtain secured
24   deeds of trust, and the Naras Funds did . not generate the 12% rate of
25   return as promised. Moreover, the Naras Funds were not liquid or
26   readily redeemable. Contrary to the representations made by
27   defendants, funds provided by investors were often depleted in order
28   to: (1) fund the operations of other companies affiliated with


                                                5
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 1   defendant LOOMIS; (2) pay earlier investors in the Naras Funds,
 2   earlier investors in APP, and earlier investors in AFGH, with money
 3   collected from later investors in the Naras Funds; and (3) pay for
 4   other undisclosed expenditures. For instance, the Naras Funds account
 5   statements dated June 30, 2008, reflected that investors had total
 6   individual account balances exceeding $10 million in the aggregate.
 7   In truth, the Naras Funds bank accounts actually held only
 8   approximately $200,000 in the aggregate.
 9        17.   Defendant LEE LOOMIS and others falsely represented to
10   investors that the Naras Funds' obligations to pay periodic
11   distributions to investors were secured by "guaranty" agreements made
12   by AFP-CA. In truth, AFP-CA's guarantee was illusory because, unknown
13   to many investors:    (1) LOOMIS controlled APP-CA; (2) AFP-CA did not

14   have substantial assets to back the "guaranty"; and (3) unknown to
15   most investors, APP-CA, through its holding company, had actually
16   borrowed approximately $1.9 million from the Naras Funds and not
17   repaid that debt.
18        18.   With defendant LEE LOOMIS's knowledge, defendant JOHN
19   HAGENER and others prepared, caused to be prepared, and caused to be
20   mailed monthly Naras Funds account statements for each investor
21   showing an individualized account number, account balance, and monthly
22   return on the balance consistent with an approximately 12% annualized
23   rate of return. These Naras Funds account statements were sent via
24   the United States mail from Roseville, California; and Glendale
25   Heights, Illinois, to investors in the Eastern District of California
26   and elsewhere in furtherance of the scheme. In truth, the NARAS Funds
27   did not maintain individualized accounts for investors; the balances
28   represented on the monthly statements were false; and the purported


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 1   monthly earnings were false.
 2         19.    As a result of various fraudulent acts of the defendants,
 3   investors in the Naras Funds lost over $7 million dollars.
 4                                    IV.     THE MAILINGS

 5         20.    On or about the dates set forth below, defendants LEE
 6   LOOMIS, JOHN HAGENER, and others known and unknown to the Grand Jury,
 7   for the purpose of executing the above-described scheme, did knowingly
 8   place, and cause to be placed, in an authorized depository for mail
 9   matter, the mail matter described below, to be sent and delivered by
10   the United States Postal Service:
11
     Ct       Date           Sender           Recipient               Item
12
                         JOHN
13                       HAGENER,
                         Naras                             Washington Mutual Bank
14                       Secured Fund       Investor M.N., cashier's check for
     1    03/28/2008
                         #2, LLC,           Orangevale, CA $3,000.00, sent via
15                       Roseville,                        U.S. Mail
                         CA
16

17                   JOHN
                     HAGENER,                                                   -
18                   Naras                  Investors        Naras Secured Fund 412
19   2    07/01/2008 Secured Fund           D.R.B. and       investment report
                     #2, LLC,               L.B.,            dated June 1-30, 2008,
                     Roseville,             San Jose, CA     sent via U.S. Mail
20
                     CA
21
                     JOHN
22                   HAGENER,
                     Naras                                 Naras Secured Fund #2
23   3    07/01/2008 Secured Fund           Investor M.N., investment report
                                            Orangevale, CA dated June 1-30, 2008;
                     #2, LLC,
24                                                         sent via U.S. Mail
                     Roseville,
25                   CA
                     JOHN
26                   HAGENER,
                     Naras                                   Naras Secured Fund
                                            Investors R.P.
27   4    07/01/2008 Secured                                 investment report
                                            and G.P,
                     Fund, LLC,                              dated June 1-30, 2008,
                                            Redding, CA
28                                                           sent via U.S. Mail
                     Roseville,
                     CA

                                                 7
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       Ct       Date          Sender          Recipient                  Item
   1
                          JOHN
   2                      HAGENER,
                          Naras            Investors P.T.     Washington Mutual Bank
   3   5     07/30/2008   Secured Fund     and K.T.,          cashier's check for
                                           Crystal Lake,      $971.93, • sent via U.S.
                          #2, LLC,
   4                      Roseville,       It ,               Mail
                          CA
   5
                          JOHN
   6                      HAGENER,
                          Naras                               Naras Secured Fund #2
                                           Investors M.I.
       6     08/01/2008                                       investment report
   7                      Secured Fund     and L.M.,
                          #2, LLC,                            dated July 1-31, 2008,
                                           Redding, CA
   8                                                          sent via U.S. Mail
                          Roseville,
                          CA
   9
                          JOHN
  10                      HAGENER,
                          Naras                               Naras Secured Fund #2.
                                           Investor
       7     08/01/2008                                       investment report
  11                      Secured Fund     H.L.F.,
                                                              dated July 1-31, 2008,
                          #2, LLC,         Los Gatos, CA
  12                                                          sent via U.S. Mail
                          Roseville,
                          CA
  13
                          JOHN
  14                      HAGENER,
                                                              Naras Secured Fund #2
                          Naras            Investors P.A.
       8     08/01/2008                                       investment report
  15                      Secured Fund     and T.A.,
                          #2, LLC,                            dated July 1-31, 2008,
                                           Roseville, C A
  16                      Roseville,                          sent via U.S. Mail
                          CA
  17                      JOHN
  18                      HAGENER,
                                           Investors E.A.     Naras Secured Fund #2
                          Naras
       9     08/01/2008                    and N.A.,          investment report '
  19                      Secured Fund
                          #2, LLC,         Shingle            dated July 1-31, 2008,
' 20                                       Springs, CA        sent via U.S. Mail
                          Roseville,
                          CA
  21                      JOHN
  22                      HAGENER,
                          Naras                               Naras Secured Fund #2
                                           Investors M.D.
       10    08/01/2008   Secured Fund                        investment report
  23                                       and J.D.,
                          #2, LLC,                            dated July 1-31, 2008,
                                           Sunnyvale, CA
  24                                                          sent via U.S. Mail
                          Roseville,
                          CA
  25                      JOHN
  26                      HAGENER,
                                                              Naras Secured Fund #2
                          Naras            Investors R.E.
       11    08/01/2008   Secured Fund                        investment
                                                                     '   report
  27                                       and L.E.,
                                                              dated July 1-31, 2008,
                          #2, LLC,         New Berlin, WI
  28                      Roseville,                          sent via U.S. Mail
                          CA

                                                 8
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     Ct          Date  Sender                Recipient                 Item
 1
                   JOHN                                      Letter from JOHN
 2                 HAGENER,                                  HAGENER and Naras
                   Naras                  Investors          Secured Fund #2 with
 3   12 11/03/2008 Secured Fund           D.R.B. and         investment report
                                          L.B.,
                   #2, LLC,                                  dated October 1-31,
 4                                        San Jose, CA
                   Roseville,                                2008, sent via U.S.
                   CA                                        Mail
 5
     All in violation of Title 18, United States Code, Sections 2 and 1341.
 6
 7   COUNTS THIRTEEN THROUGH TWENTY-THREE: [18 U.S.C. § 1343 - Wire Fraud]

 8          The Grand Jury further charges:

 9                                      LEE LOOMIS,
                                aka Lawrence Leland Loomis,
10                                     JOHN HAGENER,

11   defendants herein, as follows:

12          1. The allegations contained in paragraphs 1-19 of Counts One
13   through Twelve of this Superseding Indictment are re-alleged and
14   incorporated herein as if set forth in full.
15          2.      On or about the dates set forth below, in the State and
16 Eastern District of California, defendants LEE LOOMIS, JOHN HAGENER,
17   and others known and unknown to the Grand Jury, for the purpose of
18 executing the above-described scheme, did knowingly cause to be
19 transmitted by means of wire communication in interstate commerce,
20 certain writings, signs, signals, pictures, and sounds, as described
21 below:
22
             DATE OF        DESCRIPTION OF
23   CT                    APPROXIMATE WIRE              SENDER.         RECIPIENT
              WIRE
24                           COMMUNICATION
                                                    Wells Fargo
                         $50,000 interstate
25                                                  Bank,            Washington
     13               wire transfer sent
           03/26/2008                               San Francisco,   Mutual Bank,
26                    via Fedwire system
                                                    CA               Roseville, CA .
                      from investor T.O.
27
28


                                                9
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                          -   -       -




                DATE OF              DESCRIPTION OF
     1   CT
                  WIRE
                  .
                                    APPROXIMATE WIRE         SENDER          RECIPIENT
     2                                 COMMUNICATION
                                  $120,000 interstate
     3                            wire transfer sent
                                  via Fedwire system     United Western   Washington
     4   14    03/27/2008         from Equity Trust      Bank,            Mutual Bank,
                                  on behalf of           Denver, CO       Roseville, CA
     5
                                  investors P.A. and
     6                            T.A.
                                  $250,000 interstate
     7                            wire transfer sent     Wells Fargo,     Washington
         15    04/25/2008         via Fedwire system     San Francisco,   Mutual Bank,
     a                            from investor          CA               Roseville CA
                                  D.R.B.
                                  $447,633 interstate
    lo                            wire transfer sent
                                  via Fedwire system     United Western   Washington
    al   16    05/01/2008         from Equity Trust      Bank,            Mutual Bank,
                                  on behalf of           Denver, CO       Roseville, CA
    12                            investors R.J. and
                                  I.J.
    13
                                  $123,880 interstate
    14                            wire transfer sent
                                                         United Western   Washington
         17    o5/o1/2oos         via Fedwire system
                                                         Bank,            Mutual Bank,
    15                            from Equity Trust
                                                         Denver, CO       Roseville, CA
                                  on behalf of
    16                            investor T.O.
                                  $250,000 interstate
    17                                                   Wells Fargo
                                  wire transfer sent                      Washington
         18    06/03/2008         via Fedwire system     Bank,
    18                                                                    Mutual Bank,
                                                         San Francisco,
                                  from investors R.E.                     Roseville, CA
                                                         CA
    19                            and L.E.
                                  $396,398 interstate
    20                            wire transfer sent     Comerica Bank,   Washington
         19    06/17/2008         via Fedwire system     Detroit, MI      Mutual Bank,
    21                            from investors M.D.                     Roseville, CA
    22                            and J.D.
                                  $262,926 interstate
    23                            wire transfer sent
                                                         South County
                                  via Fedwire system                      Washington
    24   20    06/30/2008         from Lender            Bank,
                                                                          Mutual Bank,
                                                         Rancho Santa
                                  Services Direct on                      Roseville, CA
    25                            behalf of investor     Margarita, CA
    26                            H.L.F.

.   27
    28


                                                    10
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     1           DATE OF      DESCRIPTION OF
         CT                 APPROXIMATE WIRE                  SENDER             RECIPIENT
                  WIRE
     2                         COMMUNICATION
                          $244,925 interstate
     3                    wire transfer sent                                 Washington
                                                          United Western
         21    08/04/2008
                          via Fedwire system                                 Mutual Bank,
     4                                                    Bank, Elyria,
                          from Equity Trust                                  Roseville, CA
                                                          OH
                          Co. on behalf of
     5
                          investor G.C.
     6                    $174,400 interstate
                          wire transfer sent                                 Washington
                                                          United Western
     7
         22    08/14/2008 via  Fedwire system                                Mutual Bank,
                                                          Bank, Elyria,
                          from Equity Trust                                  Roseville, CA
     8                                                    OH
                          Co. on behalf of
                          investor H.L.F.
     9

    10                    Letter from I2E                    adygdon@        Investors P.T.
         23    08/14/2008 LOOMIS, sent via                loomiswealth.      and K.T.,
.   11                    electronic mail                       corn         Crystal Lake, IL
    12
         All in violation of Title 18, United States Code, Sections 2 and
    13
         1343.
    14

    15   COUNTS TWENTY-FOUR THROUGH TWENTY-SIX: [18 U..S.C. § 1341 - Mail
                                                    Fraud]
    16
                 The Grand Jury further charges:
    17
                                             LEE LOOMIS,
    18                               aka Lawrence Leland Loomis,
                                                 and
    19                                      DARREN FEHST,
    20   defendants herein, as follows:

    21                                       I. INTRODUCTION

    22           At all times relevant to this Superseding Indictment:
    23           1.    The allegations contained in paragraphs 1, 2, 3, 6, 7 and
    24   12 of Counts One through Twelve of this Superseding Indictment are
    25   re-alleged and incorporated herein as if set forth in full.
    26          2.     Defendants LEE LOOMIS and JOHN HAGENER controlled a
    27   California corporation called Advanced Lending Group, Inc., dba
    28   Nationwide Lending Group ("NLG"). NLG was a loan brokerage firm that


                                                     11
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 1   originated over 100 mortgage loans that were sold on the secondary
 2   loan market. Defendant LEE LOOMIS through an entity in which he
 3   exercised a controlling interest named Advantage Financial Partners,
 4. LLC ("AFP-CA") acquired control of NLG in or around 2006-2007, and

 5   placed defendant JOHN HAGENER in the position of President. In early
 6   2007, NLG had an office in Temecula, California. From approximately
 7   September 2007 through April 2008, Christopher Jared Warren, charged
 8   elsewhere, managed the day-to-day loan origination business of NLG
 9   from an office in Roseville, California.
10          3.    Defendant DARREN FEHST was an appraiser licensed in the
11   State of California. Defendant FEHST controlled an entity named
12   Appraiser Networking Solutions, LLC ("ANS") a California limited
13   liability company.
14          4.     Flagstar Bank was a bank the accounts of which were then
15   insured by the Federal Deposit Insurance Corporation.
16                                II. THE SCHEME TO DEFRAUD
17          S.    Beginning no later than in August 2007 and continuing
18   through at least December 2007, in the State and Eastern District of
19   California,. and elsewhere, defendants LEE LOOMIS, DARREN FEHST, and
20   others known and unknown to the Grand Jury, did knowingly devise and
21   intend to devise, and participate in a material scheme and artifice to
22   defraud residential real property lenders and participants in the
23   secondary loan market and to obtain property by means of materially
24   false and fraudulent pretenses, representations, and promises from
25   such lenders and participants. As a result of the fraud, defendants
26   LEE LOOMIS, DARREN FEHST, and others, obtained real property and money
27   to which they were not entitled.
28   ///


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                                       III.   WAYS AND MEANS
 1

        •     The principal ways and means used to accomplish the scheme to
 3   defraud were as follows:
 4                , As part of his wealth-building "Advantage" financial plan,
 5 defendant LEE LOOMIS required members who joined Loomis Wealth

 6 Solutions ("LWS") (and who could medically qualify) to purchase whole
 7 life insurance indexed to the stock market through a life insurance
 8 company known the Grand Jury and identified herein as "Insurance
 9 Company A." Defendant LOOMIS promised members that by doing so, they
10 would earn the upside of the stock market without the risk : Defendant
11 LOOMIS and others acting at his direction promised that LWS would
12   reimburse members their monthly life insurance payments for one year
13   or until such time that they generated sufficient income through a
14   "nominee" residential real estate purchase program, described below,
15 to pay the life insurance premiums.
16           7.     Defendant LEE LOOMIS and others acting at his direction
17   also falsely represented and promised that members who agreed to be
18   "nominees" in the purchase of residential real estate investment
19 properties selected by defendant LOOMIS would bear no costs associated
20 with having title to the homes in their names. Defendant LOOMIS .
21   falsely promised to pay all down payments, fees, mortgages, property
22   taxes, and upkeep on the properties.
23           8.     Defendant LEE LOOMIS falsely represented that the rental
24   income on the homes would cover the life insurance premiums due to
25   Insurance Company A, cover all of the expenses of home ownership, and
26 would be sufficient to generate additional profits. Defendant LOOMIS
27   guaranteed investors that one of his companies - Advantage Financial
28 Group Holdings, LLC ("AFGH") - would make the payments in the event


                                                13
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 1 rental income was insufficient to make all of these payments.
 2 Defendant LOOMIS and others acting at his direction referred to these
 3 guarantees as his "assurance" plan.
 4   - . 9.     To provide properties that nominees could buy, defendant
 5 LOOMIS and others arranged for one of his companies, AFP-CA, to
 6 purchase distressed real properties at market value. Defendant LOOMIS
 7 then caused the properties to be "flipped" or quickly resold to
     members of LWS at artificially inflated prices. In order to carry out
 9 the scheme and obtain financing for nominee buyers, defendant LOOMIS
10 arranged for an appraiser - defendant DARREN FEHST - to provide
11 artificially high appraisals and misled lenders into believing
12 nominees had made down payments and, therefore, had a significant
13 financial stake in the properties.
14        10.   The manager of AFP-CA, Johnny E. Grivette, Jr., a/k/a Jay
15 Grivette, acting with the approval and ratification of defendant LEE
16 LOOMIS, signed a contract with defendant DARREN FEHST, an appraiser,
17 that obligated AFP-CA to make payments to defendant FEHST's company
18 ANS consisting of approximately St of the "potential profit" on
19 properties appraised by defendant FEHST. During 2007, AFT-CA's
20 arrangement with defendant FEHST changed to a payment of $5,000 per
21 home and a monthlY payment of $30,000. Defendant FEHST appraised many
22 of the properties AFT-CA sold to nominees at an artificially high
23 price and falsely certified on the appraisals that he had no financial
24 interest or stake in the transaction. Defendant FEHST thereby
25 concealed his financial interest in the transactions from lenders and
26 participants in the secondary loan market.
27        11.   Between no later than May 2007 through at least December
28 2007, in furtherance of the scheme, the following residential real


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     1   properties were purchased by AFP-CA and then flipped to the nominee
     2 buyers listed below, in the State and Eastern District of California,
     3 and elsewhere:
         Property Description                             Nominee Buyer(s)
     5   2820 Sweeney Road, Antioch, CA                   D.D. and S.D.
     6   5918 Pebble Creek, Rocklin, CA                   V.K. and P.K.
     7   387 Angelus St., Turlock, CA                     K.H. and M.H.
     8   5077 Mesa Ridge Dr., Antioch, CA                 L.H. and D.H.
         1126 W. Downs St., Stockton, CA                  K.K.
    10   1917 Kern Mtn. Way, Antioch, CA                  J.F.
    11                                                                            .
         6882 Annapolis Quay, Stockton, CA                D.N. and T.N,
    12                                                                            .
         11508 Pyrites Way, Gold River, CA                R.G. and J.G.      .
13
         730 Ashlynn Way, Stockton, CA                    Y.T.W. and W.C.
.   14
         3830 Zaira Court, Stockton, CA                   S.C. and P.B.
    15
              12.   Defendant LEE LOOMIS and others caused nominee buyers to
    16
         obtain 80t financing on the inflated purchase price of the investment
    17
         homes identified above through third-party mortgage lenders, often
    18
         using the LOOMIS-controlled entity NLG to create the loan applications
19
         and sell the loans. The proceeds of the sales went to AFP-CA, which
20
         defendant LEE LOOMIS and others controlled.
21
              13.   As for the down payments to purchase the properties,
    22
         defendant LOOMIS and others acting at his direction, including Jay
23
         Grivette, intentionally concealed from lenders, and participants in
24
         the secondary loan market that the nominee buyers were not making
25
         actual down payments for the properties purchased. At times, AFP-CA,
26
         the Naras Funds, and other entities controlled by defendant LOOMIS,
    27
         reimbursed down payments back to nominee buyers outside of escrow. At
    28
         other times, defendant LEE LOOMIS and others induced the escrow

                                                 15
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 1   officer handling loan closings to apply monies and credits from one
 2   escrow to another in order to conceal the fact that nominees were not
 3   making down payments with their own funds.
 4        14.   Defendants LEE LOOMIS, DARREN FEHST, and others concealed
 5   from lenders and participants on the secondary loan market the true
 6   nature of the property flip transactions. That is, defendants
 7   concealed that LOOMIS, acting through various entities, was
 8   orchestrating non-arm's length sales, was using nominee purchasers
 9   that he controlled to buy his own properties, that the price of the
10   properties was artificially inflated, and that defendant LOOMIS was
11 making substantial payments to corruptly influence the appraiser,

12   defendant FEHST.
13        15.   As a result of the fraudulent acts of the defendants,
14   lenders -were induced to issue loans to the nominee buyers. In
15   addition, as a result of the fraudulent acts of the defendants,
16   lenders and participants on the secondary loan market suffered losses
17   of over $2,500,000.
18                                   IV.   THE MAILINGS
19        16.   On or about the dates set forth below, defendants LEE
20   LOOMIS, DARREN FEHST, and others known and unknown to the Grand Jury,
21   for the purpose of executing the above-described scheme, did knowingly
22   place, and cause to be placed, in an authorized depository for mail
23   matter, the mail matter described below, to be sent and delivered by
24   the United States Postal Service, or knowingly caused the mail matter
25   described below to be delivered by private and commercial interstate
26   carrier;
27

28


                                            16
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         Ct       Date            Sender       Recipient                    Item
     1
                          Placer
                                                                 Deed of Trust re: 5918
     2                    County
         24    06/20/2007 Recorder's          Flagstar Bank,     Pebble Creek Dr.,
                                              Troy, MI           Rocklin, CA, sent via
     3                    Office,
                                                                 U.S. Mail
                          Auburn, CA
     4                                                 -         Check for $5,000 for
                                              Darren Fehst,
     5   25 10/05/2007 AFP-CA                 ANS,
                                                                 3830 Zaira Court,
                       Chico, CA                                 Stockton, CA, sent via
                                              Brentwood, CA
     6                                                           FedEx
                             San Joaquin      Lender
     7                       County           Services          Deed of Trust for 730
         26 10/08/2007       Recorder's       Direct,           Ashlynn Way, Stockton,
     8                       Office,          Mission Viejo,    CA, sent via U.S mail
                             Stockton, CA     CA
     9

    10   All in violation of Title 18, United States Code, Sections 2 and

    11   1341.

    12   COUNTS TWENTY-SEVEN THROUGH TWENTY-NINE: [18 U.S.C. § 1341 - Mail
                                                    Fraud]
    13
                 The Grand Jury further charges:
    14
                                             LEE LOOMIS,
    15                              aka Lawrence Leland Loomis,
                                           MICHAEL LLAMAS,
    16                                   PETER WOODARD, and
                                        JOSEPH A. GEKKO, and
    17                                     DAWN C. POWERS,
    18   defendants herein, as follows:
    19                                    I. INTRODUCTION
    20           At all times relevant to this Superseding Indictment:
    21           1.     The allegations contained in paragraphs 1, 2, and 4 of
    22   Counts Twenty-Four through Twenty-Six of this Superseding Indictment
    23   are re-alleged and incorporated herein as if set forth in full.
    24          2.     Defendants MICHAEL LLAMAS . and PETER WOODARD resided in San
    25   Joaquin County, in the State and Eastern District of California.
    26          3.     Defendants MICHAEL LLAMAS and PETER WOODARD were managing
.   27   members of LW Premier Holdings, LLC ("LWPH") and the later formed
    28   Cobalt One, LLC ("Cobalt One"), both California limited liability


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 1 companies. LWPH and Cobalt One shared offices in Tracy, in the State
 2   and Eastern District of California.
 3        4.    Defendants MICHAEL LLAMAS and PETER WOODARD controlled bank
 4 - accounts associated with LWPH and Cobalt One at Bank of America in
 5 Tracy, California.
 6        S.    Defendant JOSEPH A. GEKKO resided in Tulsa, Oklahoma, and
 7   in Orange County, California. He controlled an entity called Lender
 8   Services Direct ("LSD"), an unlicensed escrow company with offices in
     Tulsa, Oklahoma, and Mission Viejo, California.
lo        6.    Defendant JOSEPH A. GEKKO controlled bank accounts
11 associated with LSD at South County Bank in Rancho Santa Margarita,
12 California, and in Irvine, California.
13        7.    Defendant DAWN POWERS resided in Placer County, in the
14 State and Eastern District of California. Defendant POWERS was an
15 employee of Loomis Wealth Solutions (I'LWS") and worked directly for
16 and reported to defendant LEE LOOMIS.
17        8.   Defendant DAWN POWERS was a signatory on the bank accounts
18 of the Naras Funds maintained at Washington Mutual Bank in both
19 Roseville, California and Glendale Heights, Illinois.
20                            II. THE SCHEME TO DEFRAUD
21        9.   Beginning no later than in November 2007 and continuing
22   through approximately August 2008, in the State and Eastern District
23. of California, and elsewhere, defendants LEE LOOMIS, MICHAEL LLAMAS,
24 PETER WOODARD, JOSEPH A. GEKKO, DAWN C. POWERS, and others known and
25 unknown to the Grand Jury, did knowingly devise, intend to devise, and
26 participate in a material scheme and artifice to defraud residential
27 real property lenders and participants in the secondary loan market
28 and to obtain property by means of materially false and fraudulent


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   1   pretenses, representations, and promises from such lenders and
   2   participants. As a result of the fraud, defendants LEE LOOMIS,
   3   MICHAEL LLAMAS, PETER WOODARD, JOSEPH A. GEKKO, DAWN C. POWERS, and
' 4    others, obtained real property and money to which they were not
   5   entitled.
   6                               III.   WAYS AND MEANS
   7        The principal ways and means used to accomplish the scheme to
   8   defraud were as follows:
   9        10.     The allegations contained in paragraphs 6-8 of Counts
 10    Twenty-Four through Twenty-Six of this Superseding Indictment are re-
 11    alleged and incorporated herein as if set forth in full.
 12         11.    To provide properties for the nominees to buy so that they
 13    could participate in defendant LEE LOOMIS's "assurance" plan to
 14    generate income to pay insurance premiums to Insurance Company A, in
 15    late 2007 the defendants began to acquire newly-built homes and
 16    converted condominiums' from developers at substantial discounts. Such
 17    properties were to be sold to nominee investors at full list price.
 18    Lenders were deceived into believing that that the nominees had
 19    sufficient assets and limited liabilities to buy these properties and
 20    were providing money for the down payments. In addition, defendants
 21    misled lenders about the actual sales price of the homes.
. 22        12.    In approximately September 2007, defendant LEE LOOMIS was
 23    introduced to defendants MICHAEL LLAMAS and PETER WOODARD. Defendants
 24    LLAMAS and WOODARD, through LWPH and Cobalt (collectively,
 25    "LWPH/Cobalt"), approached builders of new homes and developers of.
 26    condominium conversion projects and entered into "option contracts" or
 27    "joint venture" agreements that included a price discount of
 28    approximately 30% to 50% off the reported sale price of each property


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 1   to be sold as part of a bulk real estate purchase. In 2007 and 2008,
 2   with the knowledge of defendant LEE LOOMIS, LWPH/Cobalt entered into
 3   such agreements with home builders and developers located in
 4   Bakersfield, California'; Atwater, California; Ft. Myers, Florida; Port
 5   St. Lucie, Florida; and other locations. Under the agreement, it
 6   appeared that LWPH/Cobalt would buy the properties in bulk.
 7        13.    In reality, LWPH/Cobalt did not intend to purchase the
 8   homes and take title to them. Rather, the homes were to be sold to
 9   individual nominees recruited by defendant LOOMIS and others as part
10   of defendant LOOMIS's "assurance" payment plan involving payments to
11   Insurance Company A. More particularly, after acquiring the "option"
12   to purchase the homes at a discounted price, LWPH/Cobalt "assigned"
13   the rights to buy the homes to the nominees at the full reported sale
14   price, not at the discounted price at which they were actually
15   acquired.
16        14.    Between in or about December 2007 through in or about April
17   2008, in furtherance of the scheme, defendants LEE LOOMIS, MICHAEL
18   LLAMAS, PETER WOODARD, and others, caused nominee buyers recruited by
19   defendant LEE LOOMIS to purchase approximately twenty-three
20   residential real properties in Bakersfield, in the State and Eastern
21   District of California, as part of the program, including the
22   following properties:
23   Property Description                           Nominee Buyer(s)
24   9212 Rhine Valley Dr., Bakersfield, CA         A.M. and S.M.
25   9020 Sentido Dr., Bakersfield, CA              A.M. and S.M.
26   9308 Rhine Valley Dr., Bakersfield, CA         E.A. and N.A.
27
     9201 Rhine Valley Dr., Bakersfield, CA         K.M.L.
28
     9313 Sentido Dr., Bakersfield, CA              J.H. and J.H.


                                           20
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   1   9226 La Sonrisa Way, Bakersfield, CA             G.W. and D.W.
       9312 Rosewood Ave., Bakersfield, CA              A.G. and S.G.
   3   9316 Rosewood Ave., Bakersfield, CA              A.G. and S.G.
   4   9305 Sentido. Dr.; Bakersfield, CA             - W.E. and T.E.           '.
   5   9003 Rhine Valley br., Bakersfield, CA           C.L. and M.L.
   6
       9019 Rhine Valley Dr., Bakersfield, CA           C.L. and M.L.
  7

   8        15.   Defendant LEE LOOMIS and others typically obtained
  9    individual home loans for the nominees through the Loomis-controlled
 10    entity NLG to finance the purchases as investment properties at the
 11    full sales price paid by the nominee. Defendant LEE LOOMIS and others
 12    did not disclose the existence of the option contract price discount
 13    to the lenders nor to the participants in the secondary loan market.
 14         16.   Defendants LEE LOOMIS, MICHAEL LLAMAS, PETER WOODARD,
 15    JOSEPH A. GEKKO, DAWN C. POWERS, and others, including Christopher
 16    Jared Warren, who ran NLG on a day-to-day basis, variously arranged
 17    that purchase contracts, NLG's loan applications, and LSD's Form HUD-1
 18    Settlement Statements for nominees provided to lenders falsely
 19    represented that borrowers would be making down payments of
 20    approximately 10% to 20% of the reported purchase price of the homes.
• 21   Through a series of sham financial transactions, defendants
 22    deceptively made it appear that the nominee buyers had made a genuine
 23    down payment from their own funds when, in fact, the buyers made no
 24    genuine down payment.
 25         17. - To make it appear that a nominee buyer was making the down
 26    payment, defendants LEE LOOMIS, DAWN POWERS, and others typically
 27    caused the Naras Fund to write a check to the GEKKO-controlled escrow
 28    company, Lender Services Direct ("LSD"), for the amount of the down


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  1   payment that was supposedly from the nominee buyer. Because the Hares
  2   Fund bank accounts frequently ran short of funds and could not cover
  3   the outstanding checks written to LSD, defendant GEKKO directed LSD
  4   employees to hold down payment checks until after the loans were
' 5   funded and lender money was received by LSD. Then, before the close
  6   of escrow and at the direction of defendant GEKKO and employees of
  7   LSD, LSD's bank wired an amount of money representing the savings from
  8   the option agreement discount to the bank accounts of LWPH/Cobalt.
  9   LWPH/Cobalt, in turn, subtracted the down payment amounts from the
10    option savings wires it received. LWPH/Cobalt then wired the down
11    payment amounts to the Naras Fund bank accounts.
12         18.    After the lenders' funds were credited to the Naras Fund
13    bank account, LSD deposited the purported "down payment" checks from
14    the Naras Fund. After that, LWPH/Cobalt divided what was left (that
15    is, the difference between the option savings minus the down payment),
16    retained half of that amount, and wired the other half to LWS as its
17    share of the profit split with LWPH/Cobalt.
18         19.   As a result of these machinations, lenders and participants
19    in the secondary loan market were deceived into believing that the
20    nominees had made down payments on the properties and therefore had a
21    substantial financial stake from their own funds in the properties. In
22    fact, no down payments had been made by the nominees at all. Any down
23    payment actually came from the lenders. Defendants LOOMIS, POWERS,
24    LLAMAS, WOODARD, GEKKO.and others caused millions of dollars to be
25    transferred via interstate wire in furtherance of this aspect of the
26    scheme.
27         20.   At the direction of defendant JOSEPH A. GEKKO and others,
28    LSD created many of the HUD-1 Settlement Statements used in the


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     1 closing of the fraudulent home purchases that were provided to lenders
     2 and participants in the secondary loan market. As defendants LEE
     3 LOOMIS, MICHAEL LLAMAS, PETER WOODARD, JOSEPH A. GEKKO, DAWN C.
     4 POWERS, and others knew, LSD's Estimated HUD-1 Settlement Statements
     5 ordinarily concealed the large intended option savings payments to
     6 LWPH/Cobalt. This was done in order to deceive lenders and borrowers

     7 during the underwriting and funding process. After funding, at the
         direction of defendants GEKKO, LLAMAS, and others, LSD caused Final
     9 HUD-1 Settlement Statements to be produced which then included large
    10   payments to LWPH/Cobalt as seller's side obligations. The Final HUD-1
    11   Settlement Statement concealed the fact that the disbursements to
    12 LWPH/Cobalt were, in fact, an aggregate sum of the illusory down
    13 payments and the profit split between LWPH/Cobalt and LWS in
    14 connection with the option contract.
    15        21. The payments to Cobalt One on the Final HUD-1 Settlement
    16 Statements were sometimes disguised as payments to satisfy mortgage
    17 loans or liens on properties supposedly held by Cobalt One. In truth,
    18 Cobalt One did not hold mortgage loans or liens on the properties that
    19 were being sold to nominees. On several occasions, defendants MICHAEL
    20 LLAMAS and PETER WOODARD caused builders and developers who had
    21 entered into an option contract to record a false Deed of Trust in
    22 favor of Cobalt One for a fictitious debt in an amount equal to the
.   23 price discount on the properties. Cobalt One did this to deceive
    24 lenders and participants in the secondary loan market into believing
    25 that the large payment to Cobalt One was in connection with a
    26 legitimate lien and to conceal the fact that the builder, in truth,
    27 had sold the property for a substantially lower price than the sales
    28 price reported to the lenders.


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 1       22.   NLG and others falsely represented on the asset portion of
 2 buyers' home loan applications that nominee buyers had liquid assets
 3 in the Naras Funds, when, in truth, monies in the Naras Funds were not
 4 liquid and were regularly used to fund current operating expenses of
 5 AFGH, LWS and other entities controlled by defendant LEE LOOMIS. In
 6 some instances, NLG and others falsely represented on the asset
 7 portion of home loan applications for nominee buyers that the nominees
 8 had liquid assets in the Naras Funds when, in truth, they had made no
 9 investment in the Naras Funds at all.
10      23.    At the direction of defendant LEE LOOMIS, and others,
11 including Christopher Jared Warren of NLG, defendant DAWN C. POWERS
12 and others provided to lenders false verifications of deposit in the
13 Naras Funds on behalf of nominees who were purchasing/financing homes.
14      24.    Defendants LEE LOOMIS, and others, including Christopher
15 Jared Warren of NLG, caused borrowers' income and assets to be
16 inflated and caused the liabilities of certain borrowers to be
17 concealed on uniform residential loan applications, as necessary, to
18 obtain funding on mortgage loans.
19      25.     From in or about June 2008 through in or about August
20 2008, defendants JOSEPH A. GEKKO, LEE LOOMIS, and others, through a
21 series of eight large interstate wire transfers caused over $3,000,000
22 of lender money in LSD's escrow account to be wired directly from
23 LSD's bank account to the bank accounts of LWS and another entity
24 associated with defendant LOOMIS, North State Property Management, so
25 that defendant LOOMIS could make required payroll payments, pay
26 overdue mortgages, and further the continuation of the scheme. That
27 resulted in LSD not having sufficient funds in its account to close
28 escrow on many transactions for which it had received lender funds.


                                           24
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 1         26.     As a result of the above-described fraudulent actions of
 2   defendants and others, nominees were caused to purchase and finance
 3   over 200 properties, causing over $10,000,000 in losses to lenders and
 4   participants in the secondary loan market.
 5                                      V.      THE MAILINGS

 6         27.     On or about the dates set forth below, in the State and
 7   Eastern District of California, defendants LEE'LOOMIS, MICHAEL LLAMAS,
 8   PETER WOODARD, JOSEPH A. GEKKO, DAWN C. POWERS, and others known and
 9   unknown to the Grand Jury, for the purpose of executing the above-
10   described scheme, did knowingly place, and cause to be placed, in an
11   authorized depository for mail matter, the mail matter described
12   below, to be sent and delivered by the United States Postal Service,
13   or knowingly caused the mail matter described below to be delivered by
14   private and commercial interstate carrier:
15   Ct       pate           Sender             Recipient                Item
16                 Kern County
                                             Lender Services   Deed of Trust re:
                   Recorder's
17   27 12/07/2007 Office,                   Direct,           9020 Sentido Dr.,
                                             Mission Viejo,    Bakersfield, CA,
                   Bakersfield,
18                                           CA                sent via U.S. Mail
                   CA
                   Kern County
19
        .          Recorder's                Lender Services   Deed of Trust for
     28 01/02/2008 Office,                   Direct,
20                                                             $1,260,000.00,
                   Bakersfield,              Mission Viejo,    sent via U.S. mail
21                 CA                        CA
                   Kern County
22                                           Lender Services
                   Recorder's                Direct,           Deed of Trust for
23   29 01/11/2008 Office,                                     $2,097,288.00,
                                             Mission Viejo,
                   Bakersfield,                                sent via U.S. mail
                   CA                        CA
24

25   All in violation of Title 18, United States Code, Sections 2 and
26
     1341.
27

28



                                                 25
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 1   COUNTS THIRTY THROUGH FIFTY: [18 U.S.C. § 1343 - Wire Fraud]

 2         The Grand Jury further charges:

 3
                                        LEE LOOMIS,
                               aka Lawrence Leland Loomis,
                                      MICHAEL LLAMAS,
 5                                     PETER WOODARD,
                                   JOSEPH A. GEKKO, and
 6                                   DAWN C. POWERS,
 7
     defendants herein, as follows:
 8

 9         1. - The allegations contained in paragraphs 1-26 of Counts

10   Twenty-Seven through Twenty-Nine of this Superseding Indictment are

11   re-alleged and incorporated herein as if set forth in full.
12        2.      On or about the dates set forth below, in the State and

13   Eastern District of California, defendants LEE LOOMIS, MICHAEL LLAMAS,.
14   PETER WOODARD, JOSEPH A. GEKKO, DAWN C. POWERS, and others known and
15 . unknown to the grand jury, for the purpose of executing the above-

16   described scheme, did knowingly cause to be transmitted by means of
17   wire communication in interstate commerce, certain writings, signs,
18 signals, pictures and sounds, as described below:
         DATE OF      DESCRIPTION OF
19  CT               APPROXIMATE WIRE        SENDER                  RECIPIENT
           WIRE
                         TRANSFER
20
                   $78,757 interstate
                                         South County
21                 wire transfer sent
    30 12/10/2007 via Fedwire system     Bank,                  Bank of America,
22
                                         Rancho Santa           Tracy, CA
                   by LSD re: 9212
                                         Margarita, CA
                   Rhine Valley Dr.
23                 $78,757 interstate
                                         South County
                   wire transfer sent
24                                       Bank,                  Bank of America,
    31 12/10/2007 via Fedwire system
                                         Rancho Santa           Tracy, CA
25                 by LSD - re: 9020
                                         Margarita, CA                         .
                   Sentido Dr.
26

27

28



                                            26
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            DATE OF         DESCRIPTION OF
 1
     CT
                                                      '
                          APPROXIMATE WIRE                SENDER              RECIPIENT
             WIRE
 2                             TRANSFER
                        $109,714 interstate
 3                      wire transfer sent
                        via Fedwire system          Bank of             Washington Mutual
 4   32    12/10/2007   by LWPH re: 9020            America,            Bank, Roseville,
                        Sentido Dr. and             Tracy, CA           CA
 5
                        9308 Rhine Valley
 6                      Dr.
                        $35,310 interstate                      .         •
 7                      wire transfer sent
                        via Fedwire system
 8                                                  Bank of            Washington Mutual
     33    12/10/2007   by LWPH re: 9212
                                                    America,           Bank,
                        Rhine Valley Dr.,
 9                                                  Tracy, CA          Roseville, CA
                        9020 Sentido Dr.,
10                      and 9308 Rhine
                        Valley Dr.
11                      $109,094 interstate
                        wire transfer sent
12                      via Fedwire system          Bank of            Washington Mutual
     34    01/02/2008   by LWPH re: 9201            America,           Bank,
13                                                  Tracy, CA          Roseville, CA
                        Rhine Valley Dr.
14                      and other
                        properties          '
15                      $12,953
                        interstate wire                                Washington Mutual
16                                                  Bank of
     35    01/03/2008   transfer sent via                              Bank,
                                                    America
                        Fedwire system by
17                                                  Tracy, CA          Roseville, CA
                        LWPH re: 9313
18                      Sentido Dr.
                        $7,444 interstate
19                      wire transfer sent          Bank of            Washington Mutual
     36. 01/04/2008     via Fedwire system          America            Bank,
20                      by LWPH re: 9226 La         Tracy, CA          Roseville, CA
                        Sonrisa Way
21                                                          .
                        $87,757 interstate
                                                    South County
22                      wire transfer sent                        Bank of America,
                                                    Bank,
     37    02/19/2008   via Fedwire system
                                                    Rancho Santa  Tracy, CA
23                      by LSD re: 9312
                                                    Margarita, CA
                        Rosewood Ave.
24                      $83,557 interstate
                                                    South County
                        wire transfer sent
25                                                  Bank,         Bank of America,
     38    02/19/2008   via Fedwire system
                                                    Rancho Santa  Tracy, CA
26                      by LSD re: 9316
                                                    Margarita, CA
                        Rosewood Ave.
27

28
                                                                              -

                                               27
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                 DATE OF          DESCRIPTION OF
         u1        WIRE         APPROXIMATE WIRE             SENDER            RECIPIENT
 2                                   TRANSFER
                      •       $160,784 interstate
 3                        •   wire transfer sent
                              via Fedwire system
 4                                                       Bank of           Washington Mutual
         39    02/19/2008     by Cobalt One re.
                                                '        America,          Bank, Roseville,
                              9312 Rosewood Ave.,
 5                                                       Tracy, CA         CA
                              9316 Rosewood Ave.,
 6                            and 9305 Sentido
                              Dr.
 7                            $38,643 interstate
                              wire transfer sent
 8                            via Fedwire system
                              by Cobalt One re:          Bank of           Washington Mutual
 9       40    02/19/2008                                America,          Bank,
                              9316 Rosewood Ave.,
                                                         Tracy, CA         Roseville, CA
10                            9305 Sentido Dr.,
                              and 9312 Rosewood                                     •
11                            Ave.
                              $101,981 interstate
12                            wire transfer sent
                              via Fedwire system         Bank of           Washington Mutual
13       41    02/22/2008     by Cobalt One re:          America,          Bank, Glendale
14                            9003 Rhine Valley          Tracy, CA         Heights, IL
                              Dr. and 9019 Rhine
15                            Valley Dr.
                              $27,766 interstate
16                            wire transfer sent
                              via Fedwire system
17                                                       Bank of           Washington Mutual
         42    02/22/2008     by Cobalt One re:
                                                         America,          Bank,
18                            9003 Rhine Valley -
                                                         Tracy, CA         Roseville, CA
                              Dr., 9019 Rhine
19                            Valley Dr., and                                   •
                              other properties
20                            $250,000 interstate        South County
                                                                           Washington Mutual'
         43    06/02/2008     wire transfer sent         Bank,
21                                                                         Bank,
                              via Fedwire system         Rancho Santa
                              from LSD                                     Roseville, CA
22                                                       Margarita, CA
                              $490,000 interstate        South County
                                                                           Washington Mutual
23       44    06/10/2008     wire transfer sent         Bank,
                              via-Fedwire system                           Bank,
                                                         Rancho Santa
24                                                                         Roseville, CA
                  .           from LSD                   Margarita, CA
     1                                                             .
25
                              $550,000 interstate        South County
   ,                                                                       Washington Mutual
26 , 45        06/11/2008     wire transfer sent         Bank,
                                                                           Bank, Roseville,
                              via Fedwire system         Rancho Santa
                              from LSD                                     CA
27 ,                                                     Margarita, CA
28



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               DATE OF        DESCRIPTION OF
   1
       CT                    APPROXIMATE WIRE            SENDER            RECIPIENT
                 WIRE
   2                             TRANSFER

   3
                          $600,000 interstate         South County
                                                                    Washington Mutual
   4   46    07/02/2008   wire transfer sent          Bank,
                                                                    Bank, Roseville,
                          via Fedwire system          Rancho Santa
                        •                                           CA
   5                      from LSD                    Margarita, CA
   6

   7                    $300,000 interstate           South County
                                                                    Washington Mutual
       47    07/02/2008 wire transfer sent            Bank,
   8                                                                Bank,
                        via Fedwire system            Rancho Santa
                                                                    Roseville, CA
                        from LSD                      Margarita, CA
   9

 10
                        $350,000 interstate           South County
                                                                    Washington Mutual
 11
       48    07/09/2008 wire transfer sent.           Bank,
                                                                    Bank,
                        via Fedwire system            Rancho Santa
 12                     from LSD                                    Roseville, CA
                                                      Margarita, CA
 13
                         '                                                        .
 14                     $200,000 interstate           South County
                                                                    Washington Mutual
       49    07/11/2008 wire transfer sent            Bank,
                                                                    Bank,
. 15                    via Fedwire system            Rancho Santa
                                                                    Roseville, CA
                        from LSD                      Margarita, CA
 16

 17                     $320,697 interstate
                                                      South County
                        wire transfer sent                          Washington Mutual
 18    50                                             Bank,
             08/26/2008 via Fedwire system.                         Bank,
                                                      Rancho Santa
                        from LSD re:                                Roseville, CA
 19                                                   Margarita, CA
                        various files                                        .
 20

 21
       All in violation of Title 18, United States Code, Sections 2 and

 22    1343.
 23    FORFEITURE ALLEGATION:         [18 U.S.C. §§ 981(a)(1)(C),981(a)(1)(D),
                                            982(a)(2); 28 U.S.C. § 2461(c)]
 24
 25          The Grand Jury further charges:
 26            1. The allegations contained in the above Superseding
 27    Indictment, including Counts One through Fifty of this Superseding
 28    Indictment, are hereby re-alleged and incorporated for the purpose of


                                                 29
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 1   alleging forfeiture pursuant to Title 18, United States Code, §§
 2   981(a) (1) (C), 981(a) (1) (D), 982(a) (2); and Title 28, United States
 3   Code, § 2461.
 4        2. Pursuant to one or more of the following: Title 18, United
 5   States Code, §§ 981 (a) (i) (c) , 981(a) (1) (D), 982(a) (2); and Title 28,
 6   United States Code, § 2461, and upon conviction of one or more of the
 7   offenses set forth in the above Superseding Indictment, defendants
 8   LEE LOOMIS, JOHN HAGENER, DARREN FEHST, MICHAEL LLAMAS, PElta
 9   WOODARD, JOSEPH A. GEKKO, and DAWN C. POWERS, shall forfeit to the
10   United States, any and all property, real or personal, which
11   constitutes or is derived from proceeds of the criminal conduct
12   and/or scheme alleged in this Superseding Indictment, or any property
13   traceable to such property, including but not limited to:
14              a.           Approximately $133,803.53 in U.S. Currency seized from
15                           Washington Mutual Bank, N.A., Account # 4420842802,
16                           held in the name of Advantage Financial Group Holdings
17                           Management LLC, and
18              b.           Approximately $328,495.75 in'U.S. Currency seized from
19                           Washington Mutual Bank, N.A., Account # 4412174338,
20                           held in the name of Loomis Wealth Solutions LLC.
21        3.    Pursuant to Title 18, United States Code, §§ 981(a)(1)(C),
22   981(a)(1)(D), 982(a)(2); and Title 28, United States Code, § 2461, if
23   any property subject to forfeiture, as a result of any act or
24   omission of defendants or agents of defendants or upon direction by
25   the defendants:
26                a. cannot be located upon the exercise of due diligence;
27                b. has been transferred or sold to, or deposited with, a
28                third party;


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       Case 1:15-cv-00701-JWF Document 68-2 Filed 11/16/18 Page 187 of 191

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 1               c. has been placed beyond the jurisdiction of the court;
 2               d. has been substantially diminished in value; or
 3               e. has been commingled with other property which cannot
 4               be divided without difficulty,
 5   the United States of America shall be entitled to forfeiture of any
 6   other property of the defendants, up to the value of the property
 7   subject to forfeiture, including but not limited to a personal
 8   forfeiture money judgment, pursuant to Title 21, United States Code,
 9   Section 853(p), as incorporated by Title 18, United States Code,
10   Section 982(b)(1), and Title 28, United States Code, Section 2461(c).
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                                                  A TRUE BI?L.
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13                                                      /--S/
                                                  FOREPERSON
14               \hi
15   BENJ     B. WAGNE
     United States Attorney
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Case 1:15-cv-00701-JWF Document 68-2 Filed 11/16/18 Page 188 of 191
   No.
  Case 2:12                                                                              -   -
                                                                                                 32 of 33

             UNITED STATES DISTRICT COURT
                                   Eastern District of California

                                        Criminal Division


                      THE UNITED STATES OF AMERICA
                                                   VS.



        LEE LOOMIS, aka Lawrence Leland Loomis, JOHN HAGENER,
        DARREN FEHST, MICHAEL LLAMAS, PETER WOODARD,
               JOSEPH A. GEICKO and DAWN C. POWERS


                                       INDICTMENT

             VIOLATION(S): 18 U.S.C. § 1341 - Mail Fraud (18 counts);
                   18 U.S.C. § 1343 - Wire Fraud (32 counts); and
                 18 U.S.C. §§ 981(a)(1)(C), 981(aX1)(D), 982(a)(2);
                      28 U.S.C. § 246I(c) - Criminal Forfeiture


       A true bill,


                                                              Foreman.


        Filed in open court this            -   LO            day

        of                                 , A.D. 20 /3




              $_——                                                             j t„,                   11-11r-ent - r tLMtr
                             PROCESS NECESSARY                           14A9 raeak 6L„n.4 t
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   Case 1:15-cv-00701-JWF Document 68-2 Filed 11/16/18 Page 189 of 191

     Case 2:12-cr-00315-JAM Document 103 Filed 05/30/13 Page 33 of 33


2:12-CR-315 KIM
                             PENALTY SLIP
                        SUPERSEDING INDICTMENT

DEFENDANTS:            LEE LOOMIS, aka Lawrence Leland Loomis.
                       JOHN HAGENER, DARREN FEHST, MICHAEL LLAMAS;
                       PETER WOODARD, and JOSEPH A. GEKKO,
                       and DAWN C. POWERS
COUNTS 1-12, 24-26 and 27-29:

VIOLATION:             18 U.S.C. § 1341 - Mail Fraud
PENALTY:              Not more than 20 years imprisonment,
                      $250,000 fine, or both
                      Up to 3 years supervised release.

                       For Count 24, which affected a financial
                       institution, Not more than 30 years,
                       $250,000 fine, not more than 5 years
                       supervised release
DEFENDANTS:           LEE LOOMIS, aka Lawrence Leland Loomis
                      JOHN HAGENER, MICHAEL LLAMAS,
                      PETER WOODARD, JOSEPH A. GEKKO,
                      and DAWN C. POWERS

COUNTS 13-23 and 30-50:

VIOLATION:            18 U.S.C. § 1343 - Wire Fraud
PENALTY:              Not more than 20 years imprisonment,
                      $250,000 fine, or both
                      Up to 3 years supervised release.



VIOLATION:               U.S.C. § 981 (a) (1) (C) , 981(a) (1) (D) ,
                      982(a) (2) and 28 U.S.C. § 2461(c) - Criminal
                      Forfeiture

PENALTY:              Criminal forfeiture of Money or property is
                      subject to proof in a separate proceeding
                      immediately following conviction at a
                      criminal trial

PENALTY ASSESSMENT: $100 assessment for each count
     Case 1:15-cv-00701-JWF Document 68-2 Filed 11/16/18 Page 190 of 191

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 I MESSNER REEVES, LLP                       2013 1 ,1 1 8 A11 9: 09
   Robert B. Hinckley, Jr. (CA State Bar No.,290786)
 2 1430 Wynkoop Street Suite 300
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   Denver, Colorado 8002                     5 .  TEN   COO  11

 3 Telephone: (303) 623-1800
   Facsimile: (303) 623-0552                                     JUL 19 2013 PH 4:15
 4 E-mail: rhinckley@messner.com
 5 Attorneys for Plaintiff
      Dixie Holdings, LLC derivatively on behalf of Red Dice Holdings, LLC
 6
 7
 8             • SUPERIOR COURT FOR THE STATE OF CALIFORNIA
 9              FOR THE COUNTY OF SAN DIEGO; CENTRAL DISTRICT
10
11                                                                         37-2013-00058302-CU-BCCTL
   DIXIE HOLDINGS, LLC, a Colorado                       Case No.
12 limited liability company, derivativel                AFFIDAVIT OF CHARLES K. SMITH
   on behalf of RED DICEHOLDIN
13 LLC, a California limited liability                   IN SUPPORT OF PLAINTIFFS
   company,                                              VERIFIED COMPLAINT
14
                    Plaintiff,
15
              V.
16
      MEDICAL MARIJUANA, INC., a
17    California corporation,
18                          Defendant.
19
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21
22           1.     My name is Charles K. Smith. The facts stated herein are based upon my
      personal knowledge.
23
             2.      I am a Manager of Dixie Holdings, LLC. I am also the Chief Operating
24    Officer of Red Dice Holdings, LLC.
25
               3.    I have reviewed this Verified Complaint with my counsel and have authorized
26    its filing.
27           4.     The allegations in this Verified Complaint, other than those based on
28    information and belief, are true and accurate to the best of my knowledge.



                                               (01077195/I)
                     AFFIDAVIT IN SUPPORT OF PLAINTIFFS' VERIFIED COMPLAINT
     Case 1:15-cv-00701-JWF Document 68-2 Filed 11/16/18 Page 191 of 191




 1         5.     I assert my belief in the truth of these matters under penalty of perjury.
2
3     FURTHER AFFIANT SAYETH NAUGHT.

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                                                                e                              -




                                                    Charles K. Smith
7
                                                         ols
8          Subscribed and sworn to before me this           day of July, 2013 by Charles K. Smith.
9
                                           Witness my hand and official seal.
10
11
                                           Notary Public j42fl    e!tt fere
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                                           My commission expires: qhq)Zbil,
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16                              VARELLE GAGE
                                 NOTARY PUSUC
17                            STATE OF COLORADO
                             NOTARY ID 20051035957
18                     MY COMMISSION EXPIRES SERENER 14, 2017

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                                                 (01077195/1}
                   AFFIDAVIT IN SUPPORT OF PLAINTIFFS' VERIFIED COMPLAINT
